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                        EXHIBIT A

                      Proposed Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref. No. __


          ORDER SUSTAINING DEBTORS’ ONE HUNDRED FIFTEENTH
    (SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN OVERSTATED AND/OR
           UNLIQUIDATED PROOFS OF CLAIM (CUSTOMER CLAIMS)

                 Upon the one hundred fifteenth omnibus objection (the “Objection”) 2 of FTX

Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for

entry of an order (this “Order”) sustaining the Objection and modifying and reducing the

Overstated and/or Unliquidated Claims set forth in Schedule 1 attached hereto, and this Court

having jurisdiction to consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court being able to issue a final order consistent

with Article III of the United States Constitution; and venue of these Chapter 11 Cases and the

Objection in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter

being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.
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and adequate notice of the Objection and the relief requested therein has been provided in

accordance with the Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered

herein, no other or further notice is necessary; and responses (if any) to the Objection having

been withdrawn, resolved or overruled on the merits; and a hearing having been held to consider

the relief requested in the Objection and upon the record of the hearing and all of the proceedings

had before this Court; and this Court having found and determined that the relief set forth in this

Order is in the best interests of the Debtors and their estates; and that the legal and factual bases

set forth in the Objection establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.      The Objection is SUSTAINED as set forth herein.

               2.      Each Overstated and/or Unliquidated Claim set forth in Schedule 1

attached hereto is modified and reduced. The claims listed in the column titled “Modified

Claims” identified in Schedule 1 attached hereto shall remain on the claims register, subject to

the Debtors’ further objections on any substantive or non-substantive grounds.

               3.      Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtors’ right to object on any other grounds that the Debtors discover is

preserved.

               4.      To the extent a response is filed regarding any Overstated and/or

Unliquidated Claim, each such Overstated and/or Unliquidated Claim, and the Objection as it

pertains to such Overstated and/or Unliquidated Claim, will constitute a separate contested


                                                 -2-
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matter as contemplated by Bankruptcy Rule 9014. This Order will be deemed a separate order

with respect to each Overstated and/or Unliquidated Claim. Any stay of this Order pending

appeal by any claimants whose claims are subject to this Order shall only apply to the contested

matter which involves such claimant and shall not act to stay the applicability and/or finality of

this Order with respect to the other contested matters listed in the Objection or this Order.

               5.        The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               6.        Nothing in this Order or the Objection is intended or shall be construed as

a waiver of any of the rights the Debtors may have to enforce rights of setoff against the

claimants.

               7.        Nothing in the Objection or this Order, nor any actions or payments made

by the Debtors pursuant to this Order, shall be construed as: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party-in-interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order; (e) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (f) a waiver of any claims or

causes of action which may exist against any entity under the Bankruptcy Code or any other

applicable law.


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               8.      This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

               9.      This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Objection or the implementation of this Order.

Dated: ___________________
       Wilmington, Delaware                           The Honorable John T. Dorsey
                                                      Chief United States Bankruptcy Judge




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                       SCHEDULE 1

            Overstated and/or Unliquidated Claims
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                                                                                                             FTX Trading Ltd. 22-11068 (JTD)
                                                                                                      One Hundred Fifteenth Omnibus Claims Objection
                                                                                                               Schedule 1 - Modified Claims

                                                                                                     Asserted Claims                                                                                            Modified Claim

   Claim
  Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                                Ticker Quantity
95143       Name on file                       FTX Trading Ltd.                       CUSDT                                                                                   West Realm Shires Services Inc.                              2.000000000000000
                                                                                      SOL                                                            100.000000000000000                                                                   2.575322410000000
                                                                                      USD                                                                                                                                                  0.000092472603975

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
78226       Name on file                        FTX Trading Ltd.                        BRZ                                                                                     West Realm Shires Services Inc.                               1.000000000000000
                                                                                        ETH                                                               0.438220000000000                                                                   0.000000000000000
                                                                                        GUSD                                                              0.226027390000000                                                                   0.000000000000000
                                                                                        LINK                                                              9.272997720000000                                                                   0.000000000000000
                                                                                        TRX                                                                                                                                                   1.000000000000000
                                                                                        USD                                                                                                                                                 120.026260413249060

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
90888       Name on file                        FTX Trading Ltd.                        CUSDT                                                               8.000000000000000 West Realm Shires Services Inc.                                  8.000000000000000
                                                                                        DOGE                                                           4,060.230000000000000                                                               1,514.234443120000000
                                                                                        ETH                                                                 0.061000000000000                                                                  0.000000000000000
                                                                                        ETHW                                                                0.000000060000000                                                                  0.000000000000000
                                                                                        KSHIB                                                                                                                                              2,411.491874630000000
                                                                                        MATIC                                                             141.244800000000000                                                                141.244815780000000
                                                                                        SHIB                                                          28,889.510000000000000                                                         13,659,805.178817460000000
                                                                                        TRX                                                                                                                                                    4.000000000000000
                                                                                        USD                                                                                                                                                   87.448933475130940
                                                                                        USDC                                                                3.140000000000000                                                                  0.000000000000000
                                                                                        USDT                                                                                                                                                   0.007218358722228

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
87183       Name on file                        West Realm Shires Services Inc.         BAT                                                               193.519466120000000 West Realm Shires Services Inc.                               193.519466120000000
                                                                                        DOGE                                                              516.888780253242300                                                               516.888780253242300
                                                                                        ETH                                                                 0.003715101446725                                                                 0.003715101446725
                                                                                        ETHW                                                                3.700269590000000                                                                 3.700269590000000
                                                                                        GRT                                                                70.631245460000000                                                                 0.000000000000000
                                                                                        NFT (464931599560900513/THE HILL BY
                                                                                        FTX #6816)                                                                                                                                            1.000000000000000
                                                                                        NFT (482160701848326235/THE HILL BY
                                                                                        FTX #6808)                                                                                                                                            1.000000000000000
                                                                                        NFT (492697260929359318/THE HILL BY
                                                                                        FTX #6795)                                                                                                                                            1.000000000000000
                                                                                        NFT (500985593318467942/FTX CRYPTO
                                                                                        CUP 2022 KEY #1391)                                                                                                                                   1.000000000000000
                                                                                        SHIB                                                      10,170,240.059312790000000                                                         10,170,240.059312790000000
                                                                                        TRX                                                               417.369710370000000                                                               417.369710370000000
                                                                                        UNI                                                                 7.897462220000000                                                                 7.897462220000000
                                                                                        USD                                                                 0.696576286570523                                                                 0.696576286570523
                                                                                        WBTC                                                                0.000892560000000                                                                 0.000892560000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
83505       Name on file                        FTX Trading Ltd.                       SHIB                                                              1.000000000000000 West Realm Shires Services Inc.                                 1.000000000000000
                                                                                       SOL                                                                                                                                                 5.720773380000000
                                                                                       TRX                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                            500.000000000000000                                                                  0.000001712077388

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
95755       Name on file                        FTX Trading Ltd.                        BTC                                                                                     West Realm Shires Services Inc.                               0.066000000000000
                                                                                        USD                                                            5,000.000000000000000                                                                  1.094168000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
95427       Name on file                        FTX Digital Holdings (Singapore) Pte                                                                                            Quoine Pte Ltd
                                                Ltd                                     BTC                                                                                                                                                   0.017474750000000
                                                                                        DAI                                                                                                                                                  45.859888010000000
                                                                                        USD                                                            1,209.700000000000000                                                                  2.983750000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
19947       Name on file                        FTX Trading Ltd.                        AKRO                                                                1.000000000000000 FTX Trading Ltd.                                                1.000000000000000
                                                                                        BAO                                                                 3.000000000000000                                                                 3.000000000000000
                                                                                        DENT                                                                1.000000000000000                                                                 1.000000000000000
                                                                                        KIN                                                                 1.000000000000000                                                                 1.000000000000000
                                                                                        NFT (355381266162480698/THE HILL BY
                                                                                        FTX #10581)                                                                                                                                           1.000000000000000
                                                                                        NFT (363774708750199460/FTX AU -
                                                                                        WE ARE HERE! #46615)                                                                                                                                  1.000000000000000
                                                                                        NFT (369763168029228914/FTX EU -
                                                                                        WE ARE HERE! #40038)                                                                                                                                  1.000000000000000
                                                                                        NFT (465762418524981593/FTX EU -
                                                                                        WE ARE HERE! #39984)                                                                                                                                  1.000000000000000
                                                                                        NFT (483578675634601597/FTX CRYPTO
                                                                                        CUP 2022 KEY #17775)                                                                                                                                  1.000000000000000
                                                                                        NFT (510744257840633534/FTX EU -
                                                                                        WE ARE HERE! #39670)                                                                                                                                  1.000000000000000
                                                                                        NFT (540521163542446215/FTX AU -
                                                                                        WE ARE HERE! #46747)                                                                                                                                  1.000000000000000
                                                                                        RSR                                                                 1.000000000000000                                                                 1.000000000000000
                                                                                        TRX                                                               122.002815000000000                                                                61.002815000000000
                                                                                        USD                                                               415.794966838515400                                                               415.794966838515400
                                                                                        USDT                                                                0.000000014014394                                                                 0.000000014014394

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
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                                                                                                    Asserted Claims                                                                                          Modified Claim

   Claim
  Number                   Name                               Debtor                                 Tickers                                Ticker Quantity                             Debtor                                  Ticker Quantity
9290        Name on file                      FTX Trading Ltd.                       AAVE-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                     BTC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     DOGE-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     ETH-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     FTT-PERP                                                        -0.000000000000022                                                                 -0.000000000000022
                                                                                     MINA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     SOL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     TLM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     TRX                                                            438.000002000000000                                                                438.000002000000000
                                                                                     TRY                                                              1.836258674000000                                                                  0.916258674000000
                                                                                     USD                                                              0.829075936572413                                                                  0.829075936572413
                                                                                     USDT                                                           232.542676857029200                                                                232.542676857029200

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
40522       Name on file                        West Realm Shires Services Inc.        NFT (400642909256310855/FTX - OFF                                                      West Realm Shires Services Inc.
                                                                                       THE GRID MIAMI #1283)                                                                                                                               1.000000000000000
                                                                                       THIS AMOUNT WAS SHOWN AS
                                                                                       WITHDRAWN ON 11/10/22 BUT I NEVER
                                                                                       RECEIVED IT.                                                                                                                                        0.000000000000000
                                                                                       USD                                                            404.710000000000000                                                                  4.706559040000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
19616       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                         0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       APT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ASD-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       AVAX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       AXS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BIT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BNB                                                               0.000004896301910                                                                  0.000004896301910
                                                                                       BNB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BTC                                                               0.011209430000000                                                                  0.000000000000000
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CHZ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       FTT-PERP                                                         -0.000000000000014                                                                 -0.000000000000014
                                                                                       GMT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GST-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       MTL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       NFT (367091543562727057/MONACO
                                                                                       TICKET STUB #339)                                                                                                                                    1.000000000000000
                                                                                       SOL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       TRX                                                               0.002331000000000                                                                  0.002331000000000
                                                                                       TRX-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       USD                                                            229.144735545011600                                                                229.144735545011600
                                                                                       USDT                                                              0.005517344920560                                                                  0.005517344920560

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
51880       Name on file                        FTX Trading Ltd.                       BAO                                                               1.000000000000000 FTX Trading Ltd.                                                1.000000000000000
                                                                                       BNB                                                               0.002616290000000                                                                 0.002616290000000
                                                                                       DENT                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       ETHW                                                              2.999400000000000                                                                 1.499700000000000
                                                                                       GMT-0930                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       GMT-1230                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       GMT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       GST                                                               0.009504910000000                                                                 0.009504910000000
                                                                                       GST-0930                                                          0.000000000000596                                                                 0.000000000000596
                                                                                       GST-PERP                                                          0.000000000000397                                                                 0.000000000000397
                                                                                       KIN                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       LUNA2                                                             0.007008124068000                                                                 0.007008124068000
                                                                                       LUNA2_LOCKED                                                      0.016352289490000                                                                 0.016352289490000
                                                                                       LUNC                                                              0.006867080000000                                                                 0.006867080000000
                                                                                       NFT (435778065269435020/OFFICIAL
                                                                                       SOLANA NFT)                                                                                                                                         1.000000000000000
                                                                                       SOL                                                               0.812771880000000                                                                 0.406385940000000
                                                                                       TRX                                                               0.001968000000000                                                                 0.001968000000000
                                                                                       TSLA                                                              1.016369200000000                                                                 0.508184600000000
                                                                                       USD                                                               4.000000000000000                                                               124.174116748826250
                                                                                       USDT                                                             97.422166058457270                                                                48.712166058457270
                                                                                       USTC                                                              0.992029370000000                                                                 0.992029370000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
25284       Name on file                        FTX Trading Ltd.                       ALGO-PERP                                                         0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       ALICE-PERP                                                       -0.000000000000028                                                                 -0.000000000000028
                                                                                       ALPHA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       ALT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ANC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       APE-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       AR-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                       ASD-PERP                                                          0.000000000000102                                                                  0.000000000000102
                                                                                       AUDIO-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       AVAX-PERP                                                         0.000000000000007                                                                  0.000000000000007
                                                                                       AXS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BAND-PERP                                                         0.000000000000113                                                                  0.000000000000113
                                                                                       BAO-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BAT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BCH                                                               0.000992280000000                                                                  0.000992280000000
                                                                                       BCH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BNB                                                                                                                                                  0.007429304692055
                                                                                       BNB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BOBA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       BOLSONARO2022                                                     0.000000000000000                                                                  0.000000000000000
                                                                                       BTC                                                               0.256290162710130                                                                  0.256290162710130
                                                                                       BTC-MOVE-2021Q4                                                   0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       C98-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       COMP-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       COPE                                                              0.001890000000000                                                                  0.001890000000000
                                                                                       CRO                                                               2.000000000000000                                                                  2.000000000000000
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                                            Asserted Claims                                                    Modified Claim

 Claim
Number   Name         Debtor                  Tickers                Ticker Quantity                  Debtor                    Ticker Quantity
                               CRO-PERP                                     2,790.000000000000000                                    2,790.000000000000000
                               CRV-PERP                                         0.000000000000000                                        0.000000000000000
                               DMG-PERP                                        -0.000000000000909                                       -0.000000000000909
                               DOGE-PERP                                        0.000000000000000                                        0.000000000000000
                               DOT-PERP                                         0.000000000000000                                        0.000000000000000
                               ENJ-PERP                                         0.000000000000000                                        0.000000000000000
                               ENS-PERP                                         0.000000000000000                                        0.000000000000000
                               EOS-PERP                                         0.000000000000000                                        0.000000000000000
                               ETC-PERP                                         0.000000000000014                                        0.000000000000014
                               ETH                                              0.000191680676102                                        0.000191680676102
                               ETH-PERP                                         0.000000000000000                                        0.000000000000000
                               ETHW                                             0.000191678999623                                        0.000191678999623
                               FIDA                                             1.083280000000000                                        1.083280000000000
                               FIDA-PERP                                        0.000000000000000                                        0.000000000000000
                               FLOW-PERP                                        0.000000000000000                                        0.000000000000000
                               FTT                                          1,041.026366290000000                                    1,041.026366290000000
                               FTT-PERP                                        -0.000000000000008                                       -0.000000000000008
                               GLMR-PERP                                        0.000000000000000                                        0.000000000000000
                               GMT-PERP                                         0.000000000000000                                        0.000000000000000
                               GRT-PERP                                         0.000000000000000                                        0.000000000000000
                               HNT-PERP                                         0.000000000000000                                        0.000000000000000
                               HUM-PERP                                         0.000000000000000                                        0.000000000000000
                               ICP-PERP                                         0.000000000000000                                        0.000000000000000
                               IOST-PERP                                        0.000000000000000                                        0.000000000000000
                               IOTA-PERP                                        0.000000000000000                                        0.000000000000000
                               IP3                                            105.442773530000000                                      105.442773530000000
                               KAVA-PERP                                        0.000000000000000                                        0.000000000000000
                               KIN-PERP                                         0.000000000000000                                        0.000000000000000
                               KNC-PERP                                        -0.000000000000113                                       -0.000000000000113
                               KSHIB-PERP                                       0.000000000000000                                        0.000000000000000
                               LINA-PERP                                        0.000000000000000                                        0.000000000000000
                               LINK-PERP                                        0.000000000000000                                        0.000000000000000
                               LOOKS-PERP                                       0.000000000000000                                        0.000000000000000
                               LRC-PERP                                         0.000000000000000                                        0.000000000000000
                               LUNA2                                            0.006920082324000                                        0.006920082324000
                               LUNA2_LOCKED                                     0.016146858760000                                        0.016146858760000
                               LUNC                                             1.000010000000000                                        1.000010000000000
                               LUNC-PERP                                        0.000000000000005                                        0.000000000000005
                               MANA-PERP                                        0.000000000000000                                        0.000000000000000
                               MER                                              1.000000000000000                                        1.000000000000000
                               MER-PERP                                         0.000000000000000                                        0.000000000000000
                               MTL-PERP                                         0.000000000000021                                        0.000000000000021
                               NEAR-PERP                                        0.000000000000000                                        0.000000000000000
                               NFT (295678219675441740/MONACO
                               TICKET STUB #673)                                                                                        1.000000000000000
                               NFT (296267059506510365/FRANCE
                               TICKET STUB #218)                                                                                        1.000000000000000
                               NFT
                               (297943420349222402/NETHERLANDS
                               TICKET STUB #1194)                                                                                       1.000000000000000
                               NFT (299033923304211668/FTX EU -
                               WE ARE HERE! #157003)                                                                                    1.000000000000000
                               NFT (337893517779554489/THE HILL BY
                               FTX #3837)                                                                                               1.000000000000000
                               NFT
                               (349023157559753541/SILVERSTONE
                               TICKET STUB #931)                                                                                        1.000000000000000
                               NFT (392359701055150117/MEXICO
                               TICKET STUB #1197)                                                                                       1.000000000000000
                               NFT (403356832757541139/FTX CRYPTO
                               CUP 2022 KEY #863)                                                                                       1.000000000000000
                               NFT (409958548508068612/FTX NIGHT
                               #236)                                                                                                    1.000000000000000
                               NFT (415889494053553795/MONZA
                               TICKET STUB #1694)                                                                                       1.000000000000000
                               NFT (441306529540668292/FTX EU -
                               WE ARE HERE! #156662)                                                                                    1.000000000000000
                               NFT (448819609222321602/FTX EU -
                               WE ARE HERE! #156068)                                                                                    1.000000000000000
                               NFT (474112322578422484/JAPAN
                               TICKET STUB #1007)                                                                                       1.000000000000000

                               NFT (517652446632154770/MONTREAL
                               TICKET STUB #13)                                                                                         1.000000000000000
                               NFT (532172463188671833/AUSTIN
                               TICKET STUB #406)                                                                                        1.000000000000000
                               NFT (534103002472485470/AUSTRIA
                               TICKET STUB #42)                                                                                         1.000000000000000
                               NFT (534107306526339904/FTX MOON
                               #173)                                                                                                    1.000000000000000
                               NFT (552053017874194874/FTX MOON
                               #190)                                                                                                    1.000000000000000
                               NFT (565340521205068774/BELGIUM
                               TICKET STUB #239)                                                                                        1.000000000000000
                               OMG-PERP                                       0.000000000000000                                         0.000000000000000
                               RAY-PERP                                       0.000000000000000                                         0.000000000000000
                               REEF-PERP                                      0.000000000000000                                         0.000000000000000
                               REN-PERP                                       0.000000000000000                                         0.000000000000000
                               ROSE-PERP                                      0.000000000000000                                         0.000000000000000
                               SAND-PERP                                      0.000000000000000                                         0.000000000000000
                               SHIB-PERP                                      0.000000000000000                                         0.000000000000000
                               SOL                                            0.252050570252780                                         0.252050570252780
                               SOL-PERP                                      -0.000000000000005                                        -0.000000000000005
                               SRM                                          124.561104140000000                                       124.561104140000000
                               SRM_LOCKED                                   564.401206170000000                                       564.401206170000000
                               SRM-PERP                                       0.000000000000000                                         0.000000000000000
                               STEP-PERP                                      0.000000000000909                                         0.000000000000909
                               STORJ-PERP                                     0.000000000000909                                         0.000000000000909
                               TRX                                            0.001580000000000                                         0.001580000000000
                               TRX-PERP                                       0.000000000000000                                         0.000000000000000
                               USD                                        4,118.720000000000000                                       578.700381605397100
                               USDT                                           0.048567772494000                                         0.048567772494000
                               USTC                                           0.978921022600000                                         0.978921022600000
                               USTC-PERP                                140,230.000000000000000                                   140,230.000000000000000
                                         Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                            Page 10 of 43
                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     WAVES-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     XPLA                                                        85,627.701985160000000                                                             85,627.701985160000000
                                                                                     YFI                                                              0.000000080000000                                                                  0.000000080000000
                                                                                     YFI-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ZIL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ZRX-PERP                                                         0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32276       Name on file                        FTX Trading Ltd.                       AVAX                                                            335.438852760000000 FTX Trading Ltd.                                              335.438852760000000
                                                                                       BCH                                                              34.577839690000000                                                                34.577839690000000
                                                                                       BNB                                                               8.165965300000000                                                                 8.165965300000000
                                                                                       BRZ                                                          57,024.060000000000000                                                           57,024.061580776250000
                                                                                       BTC                                                               0.898343420000000                                                                 0.898343425751804
                                                                                       DOGE                                                         36,703.005350000000000                                                           36,703.005350000000000
                                                                                       DOT                                                             575.379708000000000                                                               575.379708000000000
                                                                                       ETH                                                               3.566089770000000                                                                 3.566089770700000
                                                                                       EUR                                                           7,088.210000000000000                                                             7,088.206383304250000
                                                                                       FTT                                                           3,251.974404000000000                                                             3,251.974404000000000
                                                                                       JPY                                                      7,369,684.200000000000000                                                         7,369,684.199642457000000
                                                                                       LINK                                                            374.364214000000000                                                               374.364214000000000
                                                                                       LTC                                                              60.963532800000000                                                                60.963532800000000
                                                                                       SOL                                                             190.583341440000000                                                               190.583341448000000
                                                                                       SRM                                                               0.101897450000000                                                                 0.101897450000000
                                                                                       SRM_LOCKED                                                       12.618102550000000                                                                12.618102550000000
                                                                                       TRX                                                               0.000034000000000                                                                 0.000034000000000
                                                                                       TRY                                                          80,505.950000000000000                                                           80,505.951617800250000
                                                                                       UNI                                                             498.549435500000000                                                               498.549435500000000
                                                                                       USD                                                          74,583.150000000000000                                                           74,583.151866748040000
                                                                                       USDT                                                         85,386.500000000000000                                                           85,386.496505447210000
                                                                                       XRP                                                           8,393.629770000000000                                                             8,393.629770000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
77728       Name on file                        FTX Trading Ltd.                       BCH-PERP                                                          0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       BNB                                                               0.100000000000000                                                                 0.100000000000000
                                                                                       BTC                                                               0.001200000000000                                                                 0.001200000000000
                                                                                       BTC-20200626                                                      0.000000000000000                                                                 0.000000000000000
                                                                                       BTC-MOVE-20200326                                                 0.000000000000000                                                                 0.000000000000000
                                                                                       BTC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       DOGE                                                             33.993540000000000                                                                33.993540000000000
                                                                                       ETH                                                               0.000302000000000                                                                 0.000000002025700
                                                                                       ETH-0930                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       ETHW                                                              2.123900000000000                                                                 0.000000009866460
                                                                                       LUNA2                                                             2.291422750000000                                                                 2.291422750000000
                                                                                       LUNA2_LOCKED                                                      5.346653083000000                                                                 5.346653083000000
                                                                                       NVDA                                                              0.147471975000000                                                                 0.147471975000000
                                                                                       PAXG-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       RSR                                                               1.000000000000000                                                                 0.000000000000000
                                                                                       SOL                                                               0.000002190000000                                                                 0.000000000000000
                                                                                       TRX                                                                                                                                               202.413917251383900
                                                                                       TSLA                                                              0.149971500000000                                                                 0.149971500000000
                                                                                       UBXT                                                              1.000000000000000                                                                 0.000000000000000
                                                                                       USD                                                           4,690.200000000000000                                                               731.379891281943200
                                                                                       USDT                                                            214.266099641373560                                                               214.266099641373560
                                                                                       XAUT-PERP                                                         0.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9737        Name on file                        FTX Trading Ltd.                       BNB                                                               0.010569140000000 FTX Trading Ltd.                                                0.010569140000000
                                                                                       ETH                                                               0.000000370000000                                                                 0.000000370000000
                                                                                       MATIC                                                             1.725810000000000                                                                 1.725810000000000
                                                                                       NFT (301214267717082947/FTX EU -
                                                                                       WE ARE HERE! #139769)                                                                                                                               1.000000000000000
                                                                                       NFT (370305655109400619/FTX EU -
                                                                                       WE ARE HERE! #139926)                                                                                                                               1.000000000000000
                                                                                       NFT (387369434602869983/FTX CRYPTO
                                                                                       CUP 2022 KEY #2131)                                                                                                                                 1.000000000000000
                                                                                       NFT (404621465971503626/AUSTRIA
                                                                                       TICKET STUB #1282)                                                                                                                                  1.000000000000000
                                                                                       NFT (423360039333312613/FTX AU -
                                                                                       WE ARE HERE! #3210)                                                                                                                                 1.000000000000000
                                                                                       NFT (448566166029812983/AUSTIN
                                                                                       TICKET STUB #1249)                                                                                                                                  1.000000000000000
                                                                                       NFT (468220631502385178/THE HILL BY
                                                                                       FTX #3521)                                                                                                                                          1.000000000000000
                                                                                       NFT (504191885785339807/FTX AU -
                                                                                       WE ARE HERE! #56963)                                                                                                                                1.000000000000000
                                                                                       NFT (537271233484637751/FTX EU -
                                                                                       WE ARE HERE! #139685)                                                                                                                               1.000000000000000
                                                                                       NFT (545601296538041719/FTX AU -
                                                                                       WE ARE HERE! #3215)                                                                                                                                 1.000000000000000
                                                                                       USD                                                              14.254844329008000                                                                14.254844329008000
                                                                                       USDC                                                           569.000000000000000                                                                  0.000000000000000
                                                                                       USDT                                                           145.957530707500000                                                                145.957530707500000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8837        Name on file                        FTX Trading Ltd.                       APE                                                                                    FTX Trading Ltd.                                             0.013555000000000
                                                                                       APE-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB                                                                                                                                                 0.000125000000000
                                                                                       BNB-PERP                                                                                                                                            0.000000000000003
                                                                                       BTC                                                                                                                                                 0.000095260000000
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CRO-PERP                                                                                                                                            0.000000000000000
                                                                                       DOGE-PERP                                                                                                                                           0.000000000000000
                                                                                       DOT-PERP                                                                                                                                            0.000000000000000
                                                                                       ETH                                                               2.763344500000000                                                                 0.000000005000000
                                                                                       ETH-0624                                                                                                                                            0.000000000000000
                                                                                       ETH-0930                                                                                                                                            0.000000000000000
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                                                                                                                0.000013605000000
                                                                                       FTT                                                                                                                                                 0.016774110000000
                                                                                       GMT-PERP                                                                                                                                            0.000000000000000
                                         Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                            Page 11 of 43
                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                Tickers                                 Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     KAVA-PERP                                                                                                                                           0.000000000000000
                                                                                     LOOKS                                                                                                                                               0.604008140000000
                                                                                     LOOKS-PERP                                                                                                                                          0.000000000000000
                                                                                     MATIC                                                                                                                                               3.000050000000000
                                                                                     MATIC-PERP                                                                                                                                          0.000000000000000
                                                                                     MBS                                                                                                                                                 0.598688000000000
                                                                                     NEAR                                                                                                                                                0.000850000000000
                                                                                     NFT (320075815388061633/FTX CRYPTO
                                                                                     CUP 2022 KEY #5367)                                                                                                                                 1.000000000000000
                                                                                     NFT (434310112821632884/HUNGARY
                                                                                     TICKET STUB #1947)                                                                                                                                  1.000000000000000
                                                                                     OP-PERP                                                                                                                                             0.000000000000000
                                                                                     SAND                                                                                                                                                0.011625000000000
                                                                                     TRX                                                                                                                                                 0.000001000000000
                                                                                     USD                                                            116.300000000000000                                                                  0.248453196101923
                                                                                     USDT                                                         3,035.427000000000000                                                              2,324.527008032437600

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
78397       Name on file                        FTX Trading Ltd.                       BAT                                                               0.000000010000000 FTX Trading Ltd.                                                0.000000010000000
                                                                                       BEAR                                                     1,455,000.000000000000000                                                         1,455,000.000000000000000
                                                                                       BNBBEAR                                                      24,885.900000000000000                                                           24,885.900000000000000
                                                                                       BTC                                                               0.000000005466640                                                                 0.000000005466640
                                                                                       BULL                                                              2.732566311435000                                                                 2.732566311435000
                                                                                       CEL                                                               0.000000000240460                                                                 0.000000000240460
                                                                                       DOGE                                                            874.508850890000000                                                                 0.000000000000000
                                                                                       DRGNBULL                                                          0.180946600000000                                                                 0.180946600000000
                                                                                       ETH                                                               0.000000008238959                                                                 0.000000008238959
                                                                                       ETHBULL                                                           0.007516996000000                                                                 0.007516996000000
                                                                                       FTT                                                               9.065150850000000                                                                 0.029156252730847
                                                                                       GALA                                                            724.334846010000000                                                                 0.000000000000000
                                                                                       GRT                                                           1,746.361949700000000                                                                 0.000000002832131
                                                                                       IMX                                                              69.038059910000000                                                                 0.000000000000000
                                                                                       MATIC                                                                                                                                              13.594000688079440
                                                                                       MOB                                                               3.499745677596560                                                                 3.499745677596560
                                                                                       NEXO                                                          1,117.930539000000000                                                             1,117.930539000000000
                                                                                       PRIVBULL                                                          0.048780500000000                                                                 0.048780500000000
                                                                                       RSR                                                          50,320.497608910000000                                                                 0.000000006565010
                                                                                       RUNE                                                              0.000000004076530                                                                 0.000000004076530
                                                                                       SRM                                                              54.305673740000000                                                                 0.074266760000000
                                                                                       SRM_LOCKED                                                        0.318671140000000                                                                 0.318671140000000
                                                                                       SUSHI                                                            30.183958160000000                                                                 0.000000000000000
                                                                                       TRX                                                               0.000131000000000                                                                 0.000131000000000
                                                                                       USD                                                               0.000000005618863                                                                 0.000000005618863
                                                                                       USDT                                                              0.000000000794083                                                                 0.000000000794083
                                                                                       XRP                                                               0.000000002504490                                                                 0.000000002504490

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
77040       Name on file                        FTX Trading Ltd.                       BAO                                                      1,681,000.000000000000000 FTX Trading Ltd.                                        1,680,134.360000000000000
                                                                                       MAPS                                                          1,527.000000000000000                                                             1,526.709870000000000
                                                                                       MATIC                                                         4,765.000000000000000                                                                 0.000000000000000
                                                                                       RSR                                                          51,457.000000000000000                                                           51,440.656100000000000
                                                                                       SRM                                                             411.000000000000000                                                               426.728064850000000
                                                                                       SRM_LOCKED                                                                                                                                         12.058935230000000
                                                                                       USD                                                                                                                                                 0.133555240000000
                                                                                       USDT                                                                                                                                                0.000000017581307

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
82507       Name on file                        FTX Trading Ltd.                       1INCH                                                           619.238426389954000 FTX Trading Ltd.                                              619.238426389954000
                                                                                       1INCH-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       AMPL                                                              0.000000000620802                                                                  0.000000000620802
                                                                                       AMPL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ATOM                                                              0.068462389071903                                                                  0.068462389071903
                                                                                       AVAX                                                            611.440000000000000                                                               611.429018680396100
                                                                                       BAL                                                               0.009763070000000                                                                  0.009763070000000
                                                                                       BNB                                                               9.330213963432406                                                                  9.330213963432406
                                                                                       BNB-0325                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BNB-PERP                                                         -0.000000000001164                                                                 -0.000000000001164
                                                                                       BTC                                                               1.661537580398454                                                                  1.661537580398454
                                                                                       BTC-0325                                                         -0.000000000000010                                                                 -0.000000000000010
                                                                                       BTC-0624                                                         -0.000000000000024                                                                 -0.000000000000024
                                                                                       BTC-0930                                                          0.000000000000002                                                                  0.000000000000002
                                                                                       BTC-20210625                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-20210924                                                      0.000000000000010                                                                  0.000000000000010
                                                                                       BTC-20211231                                                     -0.000000000000032                                                                 -0.000000000000032
                                                                                       BTC-PERP                                                         -1.554800000000070                                                                 -1.554800000000070
                                                                                       DAI                                                               0.009836714073480                                                                  0.009836714073480
                                                                                       DOGE                                                          5,886.494813081674000                                                             5,886.494813081674000
                                                                                       DOGE-20210625                                                     0.000000000000000                                                                  0.000000000000000
                                                                                       DOGE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       DYDX                                                          1,229.500000010000000                                                             1,229.500000010000000
                                                                                       DYDX-PERP                                                        -0.000000000023646                                                                 -0.000000000023646
                                                                                       ETH                                                               5.775351485271810                                                                  5.775351485271810
                                                                                       ETH-0325                                                         -0.000000000000511                                                                 -0.000000000000511
                                                                                       ETH-0624                                                         -0.000000000000909                                                                 -0.000000000000909
                                                                                       ETH-0930                                                          0.000000000000050                                                                  0.000000000000050
                                                                                       ETH-1230                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETH-20210625                                                      0.000000000000043                                                                  0.000000000000043
                                                                                       ETH-20210924                                                     -0.000000000000320                                                                 -0.000000000000320
                                                                                       ETH-20211231                                                     -0.000000000000063                                                                 -0.000000000000063
                                                                                       ETH-PERP                                                         -0.132000000000784                                                                 -0.132000000000784
                                                                                       ETHW                                                              3.818351485271809                                                                  3.818351485271809
                                                                                       FTT                                                           9,620.998250194876000                                                             9,620.998250194876000
                                                                                       FTT-PERP                                                    -10,154.000000000000000                                                          -10,154.000000000000000
                                                                                       HXRO                                                          1,000.000000000000000                                                             1,000.000000000000000
                                                                                       LUNA2                                                            65.808522581100000                                                                65.808522581100000
                                                                                       LUNA2_LOCKED                                                    153.553219363000000                                                               153.553219363000000
                                                                                       LUNC                                                     6,061,381.729320933000000                                                         6,061,381.729320933000000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       MATIC                                                            98.950000000000000                                                                98.947535873192660
                                                                                       MATIC-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       PYTH_LOCKED                                             15,000,000.000000000000000                                                        15,000,000.000000000000000
                                         Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                            Page 12 of 43
                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     SOL                                                             196.606854216453600                                                               196.606854216453600
                                                                                     SOL-0325                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     SOL-20211231                                                      0.000000000000000                                                                 0.000000000000000
                                                                                     SOL-PERP                                                       -228.719999999997000                                                              -228.719999999997000
                                                                                     SRM                                                           2,241.376292730000000                                                             2,241.376292730000000
                                                                                     SRM_LOCKED                                                  11,156.575958710000000                                                             11,156.575958710000000
                                                                                     USD                                                         68,236.395231909370000                                                             68,236.395231909370000
                                                                                     USDT                                                          2,924.002542315684400                                                             2,924.002542315684400
                                                                                     USTC                                                          1,194.135803489470200                                                             1,194.135803489470200
                                                                                     USTC-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     XRP                                                           1,816.822582632837600                                                             1,816.822582632837600
                                                                                     XRP-0325                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     XRP-PERP                                                          0.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7959        Name on file                        FTX Trading Ltd.                       BICO                                                          3,988.242280000000000 FTX Trading Ltd.                                            3,988.242280000000000
                                                                                       BTC                                                               0.025200000000000                                                                 0.025200000000000
                                                                                       DOT                                                               0.029000000000000                                                                 0.029000000000000
                                                                                       EMB                                                           5,429.000000000000000                                                             5,429.000000000000000
                                                                                       ETH                                                               3.876888370000000                                                                 3.876888370000000
                                                                                       FTT                                                               0.039117823389357                                                                 0.039117823389357
                                                                                       GODS                                                          2,193.683178000000000                                                             2,193.683178000000000
                                                                                       IMX                                                          20,333.230154000000000                                                           20,333.230154000000000
                                                                                       NFT (558655039269671270/THE HILL BY
                                                                                       FTX #21891)                                                       1.000000000000000                                                                 1.000000000000000
                                                                                       SOL                                                             126.787785600000000                                                               126.787785600000000
                                                                                       USD                                                              25.993877196549152                                                                 0.993877196549152
                                                                                       USDT                                                          4,503.600663002539500                                                             4,503.600663002539500

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
68404       Name on file                        FTX Trading Ltd.                       AAPL                                                              0.009614000000000 FTX Trading Ltd.                                                0.009614000000000
                                                                                       AAPL-0325                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       AMZN                                                              1.619960000000000                                                                 1.619960000000000
                                                                                       AMZN-0325                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       AMZNPRE-0624                                                      0.000000000000000                                                                 0.000000000000000
                                                                                       ATLAS                                                         3,129.852000000000000                                                             3,129.852000000000000
                                                                                       BABA                                                              1.874894000000000                                                                 1.874894000000000
                                                                                       BUSD                                                          1,279.120000000000000                                                                 0.000000000000000
                                                                                       COIN                                                              1.279780000000000                                                                 1.279780000000000
                                                                                       FB                                                                0.849830000000000                                                                 0.849830000000000
                                                                                       FB-0325                                                           0.000000000000000                                                                 0.000000000000000
                                                                                       GOOGL                                                             1.059868000000000                                                                 1.059868000000000
                                                                                       NFLX                                                              0.499900000000000                                                                 0.499900000000000
                                                                                       NIO                                                              10.563487000000000                                                                10.563487000000000
                                                                                       TSLA                                                              0.019406000000000                                                                 0.019406000000000
                                                                                       TSLA-0325                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       USD                                                             936.075216696667600                                                               936.075216696667600
                                                                                       USDT                                                              0.000000011478360                                                                 0.000000011478360

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
33034       Name on file                        FTX Trading Ltd.                       1INCH                                                             1.155629360000000 FTX Trading Ltd.                                                1.155629367461200
                                                                                       ATLAS                                                             9.937000000000000                                                                 9.937000000000000
                                                                                       CRO                                                               9.967600000000000                                                                 9.967600000000000
                                                                                       FTM                                                              18.996580000000000                                                                18.996580000000000
                                                                                       FTT                                                               0.299974420000000                                                                 0.299974425130400
                                                                                       USD                                                              29.520000000000000                                                                29.516767513958690

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
94852       Name on file                        West Realm Shires Services Inc.        310426368956303843/ALPHA:RONIN                                                         West Realm Shires Services Inc.
                                                                                       #835                                                                                                                                                0.000000000000000
                                                                                       310826080139854825/3D CATPUNK
                                                                                       #6738                                                                                                                                               0.000000000000000
                                                                                       322887641508848642/CRYPTOPET
                                                                                       #3699                                                                                                                                               0.000000000000000
                                                                                       333487715884992353/ASTRAL APES
                                                                                       #1033                                                                                                                                               0.000000000000000
                                                                                       401780220668862961/ALPHA:RONIN
                                                                                       #1156                                                                                                                                               0.000000000000000
                                                                                       452086118306348734/ALPHA:RONIN
                                                                                       #759                                                                                                                                                0.000000000000000
                                                                                       503412227830628397/LITTLE ROCKS
                                                                                       #1257                                                                                                                                               0.000000000000000
                                                                                       504831543969676036/ALPHA:RONIN
                                                                                       #809                                                                                                                                                0.000000000000000
                                                                                       559032014256823290/DARK ALLURE
                                                                                       [SE]                                                                                                                                                0.000000000000000
                                                                                       AAVE                                                              0.388304360000000                                                                 0.388304360000000
                                                                                       ALGO                                                             95.392965350000000                                                                95.392965350000000
                                                                                       AVAX                                                              5.381801630000000                                                                 5.381801630000000
                                                                                       BTC                                                               0.009792010000000                                                                 0.009792010000000
                                                                                       POC Other Fiat Assertions: CRYPTO                             1,200.000000000000000                                                                 0.000000000000000
                                                                                       DOGE                                                            241.071119870000000                                                               241.071119870000000
                                                                                       ETH                                                               0.142645220000000                                                                 0.142645220000000
                                                                                       ETHW                                                              0.141737030000000                                                                 0.141737030000000
                                                                                       GRT                                                              64.274751880000000                                                                64.274751880000000
                                                                                       LINK                                                              0.965345550000000                                                                 0.965345550000000
                                                                                       MATIC                                                            42.223567830000000                                                                42.223567830000000
                                                                                       NFT
                                                                                       (310426368956303843/ALPHA:RONIN
                                                                                       #835)                                                             1.000000000000000                                                                 1.000000000000000
                                                                                       NFT (310826080139854825/3D
                                                                                       CATPUNK #6738)                                                    1.000000000000000                                                                 1.000000000000000

                                                                                     NFT (322887641508848642/CRYPTOPET
                                                                                     #3699)                                                           1.000000000000000                                                                  1.000000000000000
                                                                                     NFT (333487715884992353/ASTRAL
                                                                                     APES #1033)                                                      1.000000000000000                                                                  1.000000000000000
                                                                                     NFT
                                                                                     (401780220668862961/ALPHA:RONIN
                                                                                     #1156)                                                           1.000000000000000                                                                  1.000000000000000
                                                Case 22-11068-JTD                                                  Doc 25714-2                                  Filed 09/25/24                       Page 13 of 43
                                                                                                                     Asserted Claims                                                                             Modified Claim

   Claim
  Number                      Name                                      Debtor                                      Tickers                                         Ticker Quantity                     Debtor                    Ticker Quantity
                                                                                                    NFT
                                                                                                    (452086118306348734/ALPHA:RONIN
                                                                                                    #759)                                                                        1.000000000000000                                          1.000000000000000
                                                                                                    NFT (503412227830628397/LITTLE
                                                                                                    ROCKS #1257)                                                                 1.000000000000000                                          1.000000000000000
                                                                                                    NFT
                                                                                                    (504831543969676036/ALPHA:RONIN
                                                                                                    #809)                                                                        1.000000000000000                                          1.000000000000000
                                                                                                    NFT (559032014256823290/DARK
                                                                                                    ALLURE [SE])                                                               1.000000000000000                                            1.000000000000000
                                                                                                    POC Other Fiat Assertions: NFTS                                          300.000000000000000                                            0.000000000000000
                                                                                                    PAXG                                                                       0.009976690000000                                            0.009976690000000
                                                                                                    SHIB                                                                       7.000000000000000                                            7.000000000000000
                                                                                                    SOL                                                                        0.004000000000000                                            0.004000000000000
                                                                                                    TRX                                                                        1.000000000000000                                            1.000000000000000
                                                                                                    USD                                                                    1,500.000000000000000                                            0.000273978496491

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
50301       Name on file                        FTX Trading Ltd.                       FTT                                                            190.612800000000000 FTX Trading Ltd.                                               200.862804450470350
                                                                                       FTT-PERP                                                          0.000000000000000                                                               500.000000000000000
                                                                                       GMT                                                               0.703779210000000                                                                 0.703779210000000
                                                                                       GST                                                               0.002775230000000                                                                 0.002775230000000
                                                                                       GST-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       LUNA2                                                             0.528222818700000                                                                 0.528222818700000
                                                                                       LUNA2_LOCKED                                                      1.199407880000000                                                                 1.199407880000000
                                                                                       LUNC                                                       116,101.241305650000000                                                          116,101.241305650000000
                                                                                       NFT (293813667458989545/FRANCE
                                                                                       TICKET STUB #1276)                                                                                                                                  1.000000000000000
                                                                                       NFT
                                                                                       (301991623801650513/NETHERLANDS
                                                                                       TICKET STUB #1311)                                                1.000000000000000                                                                 1.000000000000000
                                                                                       NFT (316038620049466609/MONZA
                                                                                       TICKET STUB #1038)                                                                                                                                  1.000000000000000
                                                                                       NFT (343758592703500435/FTX CRYPTO
                                                                                       CUP 2022 KEY #1438)                                               1.000000000000000                                                                 1.000000000000000
                                                                                       NFT (373268348401794304/THE HILL BY
                                                                                       FTX #7469)                                                        1.000000000000000                                                                 1.000000000000000

                                                                                                    NFT (375086160129458278/MONTREAL
                                                                                                    TICKET STUB #389)                                                                                                                       1.000000000000000

                                                                                                    NFT (390350166316998611/SINGAPORE
                                                                                                    TICKET STUB #308)                                                            1.000000000000000                                          1.000000000000000
                                                                                                    NFT (399906661130551910/MONACO
                                                                                                    TICKET STUB #192)                                                                                                                       1.000000000000000
                                                                                                    NFT (559564734238036530/AUSTRIA
                                                                                                    TICKET STUB #814)                                                                                                                       1.000000000000000
                                                                                                    USD                                                                        447.292100000000000                                       -796.782687056681100
                                                                                                    USDT                                                                       121.159555655000000                                        121.159555655000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
94795*      Name on file                        FTX Trading Ltd.                       289271730190023385/IMOLA TICKET                                                        West Realm Shires Services Inc.
                                                                                       STUB #1377                                                                                                                                          0.000000000000000
                                                                                       429840379709686142/ENTRANCE
                                                                                       VOUCHER #29595                                                                                                                                      0.000000000000000
                                                                                       BTC                                                               0.003100000000000                                                                 0.000000003939945
                                                                                       CUSDT                                                             0.000000007922975                                                                 0.000000007922975
                                                                                       DOGE                                                             15.600000000000000                                                                 0.000000002177150
                                                                                       ETH                                                               0.005630000000000                                                                 0.000000009661826
                                                                                       ETHW                                                              0.000000009661826                                                                 0.000000009661826
                                                                                       MATIC                                                            47.540000000000000                                                                 0.000000008131790
                                                                                       NFT (289271730190023385/IMOLA
                                                                                       TICKET STUB #1377)                                                1.000000000000000                                                                 1.000000000000000

                                                                                                    NFT (429840379709686142/ENTRANCE
                                                                                                    VOUCHER #29595)                                                            1.000000000000000                                            1.000000000000000
                                                                                                    SHIB                                                                   2,100.000000000000000                                            0.000000007852988
                                                                                                    SOL                                                                       51.000000000000000                                            0.000000004193757
                                                                                                    SUSHI                                                                     38.000000000000000                                            0.000000005795847
                                                                                                    TRX                                                                        0.000000006402463                                            0.000000006402463
                                                                                                    UNI                                                                        1.970000000000000                                            0.000000008615563
                                                                                                    USD                                                                       25.000000000000000                                            0.000000007452147

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
63809       Name on file                        FTX Trading Ltd.                        BIT                                                             1,407.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                        HT-PERP                                                           784.240000000000000                                                                784.240000000000000
                                                                                        NFT (298753839885878581/FTX EU -
                                                                                        WE ARE HERE! #273528)                                                                                                                                  1.000000000000000
                                                                                        NFT (418090156259538924/FTX EU -
                                                                                        WE ARE HERE! #273513)                                                                                                                                  1.000000000000000
                                                                                        NFT (450503591482072527/FTX EU -
                                                                                        WE ARE HERE! #273523)                                                                                                                                  1.000000000000000
                                                                                        USD                                                            -4,112.237753520500000                                                             -4,112.237753520500000
                                                                                        USDT                                                                0.000000007713697                                                                  0.000000007713697

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
41428       Name on file                        FTX Trading Ltd.                       1INCH                                                             3.167324600000000 FTX Trading Ltd.                                                3.167324600000000
                                                                                       AAVE                                                              0.547313761000000                                                                 0.547313761000000
                                                                                       AKRO                                                         13,832.460212300000000                                                           13,832.460212300000000
                                                                                       ALGO                                                            511.000000000000000                                                               511.000000000000000
                                                                                       APE                                                              35.600000000000000                                                                35.600000000000000
                                                                                       ATOM                                                             36.800000000000000                                                                36.800000000000000
                                                                                       AUD                                                              17.859225806550000                                                                17.859225806550000
                                                                                       AUDIO                                                           921.000000000000000                                                               921.000000000000000
                                                                                       AVAX                                                             10.300000000000000                                                                10.300000000000000
                                                                                       AXS                                                               0.400000000000000                                                                 0.400000000000000
                                                                                       BAL                                                              10.504526087000000                                                                10.504526087000000
                                                                                       BAND                                                              8.638212710000000                                                                 8.638212710000000
                                                                                       BAT                                                              97.321643000000000                                                                97.321643000000000

94795*: Claim is also included as a Surviving Claim in the Debtors' Ninety-First (Non-Substantive) Omnibus Objection to Certain Superseded Proofs of Claim (Customer Claims)
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                              Ticker Quantity
                                                                                     BCH                                                               2.930043909700000                                                                2.930043909700000
                                                                                     BNB                                                               0.018810030000000                                                                0.018810030000000
                                                                                     BNT                                                              15.190240750000000                                                               15.190240750000000
                                                                                     BOBA                                                             16.459625000000000                                                               16.459625000000000
                                                                                     BTC                                                               0.008564145892149                                                                0.008564145892149
                                                                                     BTC-PERP                                                          0.000000000000000                                                                0.000000000000000
                                                                                     CEL                                                               5.800000000000000                                                                5.800000000000000
                                                                                     CHR                                                             722.000000000000000                                                              722.000000000000000
                                                                                     CHZ                                                              20.000000000000000                                                               20.000000000000000
                                                                                     COMP                                                              0.589064096450000                                                                0.589064096450000
                                                                                     CREAM                                                            55.542031064000000                                                               55.542031064000000
                                                                                     CRO                                                           2,070.000000000000000                                                            2,070.000000000000000
                                                                                     CRV                                                             378.443235400000000                                                              378.443235400000000
                                                                                     CVC                                                           1,037.210672100000000                                                            1,037.210672100000000
                                                                                     DAI                                                              53.048561870000000                                                               53.048561870000000
                                                                                     DOGE                                                          4,910.161084000000000                                                            4,910.161084000000000
                                                                                     DOT                                                              92.000000000000000                                                               92.000000000000000
                                                                                     DYDX                                                             72.696424580000000                                                               72.696424580000000
                                                                                     ETH                                                               0.000878482900000                                                                0.000878482900000
                                                                                     ETH-PERP                                                          0.000000000000000                                                                0.000000000000000
                                                                                     ETHW                                                              0.014318482900000                                                                0.014318482900000
                                                                                     EUR                                                              12.455878932315000                                                               12.455878932315000
                                                                                     FTM                                                             312.000000000000000                                                              312.000000000000000
                                                                                     FTT                                                              65.530966050000000                                                               65.530966050000000
                                                                                     GALA                                                            710.000000000000000                                                              710.000000000000000
                                                                                     GBP                                                             335.000000000000000                                                              335.000000000000000
                                                                                     GRT                                                              69.714169700000000                                                               69.714169700000000
                                                                                     HT                                                                0.300000000000000                                                                0.300000000000000
                                                                                     JPY                                                           2,302.189735600912600                                                            2,302.189735600912600
                                                                                     KNC                                                             391.131958610000000                                                              391.131958610000000
                                                                                     LDO                                                              89.000000000000000                                                               89.000000000000000
                                                                                     LINK                                                             60.335771260000000                                                               60.335771260000000
                                                                                     LRC                                                           1,071.670178100000000                                                            1,071.670178100000000
                                                                                     LTC                                                               3.376345213000000                                                                3.376345213000000
                                                                                     LUNA2                                                            76.152705500000000                                                               76.152705500000000
                                                                                     LUNA2_LOCKED                                                    177.689646200000000                                                              177.689646200000000
                                                                                     MANA                                                            262.686328900000000                                                              262.686328900000000
                                                                                     MATIC                                                         1,120.905562000000000                                                            1,120.905562000000000
                                                                                     MKR                                                               0.003483113700000                                                                0.003483113700000
                                                                                     MOB                                                             104.500000000000000                                                              104.500000000000000
                                                                                     MTA                                                           1,197.539988300000000                                                            1,197.539988300000000
                                                                                     OMG                                                              31.914589300000000                                                               31.914589300000000
                                                                                     PAXG                                                              0.397600000000000                                                                0.397600000000000
                                                                                     REN                                                             378.407288400000000                                                              378.407288400000000
                                                                                     RSR                                                         44,059.804223000000000                                                            44,059.804223000000000
                                                                                     RUNE                                                              9.800000000000000                                                                9.800000000000000
                                                                                     SAND                                                            257.000000000000000                                                              257.000000000000000
                                                                                     SHIB                                                    78,908,329.940000000000000                                                        78,908,329.940000000000000
                                                                                     SNX                                                               1.160661070000000                                                                1.160661070000000
                                                                                     SOL                                                               0.068615210000000                                                                0.068615210000000
                                                                                     SRM                                                              47.905718200000000                                                               47.905718200000000
                                                                                     STORJ                                                            66.612700480000000                                                               66.612700480000000
                                                                                     SUSHI                                                            36.434652350000000                                                               36.434652350000000
                                                                                     TRX                                                               3.950380800000000                                                                3.950380800000000
                                                                                     TRY                                                           2,656.098475941428000                                                            1,328.048475941428000
                                                                                     UNI                                                             106.793141910000000                                                              106.793141910000000
                                                                                     USD                                                           1,411.050579130373800                                                            1,411.050579130373800
                                                                                     USDT                                                            332.803692472955700                                                              332.803692472955700
                                                                                     WAVES                                                            81.500000000000000                                                               81.500000000000000
                                                                                     WBTC                                                              0.002600000000000                                                                0.002600000000000
                                                                                     XRP                                                             354.771988500000000                                                              354.771988500000000
                                                                                     XRP-PERP                                                          0.000000000000000                                                                0.000000000000000
                                                                                     YFI                                                               0.073474706400000                                                                0.073474706400000
                                                                                     YFII                                                              0.017183313500000                                                                0.017183313500000
                                                                                     ZRX                                                             393.292169400000000                                                              393.292169400000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32827       Name on file                        FTX Trading Ltd.                       1INCH                                                           314.198802160000000 FTX Trading Ltd.                                              314.198802161251650
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       AR-PERP                                                                                                                                              0.000000000000000
                                                                                       ATOM                                                                                                                                                 0.000000005978579
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       AXS-PERP                                                                                                                                             0.000000000000000
                                                                                       BAND                                                                                                                                                 0.000000000968420
                                                                                       BNB                                                              -6.393509190000000                                                                 -6.393509189429286
                                                                                       BTC                                                               0.001220920000000                                                                  0.001220920000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       DOT                                                                                                                                                  0.000000001694392
                                                                                       ETH                                                                                                                                                 -0.000000000527470
                                                                                       ETH-PERP                                                                                                                                             0.000000000000000
                                                                                       FIL-PERP                                                                                                                                             0.000000000000000
                                                                                       FRONT                                                         5,300.000000000000000                                                             5,300.000000000000000
                                                                                       FTT                                                              25.556804820000000                                                                25.556804822560420
                                                                                       GLMR-PERP                                                                                                                                            0.000000000000000
                                                                                       LINK-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNA2_LOCKED                                                    237.376319400000000                                                               237.376319400000000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                       MATIC                                                                                                                                               -0.000000001572416
                                                                                       NEAR-PERP                                                                                                                                            0.000000000000000
                                                                                       NFT (456651678217199541/FTX CRYPTO
                                                                                       CUP 2022 KEY #18080)                                                                                                                                 1.000000000000000
                                                                                       NFT (491984942998789106/THE HILL BY
                                                                                       FTX #23074)                                                                                                                                          1.000000000000000
                                                                                       NVDA-0930                                                                                                                                            0.000000000000000
                                                                                       PSY                                                          17,470.495546000000000                                                           17,470.495546000000000
                                                                                       RUNE-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL                                                                                                                                                  0.000000000415252
                                                                                       SOL-PERP                                                                                                                                             0.000000000000000
                                                                                       SPELL                                                      185,473.195250000000000                                                          185,473.195250000000000
                                                                                       SRM                                                              65.400000000000000                                                                  6.705409750000000
                                                                                       SRM_LOCKED                                                                                                                                         58.709569620000000
                                         Case 22-11068-JTD                                         Doc 25714-2                            Filed 09/25/24                            Page 15 of 43
                                                                                                     Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      STORJ-PERP                                                                                                                                           0.000000000000000
                                                                                      SUSHI-PERP                                                                                                                                           0.000000000000000
                                                                                      USD                                                                                                                                              1,995.013926444798500
                                                                                      USDC                                                         1,995.010000000000000                                                                   0.000000000000000
                                                                                      USDT                                                        16,894.090000000000000                                                              16,894.090630000577000
                                                                                      USTC                                                                                                                                                 0.000000002804130
                                                                                      ZEC-PERP                                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
95351       Name on file                        FTX Trading Ltd.                       AVAX                                                                                   West Realm Shires Services Inc.                              0.491620000000000
                                                                                       BTC                                                               0.060000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
6154        Name on file                        FTX Trading Ltd.                        AVAX-PERP                                                           0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                        BTC                                                                 0.070698200000000                                                                 0.035349100000000
                                                                                        BTC-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ETH                                                                 0.001975921671533                                                                 0.000987961671533
                                                                                        ETH-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ETHW                                                                0.001974901671533                                                                 0.000987451671533
                                                                                        NFT (309253520883613851/MEXICO
                                                                                        TICKET STUB #1486)                                                                                                                                    1.000000000000000
                                                                                        NFT (425033206424032383/FTX EU -
                                                                                        WE ARE HERE! #104856)                                                                                                                                 1.000000000000000
                                                                                        NFT (428929462784480173/THE HILL BY
                                                                                        FTX #2594)                                                                                                                                            1.000000000000000
                                                                                        NFT (434588484201125200/FTX EU -
                                                                                        WE ARE HERE! #104682)                                                                                                                                 1.000000000000000
                                                                                        NFT (499099357269964289/FTX EU -
                                                                                        WE ARE HERE! #104226)                                                                                                                                 1.000000000000000
                                                                                        NFT (540836269827197691/FTX CRYPTO
                                                                                        CUP 2022 KEY #5204)                                                                                                                                   1.000000000000000
                                                                                        SOL-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        TRX-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        USD                                                               749.259377733136000                                                               749.259377733136000
                                                                                        USDT                                                                0.000000008086109                                                                 0.000000008086109
                                                                                        WAVES-0624                                                          0.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
92736       Name on file                        FTX EU Ltd.                            1INCH                                                          158.000000000000000 FTX Trading Ltd.                                               119.875233640000000
                                                                                       CHZ                                                            485.000000000000000                                                                275.498121530000000
                                                                                       CRO                                                                                                                                                 0.020821340000000
                                                                                       DENT                                                                                                                                                1.000000000000000
                                                                                       ETH                                                                                                                                                 0.014257460000000
                                                                                       ETHW                                                                                                                                                0.014079488815143
                                                                                       EUR                                                                                                                                                 0.000000004391768
                                                                                       FIDA                                                                                                                                                0.000255960000000
                                                                                       FTM                                                            850.000000000000000                                                                120.273158910000000
                                                                                       KIN                                                                                                                                                 1.000000000000000
                                                                                       MATIC                                                          652.000000000000000                                                                242.399329080000000
                                                                                       REEF                                                                                                                                            4,512.461102170000000
                                                                                       STEP                                                                                                                                              558.373932220000000
                                                                                       UBXT                                                                                                                                                2.000000000000000
                                                                                       USD                                                                                                                                                 0.000000024142854
                                                                                       XRP                                                                                                                                                 0.000000002064934

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
21023       Name on file                        FTX Trading Ltd.                        1INCH                                                               0.000000004241567 FTX Trading Ltd.                                                0.000000004241567
                                                                                        1INCH-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                        AAVE-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        ADA-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ALGO-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        ALICE-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                        AMPL                                                                0.000000000894539                                                                 0.000000000894539
                                                                                        AMPL-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        APT                                                                                                                                                   0.439487232978523
                                                                                        APT-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ASD-PERP                                                           -0.000000000001818                                                                -0.000000000001818
                                                                                        ATLAS-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                        AUD                                                               491.610000000000000                                                                 0.000000000000000
                                                                                        AXS                                                                 0.000000002283827                                                                 0.000000002283827
                                                                                        AXS-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        BAND                                                                                                                                                  0.055025105919188
                                                                                        BAND-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        BAO-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        BCH-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        BNB                                                                 0.000000001566802                                                                 0.000000001566802
                                                                                        BNB-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        BNT                                                                 0.000000001242812                                                                 0.000000001242812
                                                                                        BNT-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        BOBA-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        BTC                                                                 0.400000000000000                                                                 0.400000000000000
                                                                                        BTC-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        CEL-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        CHZ-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        CONV-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        CREAM-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                        CRV-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        CUSDT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                        DAWN-PERP                                                          -0.000000000000341                                                                -0.000000000000341
                                                                                        DOT-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ENJ-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ETH                                                                                                                                                   0.000632516537321
                                                                                        ETH-1230                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ETH-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ETHW                                                                0.000632054621161                                                                 0.000632054621161
                                                                                        FIL-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        FTT                                                                25.069454370157100                                                                25.069454370157100
                                                                                        FTT-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                         Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                            Page 16 of 43
                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     FXS-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     GMT                                                               0.172940219902247                                                                 0.172940219902247
                                                                                     GMT-1230                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     GMT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     GRT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     GST-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     HT-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                     LOOKS-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                     LTC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     LUNC                                                              0.000000005347593                                                                 0.000000005347593
                                                                                     LUNC-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     MATIC-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                     MEDIA-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                     MER-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     MINA-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     MOB-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     OKB                                                               0.054205430404244                                                                 0.054205430404244
                                                                                     OKB-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     OMG                                                               0.000000004759188                                                                 0.000000004759188
                                                                                     OMG-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     OP-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                     PAXG-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     POLIS-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                     PUNDIX-PERP                                                       0.000000000000227                                                                 0.000000000000227
                                                                                     RAY                                                               0.000000009466711                                                                 0.000000009466711
                                                                                     RAY-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     REEF-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     REN-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     RSR                                                               0.000000004915713                                                                 0.000000004915713
                                                                                     RSR-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     RUNE-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     SHIB-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     SNX-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     SOL                                                            -132.507472643583100                                                              -132.507472643583100
                                                                                     SOL-PERP                                                         -0.000000000000002                                                                -0.000000000000002
                                                                                     STEP-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     TONCOIN-PERP                                                      0.000000000000000                                                                 0.000000000000000
                                                                                     TRU-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     TRX                                                               0.000163000000000                                                                 0.000163000000000
                                                                                     UNI-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     USD                                                           7,468.930000000000000                                                             7,261.930953274435500
                                                                                     USDT                                                          1,258.386753520343300                                                             1,258.386753520343300
                                                                                     WAVES-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                     XLM-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     XTZ-PERP                                                          0.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
28376       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                                              FTX Trading Ltd.                                             -0.000000000000002
                                                                                       BTC                                                                                                                                                  0.000000001800000
                                                                                       CRO-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                  1.000000009717608
                                                                                       ETHW                                                                                                                                                 0.000583480000000
                                                                                       FTM                                                                                                                                                  0.000000001729000
                                                                                       FTT                                                                                                                                               330.932591028054500
                                                                                       FTX                                                            116.240000000000000                                                                   0.000000000000000
                                                                                       LUNA2                                                                                                                                                0.000049475000000
                                                                                       LUNA2_LOCKED                                                                                                                                       12.632305690000000
                                                                                       LUNC                                                           117.520000000000000                                                          507,059.507933010000000
                                                                                       MATIC                                                                                                                                                0.000000006218840
                                                                                       NFT (318614458127692173/BAKU
                                                                                       TICKET STUB #2498)                                                                                                                                   1.000000000000000
                                                                                       NFT (342710341669323357/BELGIUM
                                                                                       TICKET STUB #1862)                                                                                                                                   1.000000000000000
                                                                                       NFT (381844571079192104/AUSTIN
                                                                                       TICKET STUB #90)                                                                                                                                     1.000000000000000
                                                                                       NFT (403001983926588682/FTX CRYPTO
                                                                                       CUP 2022 KEY #2360)                                                                                                                                  1.000000000000000

                                                                                     NFT (421337956821056706/MONTREAL
                                                                                     TICKET STUB #233)                                                                                                                                   1.000000000000000
                                                                                     NFT
                                                                                     (421350290323770675/NETHERLANDS
                                                                                     TICKET STUB #1190)                                                                                                                                  1.000000000000000
                                                                                     NFT (433024115458170008/THE HILL BY
                                                                                     FTX #5287)                                                                                                                                          1.000000000000000
                                                                                     NFT (466793433895680148/MONACO
                                                                                     TICKET STUB #360)                                                                                                                                   1.000000000000000
                                                                                     NFT (467542419041394360/FTX EU -
                                                                                     WE ARE HERE! #99313)                                                                                                                                1.000000000000000
                                                                                     NFT (486993395677146977/FTX EU -
                                                                                     WE ARE HERE! #99518)                                                                                                                                1.000000000000000
                                                                                     USD                                                         10,375.000000000000000                                                              5,001.495092274482000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
77498       Name on file                        FTX Trading Ltd.                       APT-PERP                                                          0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       ATOM                                                              1.004732500000000                                                                  1.004732500000000
                                                                                       ATOM-PERP                                                        -0.000000000000001                                                                 -0.000000000000001
                                                                                       BNB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BTC                                                               0.002423669000000                                                                  0.001211839000000
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CHZ                                                            140.959744500000000                                                                 70.479872250000000
                                                                                       CHZ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETH                                                               0.030722320000000                                                                  0.015361160000000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETHW                                                              0.015053600000000                                                                  0.015053600000000
                                                                                       FTT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GMT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       LINA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       NFT (288358262317061813/HUNGARY
                                                                                       TICKET STUB #168)                                                                                                                                    1.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                Tickers                                 Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     NFT (302222455831550387/MONZA
                                                                                     TICKET STUB #487)                                                                                                                                   1.000000000000000
                                                                                     NFT (323738322648461610/FTX EU -
                                                                                     WE ARE HERE! #125775)                                                                                                                               1.000000000000000
                                                                                     NFT (357298068258546867/AUSTIN
                                                                                     TICKET STUB #1010)                                                                                                                                  1.000000000000000

                                                                                     NFT (359572989191818299/SINGAPORE
                                                                                     TICKET STUB #774)                                                                                                                                   1.000000000000000
                                                                                     NFT (393207046463385915/AUSTRIA
                                                                                     TICKET STUB #93)                                                                                                                                    1.000000000000000

                                                                                     NFT (412295617040149522/MONTREAL
                                                                                     TICKET STUB #183)                                                                                                                                   1.000000000000000
                                                                                     NFT
                                                                                     (434941283604707400/SILVERSTONE
                                                                                     TICKET STUB #463)                                                                                                                                   1.000000000000000
                                                                                     NFT (460404021808332474/BELGIUM
                                                                                     TICKET STUB #934)                                                                                                                                   1.000000000000000
                                                                                     NFT (475205845410421151/THE HILL BY
                                                                                     FTX #2638)                                                                                                                                          1.000000000000000
                                                                                     NFT (478130254081359197/FRANCE
                                                                                     TICKET STUB #58)                                                                                                                                    1.000000000000000
                                                                                     NFT (500153081223364487/FTX EU -
                                                                                     WE ARE HERE! #126060)                                                                                                                               1.000000000000000
                                                                                     NFT (506547132972279828/MEXICO
                                                                                     TICKET STUB #1109)                                                                                                                                  1.000000000000000
                                                                                     NFT (508277599082670322/FTX EU -
                                                                                     WE ARE HERE! #125951)                                                                                                                               1.000000000000000
                                                                                     NFT (525610362869411104/JAPAN
                                                                                     TICKET STUB #336)                                                                                                                                   1.000000000000000
                                                                                     NFT
                                                                                     (534281571344612995/NETHERLANDS
                                                                                     TICKET STUB #176)                                                                                                                                   1.000000000000000
                                                                                     NFT (539235729979733581/FTX CRYPTO
                                                                                     CUP 2022 KEY #1144)                                                                                                                                 1.000000000000000
                                                                                     SOL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     TONCOIN-PERP                                                     0.000000000000000                                                                  0.000000000000000
                                                                                     TRX                                                              0.001586000000000                                                                  0.001586000000000
                                                                                     USD                                                            211.722412380215020                                                                211.722412380215020
                                                                                     USDT                                                             0.015261116887600                                                                  0.005261116887600

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
52931       Name on file                        FTX Trading Ltd.                       BNB                                                               0.000000010000000 FTX Trading Ltd.                                                0.000000010000000
                                                                                       KIN                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       NFT (290255724264488757/JAPAN
                                                                                       TICKET STUB #1297)                                                                                                                                  1.000000000000000
                                                                                       NFT (296936617993662202/FTX EU -
                                                                                       WE ARE HERE! #237252)                                                                                                                               1.000000000000000
                                                                                       NFT
                                                                                       (318706517196895829/NETHERLANDS
                                                                                       TICKET STUB #1912)                                                                                                                                  1.000000000000000
                                                                                       NFT (379601498106568835/FTX EU -
                                                                                       WE ARE HERE! #237231)                                                                                                                               1.000000000000000
                                                                                       NFT (414182791807321532/FTX EU -
                                                                                       WE ARE HERE! #237244)                                                                                                                               1.000000000000000
                                                                                       NFT (419544689157854348/MONZA
                                                                                       TICKET STUB #1641)                                                                                                                                  1.000000000000000
                                                                                       NFT (446756292238629617/AUSTIN
                                                                                       TICKET STUB #1001)                                                                                                                                  1.000000000000000
                                                                                       NFT (482793984395908784/MEXICO
                                                                                       TICKET STUB #630)                                                                                                                                   1.000000000000000
                                                                                       NFT (545574155005672910/FRANCE
                                                                                       TICKET STUB #1629)                                                                                                                                  1.000000000000000
                                                                                       NFT (550366003606563897/THE HILL BY
                                                                                       FTX #5301)                                                                                                                                          1.000000000000000
                                                                                       NFT (567988313549588088/FTX CRYPTO
                                                                                       CUP 2022 KEY #1053)                                                                                                                                 1.000000000000000

                                                                                     NFT (568006512078325088/SINGAPORE
                                                                                     TICKET STUB #986)                                                                                                                                   1.000000000000000
                                                                                     NFT (572868980778563255/FTX AU -
                                                                                     WE ARE HERE! #1602)                                                                                                                                 1.000000000000000
                                                                                     TRX                                                              0.000001000000000                                                                  0.000001000000000
                                                                                     UBXT                                                             1.000000000000000                                                                  1.000000000000000
                                                                                     USD                                                          3,392.662740642245400                                                              3,392.662740642245400
                                                                                     USDT                                                           964.258376059847540                                                                482.128376059847540

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
28298       Name on file                        FTX Trading Ltd.                       APE-PERP                                                                               FTX Trading Ltd.                                             0.000000000000000
                                                                                       APT                                                              41.000260000000000                                                                41.000260000000000
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       BIT                                                                                                                                                 0.001535000000000
                                                                                       BNB                                                              10.086508940000000                                                                10.086508946953797
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.021381640000000                                                                 0.021381642292060
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CHZ                                                                                                                                                 0.007750000000000
                                                                                       CRV                                                             560.002750000000000                                                               560.002750000000000
                                                                                       DOGE                                                          1,000.005000000000000                                                             1,000.005000000000000
                                                                                       DOT                                                              40.218244790000000                                                                40.218244792245560
                                                                                       ETH                                                               0.703003290000000                                                                 0.703003292432000
                                                                                       ETHW                                                              0.000002050000000                                                                 0.000002057120000
                                                                                       FTM                                                                                                                                                 0.000000014887890
                                                                                       FTT                                                             384.650163530000000                                                               384.650163539699000
                                                                                       FTT-PERP                                                                                                                                            0.000000000000000
                                                                                       GLMR-PERP                                                                                                                                           0.000000000000000
                                                                                       GMT-PERP                                                                                                                                            0.000000000000000
                                                                                       GRT                                                                                                                                                 0.016600078000000
                                                                                       ICP-PERP                                                                                                                                            0.000000000000000
                                                                                       LINK                                                            119.131399990000000                                                               119.131399994461420
                                                                                       LUNA2                                                                                                                                               0.000042422127230
                                         Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                            Page 18 of 43
                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                               Tickers                                  Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     LUNA2_LOCKED                                                                                                                                        0.000098984963530
                                                                                     LUNC                                                                                                                                                0.007779350000000
                                                                                     LUNC-PERP                                                                                                                                           0.000000000000000
                                                                                     NEO-PERP                                                                                                                                            0.000000000000000
                                                                                     NFT (363344655195467509/FTX EU -
                                                                                     WE ARE HERE! #248734)                                                                                                                               1.000000000000000
                                                                                     NFT (471950584708665188/FTX EU -
                                                                                     WE ARE HERE! #248763)                                                                                                                               1.000000000000000
                                                                                     NFT (482352675003337170/FTX EU -
                                                                                     WE ARE HERE! #248746)                                                                                                                               1.000000000000000
                                                                                     SOL                                                              0.001814900000000                                                                  0.001814900000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000000
                                                                                     USD                                                         10,003.770000000000000                                                             10,003.766546644040000
                                                                                     USDT                                                             0.010000000000000                                                                  0.008918596938551
                                                                                     USTC                                                                                                                                                0.006000000000000
                                                                                     USTC-PERP                                                                                                                                           0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
10978       Name on file                        FTX Trading Ltd.                       BAO                                                               5.000000000000000 FTX Trading Ltd.                                                5.000000000000000
                                                                                       BTC                                                               0.000000850000000                                                                 0.000000850000000
                                                                                       ETH                                                               0.011661050000000                                                                 0.011661050000000
                                                                                       ETHW                                                              0.031280059666227                                                                 0.031280059666227
                                                                                       KIN                                                               2.000000000000000                                                                 2.000000000000000
                                                                                       LTC                                                               0.001863690000000                                                                 0.001863690000000
                                                                                       MATIC                                                             0.000039230000000                                                                 0.000039230000000
                                                                                       NFT (348157061700563321/FTX EU -
                                                                                       WE ARE HERE! #52012)                                                                                                                                1.000000000000000
                                                                                       NFT (376209025067728946/THE HILL BY
                                                                                       FTX #27589)                                                                                                                                         1.000000000000000
                                                                                       NFT (463574545284091191/FTX EU -
                                                                                       WE ARE HERE! #52287)                                                                                                                                1.000000000000000
                                                                                       NFT (483689589230725322/FTX EU -
                                                                                       WE ARE HERE! #52161)                                                                                                                                1.000000000000000
                                                                                       SOL                                                               0.000000010000000                                                                 0.000000010000000
                                                                                       TRX                                                               2.000010000000000                                                                 2.000010000000000
                                                                                       UBXT                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                               0.000000007294100                                                                 0.000000007294100
                                                                                       USDT                                                           853.580896288347800                                                                453.580896288347800

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9315        Name on file                        FTX Trading Ltd.                       ATLAS                                                          899.847000000000000 FTX Trading Ltd.                                               899.847000000000000
                                                                                       ETH                                                               0.033000000000000                                                                 0.033000000000000
                                                                                       ETHW                                                              0.000964780000000                                                                 0.000964780000000
                                                                                       NFT (313197664838078163/THE HILL BY
                                                                                       FTX #21469)                                                       1.000000000000000                                                                 1.000000000000000
                                                                                       NFT (457784566755817105/FTX CRYPTO
                                                                                       CUP 2022 KEY #13935)                                              1.000000000000000                                                                 1.000000000000000
                                                                                       POLIS                                                            12.397892000000000                                                                12.397892000000000
                                                                                       TRX                                                               0.000031000000000                                                                 0.000031000000000
                                                                                       USD                                                              27.827576344742259                                                                 2.888998128246759
                                                                                       USDT                                                              0.739202973125000                                                                 0.739202973125000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7663        Name on file                        FTX Trading Ltd.                       ATLAS                                                                                  FTX Trading Ltd.                                            82.000000000000000
                                                                                       ATLAS-PERP                                                                                                                                           0.000000000000000
                                                                                       BNB                                                                                                                                                  0.002240000000000
                                                                                       BTC                                                               0.297796600000000                                                                  0.297796600000000
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       ETH                                                                                                                                                  0.000115260000000
                                                                                       ETHW                                                                                                                                                 0.000115260000000
                                                                                       FTT                                                              34.999150000000000                                                                34.999150000000000
                                                                                       LUNC-PERP                                                                                                                                            0.000000000000000
                                                                                       NFT (407964752016601194/FTX EU -
                                                                                       WE ARE HERE! #232598)                                             1.000000000000000                                                                  1.000000000000000
                                                                                       NFT (408195259368512738/FTX EU -
                                                                                       WE ARE HERE! #232551)                                             1.000000000000000                                                                  1.000000000000000
                                                                                       NFT (469629226044922951/FTX EU -
                                                                                       WE ARE HERE! #232592)                                             1.000000000000000                                                                  1.000000000000000
                                                                                       NFT (517508751636635900/THE HILL BY
                                                                                       FTX #8511)                                                        1.000000000000000                                                                  1.000000000000000
                                                                                       SOL                                                                                                                                                 -0.704451412643171
                                                                                       SOL-PERP                                                                                                                                             0.000000000000000
                                                                                       TRX                                                                                                                                                  0.859050000000000
                                                                                       USD                                                          -3,449.240589126446000                                                            -3,449.240589126446000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80434       Name on file                        FTX Trading Ltd.                       CHZ                                                               4.569914038134472 FTX Trading Ltd.                                                4.569914038134472
                                                                                       CTX                                                               0.000000002438450                                                                 0.000000002438450
                                                                                       DOGE                                                              0.000000006884966                                                                 0.000000006884966
                                                                                       ETHW                                                              0.000000000981001                                                                 0.000000000981001
                                                                                       GALA                                                              0.000000003556288                                                                 0.000000003556288
                                                                                       MATIC                                                             0.000000003215343                                                                 0.000000003215343
                                                                                       NFT (542238920221136617/FTX AU -
                                                                                       WE ARE HERE! #57184)                                                                                                                                1.000000000000000
                                                                                       RAY                                                           1,239.608361900000000                                                               619.804180950000000
                                                                                       SHIB                                                              0.000000007122281                                                                 0.000000007122281
                                                                                       SOL                                                               0.000000006361150                                                                 0.000000006361150
                                                                                       TRX                                                               0.000000008693582                                                                 0.000000008693582
                                                                                       USD                                                               0.000000031024808                                                                 0.000000031024808
                                                                                       USDT                                                              0.000000007338889                                                                 0.000000007338889
                                                                                       WRX                                                               0.000000004619032                                                                 0.000000004619032
                                                                                       XRP                                                               0.000000000294528                                                                 0.000000000294528
                                                                                       XRPBULL                                                           0.000000002779342                                                                 0.000000002779342

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
16719       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       ADA-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       ALCX-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       ALPHA-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                          Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                             Page 19 of 43
                                                                                                     Asserted Claims                                                                                           Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                 Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ALT-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      APE-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      ATOM-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      AXS-1230                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      AXS-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      BAL-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      BAND-PERP                                                        0.000000000000003                                                                   0.000000000000003
                                                                                      BAT-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      BCH-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      BTC-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      BTTPRE-PERP                                                      0.000000000000000                                                                   0.000000000000000
                                                                                      C98-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      CAKE-PERP                                                       -0.000000000000007                                                                  -0.000000000000007
                                                                                      CHZ-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      CREAM-PERP                                                       0.000000000000000                                                                   0.000000000000000
                                                                                      CVC-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      DAWN-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      DODO-PERP                                                        0.000000000000008                                                                   0.000000000000008
                                                                                      DOGE-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      DOT-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      DRGN-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      DYDX-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      EDEN-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      ENS-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      EOS-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      ETC-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      ETH-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      FIL-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      FLOW-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      FTM-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      FTT                                                             30.000000000000000                                                                   0.000000000000000
                                                                                      FTT-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      GRT-1230                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      HOT-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      HUM-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      ICX-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      I HAD A FEW FTX SELF-ISSUED NFTS.                                                                                                                    0.000000000000000
                                                                                      IOTA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                      KIN-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      KSM-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      LINA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                      LINK-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                      LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                      MANA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                      NEO-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      NFT (305712639847133345/FTX AU -
                                                                                      WE ARE HERE! #67463)                                                                                                                                  1.000000000000000
                                                                                      NFT (315206593121008726/FTX EU -
                                                                                      WE ARE HERE! #135209)                                                                                                                                 1.000000000000000
                                                                                      NFT (424719656103880943/FTX EU -
                                                                                      WE ARE HERE! #135423)                                                                                                                                 1.000000000000000
                                                                                      NFT (456569767894077133/FTX EU -
                                                                                      WE ARE HERE! #135514)                                                                                                                                 1.000000000000000
                                                                                      NFT (456688662341914473/THE HILL BY
                                                                                      FTX #8528)                                                                                                                                            1.000000000000000
                                                                                      OMG-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      ONT-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      OXY-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      POLIS-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      PUNDIX-PERP                                                       0.000000000000017                                                                   0.000000000000017
                                                                                      ROOK-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      SAND-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      SC-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                      SHIB-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      SOL                                                              15.000000000000000                                                                   0.000000000000000
                                                                                      SOL-PERP                                                         -0.000000000000002                                                                  -0.000000000000002
                                                                                      SPELL-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      SRM-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      STMX-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      STORJ-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      SXP-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      TRX                                                               0.000006000000000                                                                   0.000006000000000
                                                                                      TRX-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      USD                                                               0.013820486533765                                                                   0.013820486533765
                                                                                      USDT                                                              0.000000007187787                                                                   0.000000007187787
                                                                                      USTC-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      VET-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      WAVES-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      XEM-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      XLM-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      XRP-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      ZEC-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                      ZIL-PERP                                                          0.000000000000000                                                                   0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
83141       Name on file                        FTX Trading Ltd.                       BTC                                                               0.016183058849625 West Realm Shires Services Inc.                                 0.000000001097348
                                                                                       ETH                                                                                                                                                 0.000000005955325
                                                                                       FTT                                                              29.011169714507360                                                                 0.000000000000000
                                                                                       LOOKS                                                         8,751.688637990000000                                                                 0.000000000000000
                                                                                       SOL                                                                                                                                                 0.000000002620410
                                                                                       USD                                                           1,400.802000000000000                                                                16.127020801536506

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
11600       Name on file                        FTX Trading Ltd.                        ADA-PERP                                                            0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                        AUDIO                                                              38.000000000000000                                                                 38.000000000000000
                                                                                        BRZ                                                           13,767.226703503328000                                                               6,883.616703503328000
                                                                                        BTC                                                                 0.113199196362065                                                                  0.113199196362065
                                                                                        DYDX                                                               10.000000000000000                                                                 10.000000000000000
                                                                                        FIDA                                                                6.275725500000000                                                                  6.275725500000000
                                                                                        FIDA_LOCKED                                                        14.529257240000000                                                                 14.529257240000000
                                                                                        FTT                                                               286.333304300000000                                                                286.333304300000000
                                         Case 22-11068-JTD                                         Doc 25714-2                            Filed 09/25/24                            Page 20 of 43
                                                                                                     Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      MSOL                                                           122.898894310000000                                                                 122.898894318529710
                                                                                      SOL                                                           -128.523320070982780                                                                -128.523320070982780
                                                                                      SRM                                                              0.267739020000000                                                                   0.267739020000000
                                                                                      SRM_LOCKED                                                       1.126313490000000                                                                   1.126313490000000
                                                                                      SUSHI                                                            0.000000004246428                                                                   0.000000004246428
                                                                                      TRX                                                                                                                                                  0.000002313751640
                                                                                      UNI                                                              1.001741560000000                                                                   1.001741560000000
                                                                                      USD                                                          2,900.155308338348700                                                               2,900.155308338348700
                                                                                      USDT                                                             1.913072252310519                                                                   1.913072252310519
                                                                                      XRP                                                            869.095880187016500                                                                 869.095880187016500

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
55325       Name on file                        West Realm Shires Services Inc.        100                                                                                    West Realm Shires Services Inc.                              0.000000000000000
                                                                                       DOGE                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       ETH                                                               0.000000270000000                                                                 0.000000270000000
                                                                                       ETHW                                                           415.879253930230800                                                                415.879253930230800
                                                                                       NFT (290144485928144604/3D
                                                                                       CATPUNK #8726)                                                                                                                                      1.000000000000000

                                                                                      NFT (292046053065975337/APEXDUCKS
                                                                                      HALLOWEEN #702)                                                                                                                                      1.000000000000000

                                                                                      NFT (359319111497683143/FOUNDING
                                                                                      FRENS INVESTOR #164)                                                                                                                                 1.000000000000000
                                                                                      NFT (375840487512109156/POKES)                                                                                                                       1.000000000000000

                                                                                      NFT (389568744462350982/DEEP #578)                                                                                                                   1.000000000000000

                                                                                      NFT (427772455380226392/GANGSTER
                                                                                      GORILLAS #4383)                                                                                                                                      1.000000000000000

                                                                                      NFT (486191019915321605/GANGSTER
                                                                                      GORILLAS #299)                                                                                                                                       1.000000000000000
                                                                                      SHIB                                                             1.000000000000000                                                                   1.000000000000000
                                                                                      SOL                                                             46.291902340000000                                                                  46.291902340000000
                                                                                      TRX                                                              1.000000000000000                                                                   1.000000000000000
                                                                                      USD                                                          2,000.570000000000000                                                                   0.571383824656625
                                                                                      USDT                                                             0.000008350000000                                                                   0.000008350000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
54115       Name on file                        FTX Trading Ltd.                       BNB                                                               0.275952581414830 FTX Trading Ltd.                                                0.275952581414830
                                                                                       BNT                                                                                                                                                 0.148816777045590
                                                                                       BTC                                                               0.018151364672806                                                                 0.018151364672806
                                                                                       CAPS                                                         10,767.862026240707135                                                                 0.000000000000000
                                                                                       COPE                                                              0.099810000000000                                                                 0.099810000000000
                                                                                       ETH                                                               0.021995951684420                                                                 0.021995951684420
                                                                                       FTT                                                               0.098411220000000                                                                 0.098411220000000
                                                                                       GENE                                                              0.000962000000000                                                                 0.000962000000000
                                                                                       SLND                                                              0.514430000000000                                                                 0.514430000000000
                                                                                       SNY                                                               0.029810000000000                                                                 0.029810000000000
                                                                                       SOL                                                                                                                                                 1.440035290265749
                                                                                       TRX                                                             252.000000000000000                                                               252.961951526780240
                                                                                       USD                                                               0.099143027455623                                                                 0.099143027455623
                                                                                       USDT                                                              0.745655215787838                                                                 0.745655215787838
                                                                                       XRP                                                               0.000000009200000                                                                 0.000000009200000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
24568       Name on file                        FTX Trading Ltd.                       AAVE                                                              3.322646040000000 West Realm Shires Services Inc.                                 3.322646040000000
                                                                                       ALGO                                                          1,468.511541370000000                                                             1,468.511541370000000
                                                                                       BTC                                                               0.055015330000000                                                                 0.055015330000000
                                                                                       DOGE                                                          6,931.488963990000000                                                             6,931.488963990000000
                                                                                       ETH                                                               2.160355960000000                                                                 2.160355960000000
                                                                                       ETHW                                                             88.924038010000000                                                                88.924038010000000
                                                                                       GRT                                                           4,129.611306500000000                                                             2,064.805653250000000
                                                                                       LTC                                                               4.518616320000000                                                                 4.518616320000000
                                                                                       NEAR                                                             70.505558890000000                                                                70.505558890000000
                                                                                       SHIB                                                    10,730,276.705972270000000                                                        10,730,276.705972270000000
                                                                                       USD                                                           1,337.634216968326978                                                             1,337.634216968326900

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
35295       Name on file                        FTX Trading Ltd.                        APE                                                                 1.100000000000000 FTX Trading Ltd.                                                1.100000000000000
                                                                                        ATLAS                                                          3,293.649430600000000                                                                  1.824715300000000
                                                                                        BTC                                                                 0.000000009000000                                                                 0.000000009000000
                                                                                        ETH                                                                 0.310000000000000                                                                 0.000000000000000
                                                                                        FTM-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        FTT                                                                25.095174000000000                                                                25.095174000000000
                                                                                        GENE                                                                0.000000010000000                                                                 0.000000010000000
                                                                                        LUNA2                                                               0.000044086829760                                                                 0.000044086829760
                                                                                        LUNA2_LOCKED                                                        0.000102869269400                                                                 0.000102869269400
                                                                                        LUNC                                                                9.600000000000000                                                                 9.600000000000000
                                                                                        NFT (351493926853479437/FTX AU -
                                                                                        WE ARE HERE! #45460)                                                                                                                                  1.000000000000000
                                                                                        NFT (376742678990943338/FTX EU -
                                                                                        WE ARE HERE! #52016)                                                                                                                                  1.000000000000000
                                                                                        NFT (408249626237354241/FTX EU -
                                                                                        WE ARE HERE! #52509)                                                                                                                                  1.000000000000000
                                                                                        NFT (411661734488495288/FTX EU -
                                                                                        WE ARE HERE! #50773)                                                                                                                                  1.000000000000000
                                                                                        NFT (493546972066320135/THE HILL BY
                                                                                        FTX #17568)                                                                                                                                           1.000000000000000
                                                                                        NFT (553578948890154766/FTX AU -
                                                                                        WE ARE HERE! #45494)                                                                                                                                  1.000000000000000
                                                                                        POLIS                                                             191.372649480000000                                                                 0.036324740000000
                                                                                        SOL                                                                 0.000000010000000                                                                 0.000000010000000
                                                                                        SRM                                                                32.368210530000000                                                                32.368210530000000
                                                                                        SRM_LOCKED                                                          0.111796670000000                                                                 0.111796670000000
                                                                                        TRX                                                                 0.691195000000000                                                                 0.691195000000000
                                                                                        USD                                                               429.662496385528360                                                               429.662496385528360
                                                                                        USDT                                                                0.000000003175483                                                                 0.000000003175483
                                         Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                            Page 21 of 43
                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
49436       Name on file                        FTX Trading Ltd.                       ADA-PERP                                                          0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       AVAX-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       BNB                                                               0.000000003313200                                                                 0.000000003313200
                                                                                       BTC                                                               1.697585670454231                                                                 1.697585670454231
                                                                                       BTC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       CELO-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       CHR-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       DOT                                                             620.256601618834800                                                               620.256601618834800
                                                                                       DOT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       ETH                                                               0.000000026926246                                                                 0.000000026926246
                                                                                       ETH-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       FTM                                                               0.000000003414186                                                                 0.000000003414186
                                                                                       FTT                                                              25.000000090000000                                                                25.000000090000000
                                                                                       GRT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       HNT                                                             100.000000000000000                                                               100.000000000000000
                                                                                       HNT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       IOTA-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       MATIC                                                             0.000000002840767                                                                 0.000000002840767
                                                                                       MTA-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       PAXG                                                              0.000000001232107                                                                 0.000000001232107
                                                                                       PEOPLE-PERP                                                       0.000000000000000                                                                 0.000000000000000
                                                                                       RAY                                                               0.000000009876220                                                                 0.000000009876220
                                                                                       RAY-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       SOL                                                             222.000000000000000                                                               222.043372996570000
                                                                                       SOL-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       SRM-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       STG                                                           2,000.000000000000000                                                                 0.000000000000000
                                                                                       STX-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       SUSHI                                                            55.177484681737920                                                                55.177484681737920
                                                                                       SUSHI-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                       THETA-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                       TRX                                                               0.000000011757440                                                                 0.000000011757440
                                                                                       TRYB                                                              0.000000006581855                                                                 0.000000006581855
                                                                                       USD                                                          -3,440.354319471101500                                                            -3,440.354319471101500
                                                                                       USDT                                                              0.000000022597761                                                                 0.000000022597761
                                                                                       XRP                                                           1,445.319628619027500                                                             1,445.319628619027500
                                                                                       XTZ-PERP                                                          0.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
43308       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       ALCX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ALGO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       AMPL                                                              0.034613627003796                                                                  0.034613627003796
                                                                                       AMPL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ATLAS                                                             3.541900000000000                                                                  3.541900000000000
                                                                                       ATLAS-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       AXS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BCH                                                                                                                                                  0.000727037029840
                                                                                       BIT                                                               0.940150000000000                                                                  0.940150000000000
                                                                                       BOBA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       BSV-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BTC                                                               0.000094726071750                                                                  0.000094726071750
                                                                                       BTC-PERP                                                         -0.045200000000000                                                                 -0.045200000000000
                                                                                       BUSD                                                            300.000000000000000                                                                  0.000000000000000
                                                                                       CAKE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       CEL                                                               0.026078043353710                                                                  0.026078043353710
                                                                                       CEL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CHR-PERP                                                      2,458.000000000000000                                                             2,458.000000000000000
                                                                                       EGLD-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ENS                                                               0.009468300000000                                                                  0.009468300000000
                                                                                       EOS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETH                                                               0.000120402840800                                                                  0.000120402840800
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETHW                                                              0.000120402840800                                                                  0.000120402840800
                                                                                       FIDA                                                            752.980050000000000                                                               752.980050000000000
                                                                                       FIDA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       HOT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ICX-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       IMX                                                               0.015450000000000                                                                  0.015450000000000
                                                                                       KAVA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       KNC                                                               0.021292209010240                                                                  0.021292209010240
                                                                                       LEO                                                                                                                                                  0.923544825778000
                                                                                       LINK                                                              0.041461000000000                                                                  0.041461000000000
                                                                                       LTC                                                               0.002485750000000                                                                  0.002485750000000
                                                                                       LUNA2_LOCKED                                                    839.162478300000000                                                               839.162478300000000
                                                                                       LUNA2-PERP                                                      105.100000000000000                                                               105.100000000000000
                                                                                       MAPS                                                          2,134.000000000000000                                                             2,134.000000000000000
                                                                                       MAPS-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       MER-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       OKB                                                               0.000585765600000                                                                  0.000585765600000
                                                                                       ONT-PERP                                                      1,780.000000000000000                                                             1,780.000000000000000
                                                                                       POLIS                                                             0.084689000000000                                                                  0.084689000000000
                                                                                       POLIS-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       PUNDIX-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                       QTUM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       RAY                                                               0.518759262166870                                                                  0.518759262166870
                                                                                       RAY-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       RON-PERP                                                         -0.000000000000113                                                                 -0.000000000000113
                                                                                       RUNE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       SC-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                       SLP                                                               1.778700000000000                                                                  1.778700000000000
                                                                                       SLP-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       SUSHI                                                             0.324317164714590                                                                  0.324317164714590
                                                                                       THETA-PERP                                                     -376.500000000000000                                                              -376.500000000000000
                                                                                       TLM-PERP                                                     17,167.000000000000000                                                           17,167.000000000000000
                                                                                       TONCOIN-PERP                                                   -284.300000000000000                                                              -284.300000000000000
                                                                                       UNI                                                               0.305405519923980                                                                  0.305405519923980
                                                                                       UNI-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       USD                                                           2,336.323232159345000                                                             2,336.323232159345000
                                                                                       USDT                                                                                                                                                 1.244995431594820
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                                                                                                                     Asserted Claims                                                                            Modified Claim

   Claim
  Number                      Name                                      Debtor                                        Tickers                                       Ticker Quantity                    Debtor                     Ticker Quantity
                                                                                                    USDT-PERP                                                                 0.000000000000000                                            0.000000000000000
                                                                                                    USTC                                                                      0.000000001092970                                            0.000000001092970
                                                                                                    USTC-PERP                                                                 0.000000000000000                                            0.000000000000000
                                                                                                    XAUT-PERP                                                                 0.000000000000000                                            0.000000000000000
                                                                                                    XRP                                                                       0.000000007419966                                            0.000000007419966
                                                                                                    XRP-PERP                                                                  0.000000000000000                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
2293        Name on file                        FTX Trading Ltd.                       BTC                                                               0.031273190000000 West Realm Shires Services Inc.                                 0.000000000000000
                                                                                       NEAR                                                             49.900000000000000                                                                 0.000000000000000
                                                                                       USD                                                           1,193.000000000000000                                                             1,424.538235022770800

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
2197        Name on file                        FTX Trading Ltd.                        BRZ                                                                3.000000000000000 West Realm Shires Services Inc.                                  3.000000000000000
                                                                                        COMP                                                              28.000000000000000                                                                  0.000000000000000
                                                                                        CUSDT                                                                                                                                                28.000000000000000
                                                                                        DOGE                                                               6.045900000000000                                                                  6.045909520000000
                                                                                        SOL                                                               10.805500000000000                                                                 10.838628880000000
                                                                                        TRX                                                                2.000000000000000                                                                  2.000000000000000
                                                                                        USD                                                                                                                                                   2.514755076537808
                                                                                        USDT                                                               1.095500000000000                                                                  1.098820040000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
22098       Name on file                        FTX Trading Ltd.                        BTC                                                                 0.000098380000000 FTX Trading Ltd.                                                0.000098380000000
                                                                                        ETH                                                                 0.517697200000000                                                                 0.258848600000000
                                                                                        ETH-PERP                                                           -0.031999999999999                                                                -0.031999999999999
                                                                                        ETHW                                                                0.587862400000000                                                                 0.587862400000000
                                                                                        TRX                                                                 3.001731000000000                                                                 3.001731000000000
                                                                                        USD                                                            1,799.087866012307400                                                              1,799.087866012307400
                                                                                        USDT                                                              467.330000000000000                                                               467.331468735540570

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
67945*      Name on file                        West Realm Shires Services Inc.        POC Other NFT Assertions:                                                              West Realm Shires Services Inc.
                                                                                       312602711590861000                                                                                                                                  0.000000000000000
                                                                                       POC Other NFT Assertions:
                                                                                       312782018471880060,
                                                                                       289610192376382000                                                                                                                                  0.000000000000000
                                                                                       POC Other NFT Assertions:
                                                                                       381636797352286800,
                                                                                       426581717016040000                                                                                                                                  0.000000000000000
                                                                                       POC Other NFT Assertions:
                                                                                       496609285376091000,
                                                                                       366477205068639800                                                                                                                                  0.000000000000000
                                                                                       MATIC                                                             0.004941910000000                                                                 0.004941910000000
                                                                                       NFT (289610192376382023/IMOLA
                                                                                       TICKET STUB #1686)                                                                                                                                  1.000000000000000
                                                                                       NFT (312602711590861010/MONACO
                                                                                       TICKET STUB #164)                                                                                                                                   1.000000000000000
                                                                                       NFT (312782018471880081/BAKU
                                                                                       TICKET STUB #144)                                                                                                                                   1.000000000000000
                                                                                       NFT (366477205068639805/FTX - OFF
                                                                                       THE GRID MIAMI #5824)                                                                                                                               1.000000000000000
                                                                                       NFT (381636797352286770/FRANCE
                                                                                       TICKET STUB #262)                                                                                                                                   1.000000000000000
                                                                                       NFT
                                                                                       (426581717016040000/BARCELONA
                                                                                       TICKET STUB #2495)                                                                                                                                  1.000000000000000

                                                                                                    NFT (496609285376090987/MONTREAL
                                                                                                    TICKET STUB #181)                                                                                                                      1.000000000000000
                                                                                                    USD                                                                        69.170000000000000                                          2.001482834519485

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
21444       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       ADA-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       APE-PERP                                                         -0.000000000000056                                                                 -0.000000000000056
                                                                                       APT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ATOM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       AVAX-PERP                                                         0.000000000000063                                                                  0.000000000000063
                                                                                       AXS-PERP                                                         -0.000000000000056                                                                 -0.000000000000056
                                                                                       BAT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BNB                                                               0.000000008605389                                                                  0.000000008605389
                                                                                       BNB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BTC                                                               0.000000006626694                                                                  0.000000006626694
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BUSD                                                          1,634.000000000000000                                                                  0.000000000000000
                                                                                       CHZ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       COMP-PERP                                                        -0.000000000000003                                                                 -0.000000000000003
                                                                                       CRO-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CRV-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       DOGE                                                              0.000000004235533                                                                  0.000000004235533
                                                                                       DOGE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       DOT-PERP                                                          0.000000000000085                                                                  0.000000000000085
                                                                                       DYDX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       EGLD-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ENJ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       EOS-PERP                                                         -0.000000000000795                                                                 -0.000000000000795
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       FIL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       FLM-PERP                                                         -0.000000000001818                                                                 -0.000000000001818
                                                                                       FLOW-PERP                                                        -0.000000000000170                                                                 -0.000000000000170
                                                                                       FTT                                                             145.402257320726450                                                               145.402257320726450
                                                                                       FTT-PERP                                                         -0.000000000000014                                                                 -0.000000000000014
                                                                                       GLMR-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       GMT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GRT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       HBAR-PERP                                                         0.000000000000000                                                                  0.000000000000000

67945*: Claim is also included as a Surviving Claim in the Debtors' Ninety-First (Non-Substantive) Omnibus Objection to Certain Superseded Proofs of Claim (Customer Claims)
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     ICP-PERP                                                         -0.000000000000049                                                                -0.000000000000049
                                                                                     ICX-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     KNC-PERP                                                         -0.000000000000568                                                                -0.000000000000568
                                                                                     LINK-PERP                                                         0.000000000000014                                                                 0.000000000000014
                                                                                     LRC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     LTC-PERP                                                          0.000000000000001                                                                 0.000000000000001
                                                                                     LUNC-PERP                                                        -0.000000001484323                                                                -0.000000001484323
                                                                                     MATIC-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                     MINA-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     NEAR-PERP                                                        -0.000000000000909                                                                -0.000000000000909
                                                                                     PERP-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     REEF-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     ROSE-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     RSR-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     RUNE                                                              0.000000004873380                                                                 0.000000004873380
                                                                                     RUNE-PERP                                                         0.000000000000056                                                                 0.000000000000056
                                                                                     SAND-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     SOL-PERP                                                         -0.000000000000003                                                                -0.000000000000003
                                                                                     SUSHI-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                     SXP-PERP                                                          0.000000000001250                                                                 0.000000000001250
                                                                                     THETA-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                     TLM-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     TRX-PERP                                                    60,440.000000000000000                                                             60,440.000000000000000
                                                                                     UNI-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     USD                                                           2,412.000000000000000                                                               487.027329031327840
                                                                                     USDT                                                                                                                                                1.147272800654663
                                                                                     VET-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     XLM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     XMR-PERP                                                         0.000000000000001                                                                  0.000000000000001
                                                                                     XRP-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     XTZ-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ZIL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ZRX-PERP                                                         0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
52145       Name on file                        FTX Trading Ltd.                       ADA-PERP                                                          0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       ALICE-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                       APE                                                               0.496105000000000                                                                 0.496105000000000
                                                                                       APE-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       BIT                                                               8.098700000000000                                                                 0.000000000000000
                                                                                       BTC                                                               0.000000001000000                                                                 0.000000001000000
                                                                                       BTC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       GMT                                                               0.981950000000000                                                                 0.981950000000000
                                                                                       GMT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       GST-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       NFT (408888042619597598/FTX AU -
                                                                                       WE ARE HERE! #21992)                                                                                                                                1.000000000000000
                                                                                       OP-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                       SOL                                                               6.953763820000000                                                                 6.953763820000000
                                                                                       TRX                                                               0.000777000000000                                                                 0.000777000000000
                                                                                       TRX-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       USD                                                               5.103756064302940                                                                 5.103756064302940
                                                                                       USDC                                                          1,186.316800000000000                                                                 0.000000000000000
                                                                                       USDT                                                            577.113900000000000                                                               575.246918128744900
                                                                                       USDT-PERP                                                         0.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
81025       Name on file                        FTX Trading Ltd.                       1INCH                                                           285.208460400000000 FTX Trading Ltd.                                              285.208460383046600
                                                                                       AAVE                                                              1.541358699401650                                                                 1.541358699401650
                                                                                       ATLAS                                                           880.004400000000000                                                               880.004400000000000
                                                                                       AVAX                                                              4.870031017742422                                                                 4.870031017742422
                                                                                       BIT                                                              10.000050000000000                                                                10.000050000000000
                                                                                       BNB                                                              29.842909988015840                                                                29.842909988015840
                                                                                       BTC                                                               0.225927717476725                                                                 0.225927717476725
                                                                                       C98                                                              42.000210000000000                                                                42.000210000000000
                                                                                       CEL                                                               1.823590760434090                                                                 1.823590760434090
                                                                                       DOGE                                                            339.124230561137100                                                               339.124230561137100
                                                                                       ETH                                                               1.716340590000000                                                                 1.316340593685080
                                                                                       ETHW                                                              2.811400338386470                                                                 2.811400338386470
                                                                                       FTM                                                                                                                                               144.505370370833500
                                                                                       FTT                                                             312.996905000000000                                                               312.996905000000000
                                                                                       GMT                                                              24.645032425859920                                                                24.645032425859920
                                                                                       GRT                                                           2,366.629737137209800                                                             2,366.629737137209800
                                                                                       LTC                                                               2.007113010000000                                                                 4.475096017729900
                                                                                       MATIC                                                                                                                                              33.668547677606850
                                                                                       NFT (349595436409331356/FTX EU -
                                                                                       WE ARE HERE! #91851)                                                                                                                                1.000000000000000
                                                                                       NFT (464937827561790725/FTX EU -
                                                                                       WE ARE HERE! #91686)                                                                                                                                1.000000000000000
                                                                                       NFT (467116258264513853/FTX EU -
                                                                                       WE ARE HERE! #90355)                                                                                                                                1.000000000000000
                                                                                       RAY                                                              38.413294100862720                                                                38.413294100862720
                                                                                       SAND                                                              5.000025000000000                                                                 5.000025000000000
                                                                                       SOL                                                               0.116209680000000                                                                10.329678689022780
                                                                                       SXP                                                              79.956355904235760                                                                79.956355904235760
                                                                                       USD                                                             135.485805171507480                                                               135.485805171507480
                                                                                       USDT                                                              0.008689024895990                                                                 0.008689024895990
                                                                                       XRP                                                                                                                                               212.814374731145420
                                                                                       YFI                                                                                                                                                 0.006321389460020

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7874        Name on file                        FTX Trading Ltd.                       APT-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB                                                                                                                                                  0.000000008642000
                                                                                       BTC                                                                                                                                                  0.000000002521830
                                                                                       BTC-PERP                                                                                                                                             0.000000000000000
                                                                                       BULL                                                                                                                                                 0.000000008905000
                                                                                       CEL                                                                                                                                                  0.000000010200370
                                                                                       CEL-PERP                                                                                                                                            -0.000000000000341
                                                Case 22-11068-JTD                                                 Doc 25714-2                                 Filed 09/25/24                        Page 24 of 43
                                                                                                                    Asserted Claims                                                                             Modified Claim

   Claim
  Number                      Name                                     Debtor                                    Tickers                                         Ticker Quantity                       Debtor                     Ticker Quantity
                                                                                                  DOGE                                                                                                                                     0.000000011153577
                                                                                                  DOGE-PERP                                                                                                                                0.000000000000000
                                                                                                  ETC-PERP                                                                                                                                 0.000000000000000
                                                                                                  ETH                                                                                                                                      0.000000013646112
                                                                                                  ETH-PERP                                                                                                                                 0.000000000000000
                                                                                                  FLOW-PERP                                                                                                                                0.000000000000000
                                                                                                  FTM-PERP                                                                                                                                 0.000000000000000
                                                                                                  FTT                                                                       25.013521310000000                                            25.013521319107030
                                                                                                  FTT-PERP                                                                                                                                -0.000000000000014
                                                                                                  HT-PERP                                                                                                                                 -0.000000000000003
                                                                                                  LUNA2                                                                     84.537709050000000                                             0.000000000000000
                                                                                                  LUNA2_LOCKED                                                                                                                            84.537709050000000
                                                                                                  LUNC-PERP                                                                                                                                0.000000000000000
                                                                                                  MATIC                                                                                                                                    0.000000013365531
                                                                                                  NFT (354323160988707145/BAKU
                                                                                                  TICKET STUB #1892)                                                                                                                       1.000000000000000
                                                                                                  NFT (492031823404659883/FTX AU -
                                                                                                  WE ARE HERE! #46555)                                                                                                                     1.000000000000000
                                                                                                  NFT (522584179262381052/FTX AU -
                                                                                                  WE ARE HERE! #46569)                                                                                                                     1.000000000000000
                                                                                                  SHIB-PERP                                                                                                                                0.000000000000000
                                                                                                  USD                                                                           0.279776874820899                                          0.279776874820899
                                                                                                  USDT                                                                                                                                     0.000000001849210

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
19749       Name on file                        FTX Trading Ltd.                       AUD                                                               1.794871747221814 FTX Trading Ltd.                                                1.794871747221814
                                                                                       BTC                                                               0.036000008002023                                                                 0.018000004001011
                                                                                       BTC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       ETH                                                               0.000000010000000                                                                 0.000000010000000
                                                                                       FTT                                                               0.128151894316817                                                                 0.128151894316817
                                                                                       NFT (295230001874694298/THE HILL BY
                                                                                       FTX #44669)                                                                                                                                         1.000000000000000
                                                                                       TRX                                                               0.001554000000000                                                                 0.001554000000000
                                                                                       USD                                                               0.202801106580000                                                                 0.202801106580000
                                                                                       USDT                                                              1.667346854385395                                                                 1.667346854385395

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26200       Name on file                        FTX Trading Ltd.                       BTC                                                               0.000000008814372 FTX Trading Ltd.                                                0.000000008814372
                                                                                       FTT                                                              25.000000000000000                                                                25.000000000000000
                                                                                       LUNA2                                                            18.473416330000000                                                                18.473416330000000
                                                                                       LUNA2_LOCKED                                                     43.104638110000000                                                                43.104638110000000
                                                                                       SOL                                                             396.594126890000000                                                               396.594126898944900
                                                                                       USD                                                           1,473.781197202111800                                                               736.891197202111800
                                                                                       USDT                                                              0.000140923889759                                                                 0.000140923889759

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
94798*      Name on file                        FTX Trading Ltd.                       292727385621779066/AUSTRIA TICKET                                                      FTX Trading Ltd.
                                                                                       STUB #1549                                                                                                                                           0.000000000000000
                                                                                       445902182910217506/FTX AU - WE ARE
                                                                                       HERE! #20392                                                                                                                                         0.000000000000000
                                                                                       AXS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BNB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CRO-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       EGLD-PERP                                                        -0.000000000000028                                                                 -0.000000000000028
                                                                                       ETH                                                               0.001207580000000                                                                  0.001207580000000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETHW                                                              0.000452864400725                                                                  0.000452864400725
                                                                                       FLOW-PERP                                                         0.000000000000227                                                                  0.000000000000227
                                                                                       FTT                                                               0.002118720000000                                                                  0.002118720000000
                                                                                       HKD                                                               0.017448155185945                                                                  0.008724077592972
                                                                                       HT                                                                0.067740000000000                                                                  0.067740000000000
                                                                                       LUNA2                                                             0.002776094941000                                                                  0.002776094941000
                                                                                       LUNA2_LOCKED                                                      0.006477554863000                                                                  0.006477554863000
                                                                                       LUNC                                                              2.000000000000000                                                                  2.000000000000000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       NFT (292727385621779066/AUSTRIA
                                                                                       TICKET STUB #1549)                                                                                                                                   1.000000000000000
                                                                                       NFT (445902182910217506/FTX AU -
                                                                                       WE ARE HERE! #20392)                                                                                                                                 1.000000000000000
                                                                                       OKB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       OMG-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       OXY                                                               0.379110000000000                                                                  0.379110000000000
                                                                                       RAY                                                               0.048527000000000                                                                  0.048527000000000
                                                                                       RAY-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       SLP-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       SOL                                                               0.008373060000000                                                                  0.008373060000000
                                                                                       SRM                                                               1.700250500000000                                                                  1.700250500000000
                                                                                       SRM_LOCKED                                                       13.433869410000000                                                                13.433869410000000
                                                                                       TOMO                                                              0.023192000000000                                                                  0.023192000000000
                                                                                       TRX                                                          29,057.796741850000000                                                           29,057.796741850000000
                                                                                       USD                                                           3,991.064045495620000                                                             3,991.064045495620000
                                                                                       USDT                                                              0.082220626617882                                                                  0.082220626617882
                                                                                       USTC                                                              0.391669509512226                                                                  0.391669509512226

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26640       Name on file                        FTX Trading Ltd.                       BNT                                                                                    West Realm Shires Services Inc.                              0.000000000000000
                                                                                       DOGE                                                                                                                                                1.000000000000000
                                                                                       ETHW                                                                                                                                                0.221082660000000
                                                                                       FTT                                                              26.107913232342440                                                                 0.000000000000000
                                                                                       LOOKS                                                                                                                                               0.000000000000000
                                                                                       RAY                                                               5.445620717213569                                                                 0.000000000000000
                                                                                       SRM                                                              24.773294800000000                                                                 0.000000000000000
                                                                                       USD                                                            296.283753797533170                                                                  0.000000008010539

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
29217       Name on file                        FTX Trading Ltd.                        1INCH                                                                                   FTX Trading Ltd.                                              0.000000002897200
                                                                                        APE                                                                                                                                                   0.016591500000000

94798*: Claim is also included as a Surviving Claim in the Debtors' Ninety-Second (Non-Substantive) Omnibus Objection to Certain Superseded Proofs of Claim (Customer Claims)
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                Tickers                                 Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     APE-PERP                                                                                                                                            0.000000000000000
                                                                                     ATLAS-PERP                                                                                                                                          0.000000000000000
                                                                                     AVAX                                                                                                                                                0.001229500000000
                                                                                     AXS                                                              1.703691510000000                                                                  1.703691518846520
                                                                                     BNB                                                                                                                                                -0.002389733690420
                                                                                     BNB-PERP                                                                                                                                            0.000000000000000
                                                                                     BTC                                                                                                                                                 0.000000000281580
                                                                                     ETH                                                                                                                                                 0.000000004473647
                                                                                     ETH-PERP                                                                                                                                            0.000000000000000
                                                                                     ETHW                                                                                                                                               -1.661700039016672
                                                                                     FTT                                                            135.067670690000000                                                                135.067670690000000
                                                                                     FTT-PERP                                                                                                                                            0.000000000000000
                                                                                     GENE                                                                                                                                                0.043560090000000
                                                                                     HT                                                                                                                                                  0.073600000000000
                                                                                     LUNA2                                                            0.920620710000000                                                                  0.920620719800000
                                                                                     LUNA2_LOCKED                                                                                                                                        2.148115013000000
                                                                                     MSOL                                                                                                                                                0.001134670000000
                                                                                     NFT (302079141907449917/FTX EU -
                                                                                     WE ARE HERE! #151830)                                                                                                                               1.000000000000000
                                                                                     NFT (319613001149939399/HUNGARY
                                                                                     TICKET STUB #1413)                                                                                                                                  1.000000000000000
                                                                                     NFT (321055320838458133/BAKU
                                                                                     TICKET STUB #2037)                                                                                                                                  1.000000000000000
                                                                                     NFT (354546876201043820/FRANCE
                                                                                     TICKET STUB #1167)                                                                                                                                  1.000000000000000
                                                                                     NFT (380849867628591051/THE HILL BY
                                                                                     FTX #3424)                                                                                                                                          1.000000000000000
                                                                                     NFT (392422637619584295/FTX AU -
                                                                                     WE ARE HERE! #19438)                                                                                                                                1.000000000000000
                                                                                     NFT (395240468611688283/FTX EU -
                                                                                     WE ARE HERE! #152667)                                                                                                                               1.000000000000000
                                                                                     NFT (488515908837735834/FTX CRYPTO
                                                                                     CUP 2022 KEY #4118)                                                                                                                                 1.000000000000000
                                                                                     NFT
                                                                                     (517226183258992961/NETHERLANDS
                                                                                     TICKET STUB #1715)                                                                                                                                  1.000000000000000
                                                                                     NFT (533029770577083207/FTX EU -
                                                                                     WE ARE HERE! #153027)                                                                                                                               1.000000000000000
                                                                                     NFT (554582223885709795/FTX AU -
                                                                                     WE ARE HERE! #67959)                                                                                                                                1.000000000000000
                                                                                     OMG                                                              0.488400680000000                                                                  0.488400689250560
                                                                                     RAY-PERP                                                                                                                                            0.000000000000000
                                                                                     REAL                                                                                                                                                0.000000010000000
                                                                                     SAND                                                                                                                                                0.438307960000000
                                                                                     SLND                                                                                                                                                0.091138000000000
                                                                                     SOL-PERP                                                                                                                                            0.000000000000000
                                                                                     THE SANDBOX (SAND)                                               0.438307960000000                                                                  0.000000000000000
                                                                                     TRX                                                                                                                                                 0.001894004148960
                                                                                     USD                                                          3,571.520000000000000                                                              3,571.515929701369000
                                                                                     USDT                                                            74.520000000000000                                                                 74.520000005866490
                                                                                     YFI                                                                                                                                                 0.000375380000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
64404       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       AAVE                                                              0.000009200000000                                                                  0.000009200000000
                                                                                       ADA-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ALGO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ALPHA                                                             0.002085000000000                                                                  0.002085000000000
                                                                                       AMD                                                               0.006251481131500                                                                  0.006251481131500
                                                                                       APE-PERP                                                         -0.000000000000113                                                                 -0.000000000000113
                                                                                       ATOM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       AVAX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       BNB                                                              30.483524005149400                                                                30.483524005149400
                                                                                       BTC                                                               0.024331095406728                                                                  0.024331095406728
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       C98-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CELO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       COMP-PERP                                                         0.000000000000002                                                                  0.000000000000002
                                                                                       CRO                                                           2,780.034400000000000                                                             1,390.017200000000000
                                                                                       DOT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       EDEN                                                             77.500000000000000                                                                77.500000000000000
                                                                                       EGLD-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       EOS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETC-PERP                                                         -0.000000000000028                                                                 -0.000000000000028
                                                                                       ETH                                                               0.000000018909462                                                                  0.000000018909462
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       FLOW-PERP                                                        -0.000000000000014                                                                 -0.000000000000014
                                                                                       FTT                                                             366.414407049528340                                                               183.207203549528340
                                                                                       FTT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GAL-PERP                                                          0.000000000000056                                                                  0.000000000000056
                                                                                       GMT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       HBAR-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       HT                                                                0.000000007647043                                                                  0.000000007647043
                                                                                       JASMY-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       KAVA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       KNC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       LINA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       LTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       LUNA2                                                             0.005630327001000                                                                  0.005630327001000
                                                                                       LUNA2_LOCKED                                                      0.013137429670000                                                                  0.013137429670000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       MANA                                                              0.000830000000000                                                                  0.000830000000000
                                                                                       MANA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       MTL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       NEAR-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       NFT (325067965456012688/FRANCE
                                                                                       TICKET STUB #610)                                                 1.000000000000000                                                                  1.000000000000000
                                                                                       NFT (331441692628074191/FTX AU -
                                                                                       WE ARE HERE! #63657)                                              1.000000000000000                                                                  1.000000000000000
                                                                                       NFT (436695244391217715/FTX EU -
                                                                                       WE ARE HERE! #209687)                                             1.000000000000000                                                                  1.000000000000000
                                                                                       OMG-PERP                                                         -0.000000000000014                                                                 -0.000000000000014
                                                                                       RAY-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                          Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                             Page 26 of 43
                                                                                                     Asserted Claims                                                                                           Modified Claim

  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ROOK-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      ROSE-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      RSR-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      RUNE-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                      SAND                                                             1.000000000000000                                                                   1.000000000000000
                                                                                      SKL-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      SNX-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      SOL-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                      SUSHI                                                                                                                                                0.519547670686107
                                                                                      THETA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                      TLM                                                             962.042090000000000                                                                481.021045000000000
                                                                                      TLM-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      TRX                                                               0.043475000000000                                                                  0.043475000000000
                                                                                      TRX-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      TSLA                                                              0.007158700000000                                                                  0.007158700000000
                                                                                      TSLAPRE                                                           0.000000001964000                                                                  0.000000001964000
                                                                                      USD                                                           1,668.437396456201200                                                              1,668.437396456201200
                                                                                      USDT                                                          1,430.920197369206900                                                                715.460098669206900
                                                                                      USTC                                                              0.797000000000000                                                                  0.797000000000000
                                                                                      USTC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                      WAVES-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                      XLM-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      XMR-PERP                                                          0.000000000000001                                                                  0.000000000000001
                                                                                      YFI-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      ZEC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      ZIL-PERP                                                          0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
94762       Name on file                        FTX Trading Ltd.                       USD                                                            500.000000000000000 West Realm Shires Services Inc.                                  2.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
18236       Name on file                        FTX Trading Ltd.                        AXS-PERP                                                           0.000000000000000 FTX Trading Ltd.                                                  0.000000000000000
                                                                                        BAO                                                                2.000000000000000                                                                   2.000000000000000
                                                                                        BTC                                                                0.000000003000000                                                                   0.000000003000000
                                                                                        BTC-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        DOGE-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                        ETH                                                                0.000172531000000                                                                   0.000172531000000
                                                                                        ETH-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        ETHW                                                               0.000172531000000                                                                   0.000172531000000
                                                                                        FTM-PERP                                                           0.000000000000000                                                                   0.000000000000000
                                                                                        FTT                                                                0.096236330000000                                                                   0.096236330000000
                                                                                        HKD                                                            2,550.737691075166700                                                               1,275.367691075166700
                                                                                        LINK-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                        NFT (557402578934120369/THE HILL BY
                                                                                        FTX #36388)                                                                                                                                            1.000000000000000
                                                                                        SHIB-PERP                                                          0.000000000000000                                                                   0.000000000000000
                                                                                        SOL                                                                0.000007550000000                                                                   0.000007550000000
                                                                                        SOL-PERP                                                          -0.000000000000014                                                                  -0.000000000000014
                                                                                        USD                                                                1.302674779670787                                                                   1.302674779670787
                                                                                        USDT                                                               0.009460000000000                                                                   0.009460000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
2317        Name on file                        FTX Trading Ltd.                       BTC                                                               0.109038560000000 West Realm Shires Services Inc.                                 0.109038560000000
                                                                                       CUSDT                                                             2.000000000000000                                                                 2.000000000000000
                                                                                       DOGE                                                              6.171331230000000                                                                 6.171331230000000
                                                                                       SHIB                                                              1.000000000000000                                                                 0.000000000000000
                                                                                       TRX                                                               4.000000000000000                                                                 3.000000000000000
                                                                                       USD                                                               0.894056277000000                                                                 0.002127825699112

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
53028       Name on file                        FTX Trading Ltd.                        ALT-PERP                                                            0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                        ATLAS                                                               0.000000005628111                                                                 0.000000005628111
                                                                                        ATLAS-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                        ATOM-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        BTC                                                                 0.022905020000000                                                                 0.022905028572490
                                                                                        BTC-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        DAI                                                                 0.000000006868523                                                                 0.000000006868523
                                                                                        DFL                                                                79.888605030000000                                                                79.888605030000000
                                                                                        DOGE                                                                                                                                                136.162604607642350
                                                                                        ETC-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        ETH-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        EUR                                                                 0.000043045453777                                                                 0.000043045453777
                                                                                        FTT-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        GOG                                                                15.213369940000000                                                                15.213369940000000
                                                                                        LINK                                                                                                                                                  1.050690415790200
                                                                                        LUNC-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        MATIC                                                               0.000000000148640                                                                 0.000000000148640
                                                                                        MATIC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                        NEAR-PERP                                                           0.000000000000014                                                                 0.000000000000014
                                                                                        OKB-PERP                                                            0.000000000000000                                                                 0.000000000000000
                                                                                        QI                                                                134.118004120000000                                                               134.118004120000000
                                                                                        SHIB                                                         264,550.264550260000000                                                            264,550.264550260000000
                                                                                        SHIB-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        SHIT-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                        SOL                                                                                                                                                   3.253827824891480
                                                                                        SPELL-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                        SUSHI                                                                                                                                                 5.573808602465330
                                                                                        TRX                                                                                                                                                 245.493478292093100
                                                                                        TRYB                                                                                                                                                360.215060601416000
                                                                                        USD                                                                 0.000000000000000                                                              -150.307742759689520
                                                                                        USDT                                                                0.000000013349178                                                                 0.000000013349178
                                                                                        XRP                                                                                                                                                  11.994794915287710

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
30486       Name on file                        FTX Trading Ltd.                       BNB                                                               6.788975930000000 FTX Trading Ltd.                                                6.788975939165840
                                                                                       CHF                                                                                                                                                 0.000000002795152
                                                                                       ETH                                                               6.999445200000000                                                                 6.999445200000000
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                                                                                                     Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      ETHW                                                             6.999445200000000                                                                   6.999445200000000
                                                                                      EUR                                                                                                                                                  0.000000007698560
                                                                                      FTT                                                            152.486681000000000                                                                 152.486681000000000
                                                                                      MATIC                                                        1,045.973119770000000                                                               1,045.973119770247900
                                                                                      SOL                                                            130.442055450000000                                                                 130.442055452241930
                                                                                      STG                                                          2,723.501766800000000                                                               2,723.501766800000000
                                                                                      USD                                                         -2,500.000000000000000                                                              -2,500.503593553003600
                                                                                      USDT                                                                                                                                                 0.000000002876655
                                                                                      XRP                                                          1,799.675100000000000                                                               1,799.675100000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9201        Name on file                        FTX Trading Ltd.                       FTT                                                              61.792860000000000 FTX Trading Ltd.                                               61.792860000000000
                                                                                       MATH                                                           576.800000000000000                                                                576.800000000000000
                                                                                       NFT (417375934565432782/FTX EU -
                                                                                       WE ARE HERE! #268943)                                                                                                                               1.000000000000000
                                                                                       NFT (420467778645214540/FTX EU -
                                                                                       WE ARE HERE! #268949)                                                                                                                               1.000000000000000
                                                                                       NFT (506302991210764484/FTX EU -
                                                                                       WE ARE HERE! #268946)                                                                                                                               1.000000000000000
                                                                                       NFT (530419383413739967/THE HILL BY
                                                                                       FTX #16284)                                                                                                                                         1.000000000000000
                                                                                       TRX                                                               0.000041000000000                                                                 0.000041000000000
                                                                                       USDT                                                             76.791109068300000                                                                 0.341109068300000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
64869       Name on file                        FTX Trading Ltd.                       FTX AU - WE ARE HERE! #41102                                                           FTX Trading Ltd.
                                                                                       (416114593851169100)                                              1.000000000000000                                                                 0.000000000000000
                                                                                       FTX EU - WE ARE HERE! #251317
                                                                                       (386939900019605700)                                              1.000000000000000                                                                 0.000000000000000
                                                                                       FTX EU - WE ARE HERE! #251340
                                                                                       (313993428779104060)                                              1.000000000000000                                                                 0.000000000000000
                                                                                       FTX EU - WE ARE HERE! #251351
                                                                                       (429924539039034430)                                              1.000000000000000                                                                 0.000000000000000
                                                                                       NFT (313993428779104038/FTX EU -
                                                                                       WE ARE HERE! #251340)                                                                                                                               1.000000000000000
                                                                                       NFT (386939900019605683/FTX EU -
                                                                                       WE ARE HERE! #251317)                                                                                                                               1.000000000000000
                                                                                       NFT (416114593851169062/FTX AU -
                                                                                       WE ARE HERE! #41102)                                                                                                                                1.000000000000000
                                                                                       NFT (429924539039034436/FTX EU -
                                                                                       WE ARE HERE! #251351)                                                                                                                               1.000000000000000
                                                                                       TRX                                                               0.000010000000000                                                                 0.000005000000000
                                                                                       USDT                                                           801.999731800000000                                                                400.999731800000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
43722       Name on file                        FTX Trading Ltd.                       AKRO                                                              3.000000000000000 FTX Trading Ltd.                                                3.000000000000000
                                                                                       BAO                                                              11.000000000000000                                                                11.000000000000000
                                                                                       BNB                                                               0.083677370000000                                                                 0.083677370000000
                                                                                       ETH                                                               0.000000210000000                                                                 0.000000210000000
                                                                                       ETHW                                                              0.000000210000000                                                                 0.000000210000000
                                                                                       GODS                                                           110.686910020000000                                                                110.686910020000000
                                                                                       GOG                                                            962.851145090000000                                                                962.851145090000000
                                                                                       IMX                                                              53.851049150000000                                                                53.851049150000000
                                                                                       KIN                                                               5.000000000000000                                                                 5.000000000000000
                                                                                       LUNA2                                                             0.242812323700000                                                                 0.242812323700000
                                                                                       LUNA2_LOCKED                                                      0.564971011900000                                                                 0.564971011900000
                                                                                       LUNC                                                              0.780670390000000                                                                 0.780670390000000
                                                                                       NFT (343865716100850137/FTX EU -
                                                                                       WE ARE HERE! #43221)                                                                                                                                1.000000000000000
                                                                                       NFT (384917121957355722/THE HILL BY
                                                                                       FTX #22370)                                                                                                                                         1.000000000000000
                                                                                       NFT (511766588731300822/FTX EU -
                                                                                       WE ARE HERE! #43089)                                                                                                                                1.000000000000000
                                                                                       NFT (512386300836664945/FTX EU -
                                                                                       WE ARE HERE! #43175)                                                                                                                                1.000000000000000
                                                                                       RSR                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       SOL                                                               0.930981070000000                                                                 0.930981070000000
                                                                                       TRX                                                               3.000371000000000                                                                 3.000371000000000
                                                                                       USD                                                               0.939154133493265                                                                 0.939154133493265
                                                                                       USDT                                                             11.680094735337949                                                                 0.000094735337949
                                                                                       USTC                                                              0.001068190000000                                                                 0.001068190000000
                                                                                       WAXL                                                           470.460274000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9924        Name on file                        FTX Trading Ltd.                       BAO                                                               2.000000000000000 FTX Trading Ltd.                                                2.000000000000000
                                                                                       KIN                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       NFT (391458211511291419/FTX EU -
                                                                                       WE ARE HERE! #220775)                                                                                                                               1.000000000000000
                                                                                       NFT (402871626704818280/FTX EU -
                                                                                       WE ARE HERE! #220830)                                                                                                                               1.000000000000000
                                                                                       NFT (490166629105805216/FTX EU -
                                                                                       WE ARE HERE! #220808)                                                                                                                               1.000000000000000
                                                                                       TRX                                                               0.000809000000000                                                                 0.000809000000000
                                                                                       USD                                                              31.640000000000000                                                                11.724610205695148
                                                                                       USDC                                                              1.722502660000000                                                                 0.000000000000000
                                                                                       USDT                                                          2,204.798843553847000                                                             2,137.519772409847000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
91542       Name on file                        FTX Trading Ltd.                       TRX                                                        100,000.000000000000000 West Realm Shires Services Inc.                            10,563.623453000000000
                                                                                       XRP -RIPPLE                                                                                                                                         0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
73667       Name on file                        FTX Trading Ltd.                        1INCH                                                                                   FTX Trading Ltd.                                             74.789229750492990
                                                                                        AGLD-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                        ALCX-PERP                                                         0.000000000000000                                                                   0.000000000000000
                                                                                        ALICE-PERP                                                        0.000000000000000                                                                   0.000000000000000
                                                                                        ALPHA-PERP                                                        0.000000000000000                                                                   0.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     ANC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     APE-PERP                                                         0.000000000000056                                                                  0.000000000000056
                                                                                     APT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ATOM-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     AVAX-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     BAND-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     BTC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     BTT                                                              0.000000005820571                                                                  0.000000005820571
                                                                                     BTTPRE-PERP                                                      0.000000000000000                                                                  0.000000000000000
                                                                                     CREAM-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     CRO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     DOGE-1230                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     DOGE-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     DYDX-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     FIDA                                                            42.435641820000000                                                                 42.435641820000000
                                                                                     FTM                                                                                                                                                99.720267086350420
                                                                                     FTM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     FTT                                                             12.400000000363539                                                                 12.400000000363539
                                                                                     FTT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     GALA                                                           495.159396010000000                                                                495.159396010000000
                                                                                     GALA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     GLMR-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     GMT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     GRT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     GST-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     HOLY-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     HOT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     HUM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     INJ-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     KBTT-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     KIN-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     KLAY-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     KSHIB-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     LDO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     LEO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     LINA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     LTC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     LUNA2                                                            3.783221525000000                                                                  3.783221525000000
                                                                                     LUNA2_LOCKED                                                     8.827516891000000                                                                  8.827516891000000
                                                                                     LUNC                                                       434,448.944170497900000                                                            434,448.944170497900000
                                                                                     LUNC-PERP                                                        0.000000000005798                                                                  0.000000000005798
                                                                                     MAPS-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     MASK-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     MEDIA-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     MER-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     MINA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     MNGO-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     MTA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     MTL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     OKB                                                              0.000000003199130                                                                  0.000000003199130
                                                                                     OMG-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ONE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     OP-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                     POLIS-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     RNDR-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     RUNE-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     SAND                                                            51.303891380000000                                                                 51.303891380000000
                                                                                     SAND-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     SECO-PERP                                                        0.000000000000000                                                                -28.000000000000000
                                                                                     SLP-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     SNX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     SOL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     SOS-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     SPELL-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     SRM                                                             85.083432410000000                                                                 85.083432410000000
                                                                                     SRM_LOCKED                                                       1.203886380000000                                                                  1.203886380000000
                                                                                     STEP-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     TONCOIN-PERP                                                     0.000000000000000                                                                  0.000000000000000
                                                                                     TRU-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     TRX                                                              0.000000001711990                                                                  0.000000001711990
                                                                                     TULIP-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     UNI-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     USD                                                            221.742638559077050                                                                221.742638559077050
                                                                                     USDT                                                             0.000000009224548                                                                  0.000000009224548
                                                                                     USTC                                                           253.109626009432700                                                                253.109626009432700
                                                                                     USTC-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     VET-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     WAVES-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     XRP                                                          8,449.613009000000000                                                              6,449.645257642377000
                                                                                     XRP-0325                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     XRP-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     YFII-PERP                                                        0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
26456       Name on file                        FTX Trading Ltd.                       AXS                                                              98.370631490000000 FTX Trading Ltd.                                               98.370630862424140
                                                                                       BNB                                                              17.532663020000000                                                                17.532663024205650
                                                                                       BTC-PERP                                                                                                                                            0.000000000000000
                                                                                       CRO                                                           2,659.509762000000000                                                             2,659.509762000000000
                                                                                       CRO-PERP                                                                                                                                            0.000000000000000
                                                                                       DOT                                                             120.211263000000000                                                                60.105631490606910
                                                                                       ETH                                                               1.930144360000000                                                                 1.930144366467010
                                                                                       ETH-PERP                                                                                                                                            0.000000000000000
                                                                                       ETHW                                                              3.839690280000000                                                                 1.919845140261010
                                                                                       EUR                                                                                                                                                 0.000000009088020
                                                                                       FTM                                                           3,612.049615400000000                                                             3,612.049615409614000
                                                                                       FTT                                                              19.714823950000000                                                                19.714823958414020
                                                                                       GBP                                                               1.000000000000000                                                                 1.003490806164080
                                                                                       MANA                                                            917.746403200000000                                                               458.873201600000000
                                                                                       SOL                                                               5.781160420000000                                                                 5.781160425899222
                                                                                       USD                                                               1.000000000000000                                                                 0.574483459502585
                                                                                       USDT                                                                                                                                                0.000000004912907
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                                                                                                     Asserted Claims                                                                                           Modified Claim

   Claim
  Number                   Name                                 Debtor                                Tickers                                 Ticker Quantity                                Debtor                              Ticker Quantity
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
91637       Name on file                        FTX Trading Ltd.                       AVAX                                                             40.000000000000000 West Realm Shires Services Inc.                                40.079844930000000
                                                                                       DODGE                                                             1.000000000000000                                                                 0.000000000000000
                                                                                       DOGE                                                                                                                                                1.000000000000000
                                                                                       MATIC                                                         3,103.894960000000000                                                             3,103.894960100000000
                                                                                       SHIB                                                                                                                                                1.000000000000000
                                                                                       SOL                                                              50.000000000000000                                                                50.049684340000000
                                                                                       USD                                                                                                                                               -99.993521942299200

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
8664        Name on file                        FTX Trading Ltd.                        BNB                                                                0.013766710000000 FTX Trading Ltd.                                                  0.013766718513047
                                                                                        BTC                                                                0.000101990000000                                                                   0.000101991891861
                                                                                        DOGE                                                                                                                                                   0.000000005677776
                                                                                        ETH                                                                                                                                                   -0.064278076162947
                                                                                        ETHW                                                                                                                                                  -0.000134657139117
                                                                                        FTT                                                                0.099715000000000                                                                   0.099715000000000
                                                                                        LTC                                                                                                                                                    0.000000009077056
                                                                                        LUNA2                                                                                                                                                  1.159412234723000
                                                                                        LUNA2_LOCKED                                                                                                                                           2.705295214029000
                                                                                        LUNC                                                                                                                                            252,464.455133489450000
                                                                                        NFT (423023391081451234/FTX EU -
                                                                                        WE ARE HERE! #203349)                                                                                                                                  1.000000000000000
                                                                                        NFT (437883921017103700/FTX EU -
                                                                                        WE ARE HERE! #207186)                                                                                                                                  1.000000000000000
                                                                                        NFT (552698750892511401/FTX EU -
                                                                                        WE ARE HERE! #203483)                                                                                                                                  1.000000000000000
                                                                                        SOL                                                                                                                                                  -35.162027509193400
                                                                                        TRX                                                                                                                                                    0.680087423309400
                                                                                        TRYB                                                                                                                                                   0.000000006418899
                                                                                        USD                                                            1,081.483412931657500                                                               1,081.483412931657500
                                                                                        USDT                                                                                                                                                   0.005228838962760
                                                                                        XRP                                                               40.938261610000000                                                                  40.938261610577920
                                                                                        YFI                                                                                                                                                    0.000000009111552

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
84309       Name on file                        West Realm Shires Services Inc.        145.76418037                                                     47.490844950000000 West Realm Shires Services Inc.                                 0.000000000000000
                                                                                       1.63725303                                                 406,504.065040650000000                                                                  0.000000000000000
                                                                                       406834.82506102                                                145.815510420000000                                                                  0.000000000000000
                                                                                       47.49083593                                                      24.872612420000000                                                                 0.000000000000000
                                                                                       BRZ                                                            100.322960860000000                                                                100.322960860000000
                                                                                       BTC                                                               0.000250980000000                                                                 0.000250980000000
                                                                                       CAD                                                              68.500000000000000                                                                 5.224353360000000
                                                                                       ETH                                                               0.005064620000000                                                                 0.005064620000000
                                                                                       ETHW                                                              0.004996220000000                                                                 0.004996220000000
                                                                                       EUR                                                              87.900000000000000                                                                 3.822287890000000
                                                                                       GBP                                                              79.700000000000000                                                                 3.257222330000000
                                                                                       LINK                                                              1.523138560000000                                                                 1.523138560000000
                                                                                       LTC                                                               0.044258580000000                                                                 0.044258580000000
                                                                                       NFT (565229529399781768/SAUDI
                                                                                       ARABIA TICKET STUB #2223)                                                                                                                           1.000000000000000
                                                                                       SHIB                                                       850,129.584861540000000                                                          850,129.584861540000000
                                                                                       SOL                                                               0.305532870000000                                                                 0.305532870000000
                                                                                       TRX                                                            307.903617500000000                                                                307.903617500000000
                                                                                       UNI                                                               1.711306500000000                                                                 1.711306500000000
                                                                                       USD                                                              40.800000000000000                                                                 2.076364415691416
                                                                                       USDT                                                             25.997608060000000                                                                25.997608060000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
70949       Name on file                        FTX Trading Ltd.                       EUR                                                           1,027.968413930000000 FTX Trading Ltd.                                            1,027.968413930000000
                                                                                       FTT                                                              10.102130680000000                                                                10.102130680000000
                                                                                       NIO                                                               0.002591000000000                                                                 0.002591000000000
                                                                                       USD                                                             831.973299163500000                                                               831.973299163500000
                                                                                       USDC                                                            100.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9717        Name on file                        FTX Trading Ltd.                       BNB                                                               0.000000248632152 FTX Trading Ltd.                                                 0.000000248632152
                                                                                       C98                                                               0.348286000000000                                                                  0.348286000000000
                                                                                       LUNA2                                                             0.000000021601628                                                                  0.000000021601628
                                                                                       LUNA2_LOCKED                                                      0.000000050403798                                                                  0.000000050403798
                                                                                       LUNC                                                              0.004703800000000                                                                  0.004703800000000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       NFT (438237716378433067/FTX EU -
                                                                                       WE ARE HERE! #37412)                                                                                                                                 1.000000000000000
                                                                                       NFT (476202059403029785/FTX EU -
                                                                                       WE ARE HERE! #37516)                                                                                                                                 1.000000000000000
                                                                                       NFT (550856876826472446/FTX EU -
                                                                                       WE ARE HERE! #37583)                                                                                                                                 1.000000000000000
                                                                                       SOL                                                               0.000000002584520                                                                  0.000000002584520
                                                                                       USD                                                              -0.000000091263281                                                                 -0.000000091263281
                                                                                       USDT                                                          1,052.673936793330815                                                                  5.625307422640738

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
82844       Name on file                        FTX Trading Ltd.                       ADA-PERP                                                          0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       BAT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-PERP                                                          0.229700000000000                                                                  0.229700000000000
                                                                                       DOT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ENS-PERP                                                         -0.000000000000056                                                                 -0.000000000000056
                                                                                       ETH                                                               0.382808320464240                                                                  0.382808320464240
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       EUR                                                            199.600000003134400                                                                199.600000003134400
                                                                                       FTM-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       FTT                                                               0.010407743860600                                                                  0.010407743860600
                                                                                       GALA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       GMT                                                              11.130978723175000                                                                11.130978723175000
                                                                                       GMT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GST                                                              63.400000000000000                                                                63.400000000000000
                                                                                       HNT                                                            128.870154860000000                                                                128.870154860000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     HNT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     HUM-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     IOTA-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     KNC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                     LUNA2                                                             0.027732956190000                                                                 0.027732956190000
                                                                                     LUNA2_LOCKED                                                      0.064710231120000                                                                 0.064710231120000
                                                                                     LUNC                                                          6,038.909599723600000                                                             6,038.909599723600000
                                                                                     LUNC-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     MANA                                                            617.975700000000000                                                               617.975700000000000
                                                                                     MANA-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     SAND                                                             45.991720000000000                                                                45.991720000000000
                                                                                     SAND-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                     SOL                                                             220.539500000000000                                                               220.539548098719560
                                                                                     SOL-PERP                                                          0.000000000000028                                                                 0.000000000000028
                                                                                     USD                                                         -3,089.000000000000000                                                             -4,865.637281351978000
                                                                                     USDT                                                              0.000000179315382                                                                 0.000000179315382
                                                                                     ZRX-PERP                                                          0.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
19407       Name on file                        West Realm Shires Services Inc.        BTC                                                               0.206025970000000 West Realm Shires Services Inc.                                 0.206025970000000
                                                                                       ETHW                                                              4.469100000000000                                                                 4.469100000000000
                                                                                       FTT                                                              28.000000000000000                                                                 0.000000000000000
                                                                                       NFT (289033151487155241/GSW
                                                                                       CHAMPIONSHIP COMMEMORATIVE
                                                                                       RING)                                                                                                                                               1.000000000000000
                                                                                       NFT (350783358910733513/GSW
                                                                                       WESTERN CONFERENCE SEMIFINALS
                                                                                       COMMEMORATIVE TICKET #496)                                                                                                                          1.000000000000000
                                                                                       NFT (417526339120552961/GSW
                                                                                       CHAMPIONSHIP COMMEMORATIVE
                                                                                       RING)                                                                                                                                               1.000000000000000
                                                                                       NFT (444559332313008906/GSW 75
                                                                                       ANNIVERSARY DIAMOND #278)                                                                                                                           1.000000000000000
                                                                                       NFT (503181729627305623/GSW
                                                                                       ROUND 1 COMMEMORATIVE TICKET
                                                                                       #176)                                                                                                                                               1.000000000000000

                                                                                     NFT (519583394361438134/WARRIORS
                                                                                     LOGO PIN #523)                                                                                                                                      1.000000000000000
                                                                                     NFT (575659570478066701/GSW
                                                                                     WESTERN CONFERENCE SEMIFINALS
                                                                                     COMMEMORATIVE TICKET #497)                                                                                                                          1.000000000000000
                                                                                     USD                                                          2,000.000000000000000                                                             -1,999.999999990000000
                                                                                     USDT                                                             0.000000007898643                                                                  0.000000007898643

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8246        Name on file                        FTX Trading Ltd.                       AAVE                                                              0.020000000000000 FTX Trading Ltd.                                                0.020000008281990
                                                                                       AAVE-PERP                                                                                                                                           0.000000000000000
                                                                                       ADABEAR                                                                                                                                  138,973,420.900000000000000
                                                                                       ADABULL                                                                                                                                             0.000000000700000
                                                                                       ADA-PERP                                                                                                                                            0.000000000000000
                                                                                       ALCX-PERP                                                                                                                                           0.000000000000000
                                                                                       ALGO-PERP                                                                                                                                           0.000000000000000
                                                                                       ALICE-PERP                                                                                                                                          0.000000000000000
                                                                                       ALPHA                                                                                                                                               0.000000011177566
                                                                                       ALPHA-PERP                                                                                                                                          0.000000000000000
                                                                                       ALT-20210625                                                                                                                                        0.000000000000000
                                                                                       ALT-PERP                                                                                                                                            0.000000000000000
                                                                                       AMPL-PERP                                                                                                                                           0.000000000000000
                                                                                       ASD                                                                                                                                                 0.000000017407160
                                                                                       ATOM                                                                                                                                                0.100000007894100
                                                                                       ATOM-PERP                                                                                                                                           0.000000000000000
                                                                                       AUDIO-PERP                                                                                                                                          0.000000000000000
                                                                                       AVAX                                                              0.102966208703890                                                                 0.102966208703890
                                                                                       AVAX-PERP                                                                                                                                           0.000000000000000
                                                                                       BAO-PERP                                                                                                                                            0.000000000000000
                                                                                       BIT-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB                                                                                                                                                 0.000000013737350
                                                                                       BNB-PERP                                                                                                                                            0.000000000000000
                                                                                       BRZ                                                                                                                                                 0.000000009311100
                                                                                       BTC                                                               0.000100000000000                                                                 0.000100005132150
                                                                                       BTC-0325                                                                                                                                            0.000000000000000
                                                                                       BTC-0624                                                                                                                                            0.000000000000000
                                                                                       BTC-0930                                                                                                                                            0.000000000000000
                                                                                       BTC-1230                                                                                                                                            0.000000000000000
                                                                                       BTC-20210924                                                                                                                                        0.000000000000000
                                                                                       BTC-20211231                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0105                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0110                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0117                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0119                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0120                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0123                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0124                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0213                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0214                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0217                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0221                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0303                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0304                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0317                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0318                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0331                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0504                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0525                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0526                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0527                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0528                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0626                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0703                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-0823                                                                                                                                       0.000000000000000
                                                                                       BTC-MOVE-1007                                                                                                                                       0.000000000000000
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                                           Asserted Claims                                              Modified Claim

 Claim
Number   Name         Debtor                 Tickers          Ticker Quantity                  Debtor                    Ticker Quantity
                               BTC-MOVE-1010                                                                                      0.000000000000000
                               BTC-MOVE-1011                                                                                      0.000000000000000
                               BTC-MOVE-1012                                                                                      0.000000000000000
                               BTC-MOVE-1013                                                                                      0.000000000000000
                               BTC-MOVE-WK-0128                                                                                   0.000000000000000
                               BTC-MOVE-WK-1111                                                                                   0.000100000000000
                               BTC-MOVE-WK-20211224                                                                               0.000000000000000
                               BTC-PERP                                                                                           0.000000000000000
                               BULL                                                                                               0.000000001098000
                               CHR-PERP                                                                                           0.000000000000000
                               CHZ-PERP                                                                                           0.000000000000000
                               CLV-PERP                                                                                           0.000000000000000
                               COIN                                                                                               0.000000008000000
                               COMP                                                                                               0.000000003750000
                               COMP-PERP                                                                                          0.000000000000000
                               CREAM                                                                                              0.059899984000000
                               CRO-PERP                                                                                           0.000000000000000
                               CRV-PERP                                                                                           0.000000000000000
                               DAI                                                                                                0.000000016302448
                               DAWN-PERP                                                                                          0.000000000000000
                               DEFI-20210625                                                                                      0.000000000000000
                               DENT                                                                                             600.000000000000000
                               DENT-PERP                                                                                          0.000000000000000
                               DMG-PERP                                                                                           0.000000000000000
                               DOGE                                                                                               5.000000009636360
                               DOGE-PERP                                                                                          0.000000000000000
                               DOT-PERP                                                                                           0.000000000000000
                               DYDX                                                                                               0.300000000000000
                               EDEN                                                                                               0.600000000000000
                               EDEN-20211231                                                                                      0.000000000000000
                               EGLD-PERP                                                                                          0.000000000000000
                               ENJ-PERP                                                                                           0.000000000000000
                               EOS-PERP                                                                                           0.000000000000000
                               ETC-PERP                                                                                           0.000000000000000
                               ETH                                      0.001000000000000                                         0.001000006068311
                               ETH-0325                                                                                           0.000000000000000
                               ETH-0624                                                                                           0.000000000000000
                               ETH-0930                                                                                           0.000000000000000
                               ETH-PERP                                                                                           0.000000000000000
                               ETHW                                                                                               0.255961836068311
                               EXCH-PERP                                                                                          0.000000000000000
                               FIDA                                                                                               4.043544620000000
                               FIDA_LOCKED                                                                                        0.094273440000000
                               FIDA-PERP                                                                                          0.000000000000000
                               FLOW-PERP                                                                                          0.000000000000000
                               FTM                                                                                                0.000000003030620
                               FTM-PERP                                                                                           0.000000000000000
                               FTT                                                                                                0.399943009018407
                               FTT-PERP                                                                                           0.099999999999999
                               GMT-PERP                                                                                           0.000000000000000
                               GOOGL-0325                                                                                         0.000000000000000
                               GRT                                                                                                0.000000003569370
                               GRT-PERP                                                                                           4.000000000000000
                               HOT-PERP                                                                                           0.000000000000000
                               HT                                       0.206358954000000                                         0.206358954000000
                               HT-PERP                                                                                            0.000000000000000
                               HUM-PERP                                                                                           0.000000000000000
                               ICP-PERP                                                                                           0.000000000000000
                               IOTA-PERP                                                                                          0.000000000000000
                               KAVA-PERP                                                                                          0.000000000000000
                               KIN-PERP                                                                                           0.000000000000000
                               KNC-PERP                                                                                           0.000000000000000
                               KSM-PERP                                                                                           0.000000000000000
                               LINA                                                                                              10.000000000000000
                               LINK                                     0.202992844783780                                         0.202992844783780
                               LINK-PERP                                                                                          0.000000000000000
                               LRC-PERP                                                                                           0.000000000000000
                               LTC                                                                                                0.000000004520526
                               LTC-PERP                                                                                           0.000000000000000
                               LUNA2                                                                                              0.047276131380000
                               LUNA2_LOCKED                                                                                       0.110310973200000
                               LUNC                               10,000.000000000000000                                     10,294.477143431137000
                               LUNC-PERP                                                                                         -0.000000000000006
                               MANA-PERP                                                                                          0.000000000000000
                               MAPS-PERP                                                                                          0.000000000000000
                               MATIC-PERP                                                                                         0.000000000000000
                               MEDIA                                                                                              0.000000006000000
                               MEDIA-PERP                                                                                         0.000000000000000
                               MID-PERP                                                                                           0.000000000000000
                               MSTR-0325                                                                                          0.000000000000000
                               MSTR-20211231                                                                                      0.000000000000000
                               NEAR-PERP                                                                                          0.000000000000000
                               NPXS-PERP                                                                                          0.000000000000000
                               OMG-20211231                                                                                       0.000000000000000
                               OMG-PERP                                                                                           0.000000000000001
                               ONE-PERP                                                                                           0.000000000000000
                               ONT-PERP                                                                                           0.000000000000000
                               PAXG-PERP                                                                                         -0.010000000000000
                               PERP-PERP                                                                                          0.000000000000001
                               PRISM                                                                                             40.000000000000000
                               PRIV-0624                                                                                          0.000000000000000
                               PRIV-PERP                                                                                          0.000000000000000
                               RAY                                                                                                2.703775185987900
                               RAY-PERP                                                                                           0.000000000000000
                               REN-PERP                                                                                           0.000000000000000
                               RON-PERP                                                                                           0.000000000000000
                               RSR-PERP                                                                                           0.000000000000000
                               RUNE-PERP                                                                                          0.000000000000000
                               SAND-PERP                                                                                          0.000000000000000
                               SC-PERP                                                                                            0.000000000000000
                               SECO-PERP                                                                                          0.000000000000000
                               SHIT-PERP                                                                                          0.000000000000000
                               SKL                                                                                               24.979480000000000
                               SLP-PERP                                                                                           0.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                              Ticker Quantity
                                                                                     SNX                                                                                                                                                0.000000017807169
                                                                                     SNX-PERP                                                                                                                                           0.000000000000000
                                                                                     SOL                                                                                                                                                0.000000002927350
                                                                                     SOL-PERP                                                                                                                                           0.000000000000000
                                                                                     SPELL-PERP                                                                                                                                         0.000000000000000
                                                                                     SPY-0325                                                                                                                                           0.000000000000000
                                                                                     SPY-20210924                                                                                                                                       0.000000000000000
                                                                                     SPY-20211231                                                                                                                                       0.000000000000000
                                                                                     SRM                                                                                                                                                2.036906260000000
                                                                                     SRM_LOCKED                                                                                                                                         0.049980620000000
                                                                                     SRM-PERP                                                                                                                                           0.000000000000000
                                                                                     SRN-PERP                                                                                                                                           0.000000000000000
                                                                                     STEP                                                                                                                                               0.000000005000000
                                                                                     STEP-PERP                                                                                                                                         -0.000000000000006
                                                                                     STMX-PERP                                                                                                                                          0.000000000000000
                                                                                     STORJ-PERP                                                                                                                                         0.000000000000000
                                                                                     SUSHIBEAR                                                                                                                                 60,000,000.000000000000000
                                                                                     SUSHIBULL                                                                                                                                     38,946.097000000000000
                                                                                     SUSHI-PERP                                                                                                                                         0.000000000000000
                                                                                     THETA-PERP                                                                                                                                         0.000000000000000
                                                                                     TLM-PERP                                                                                                                                           0.000000000000000
                                                                                     TOMO-PERP                                                                                                                                          0.000000000000000
                                                                                     TRX                                                              0.000114217088610                                                                 0.000114217088610
                                                                                     UNI-PERP                                                                                                                                           0.000000000000000
                                                                                     USD                                                             24.126579926683384                                                                24.126579926683384
                                                                                     USDT                                                                                                                                               0.000000024425668
                                                                                     USDT-PERP                                                                                                                                          0.000000000000000
                                                                                     WAVES-PERP                                                                                                                                         0.000000000000000
                                                                                     XAUT                                                             0.000100481184360                                                                 0.000100481184360
                                                                                     XLM-PERP                                                                                                                                           0.000000000000000
                                                                                     XMR-PERP                                                                                                                                           0.000000000000000
                                                                                     XRPBEAR                                                                                                                                   14,000,000.000000000000000
                                                                                     XRP-PERP                                                                                                                                           0.000000000000000
                                                                                     XTZ-PERP                                                                                                                                           0.000000000000000
                                                                                     YFI                                                                                                                                                0.000000168157708
                                                                                     YFI-0624                                                                                                                                           0.000000000000000
                                                                                     YFI-PERP                                                                                                                                           0.000000000000000
                                                                                     ZEC-PERP                                                                                                                                           0.000000000000000
                                                                                     ZIL-PERP                                                                                                                                           0.000000000000000
                                                                                     ZRX-PERP                                                                                                                                           0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
37367       Name on file                        FTX Trading Ltd.                       1INCH                                                                                  FTX Trading Ltd.                                           130.497186697507200
                                                                                       BTC                                                                                                                                                 0.004905970540310
                                                                                       FTT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       GMT                                                                                                                                                 0.003003430417416
                                                                                       LTC                                                              11.880285670000000                                                                 0.000000000000000
                                                                                       TRX                                                                                                                                               820.145766758281500
                                                                                       TSLA                                                                                                                                                1.218385771813000
                                                                                       USD                                                               0.000000082384473                                                                 0.000000082384473
                                                                                       USDT                                                              0.000000011470741                                                                 0.000000011470741

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9257        Name on file                        FTX Trading Ltd.                       MATIC                                                             0.000000004800000 FTX Trading Ltd.                                                0.000000004800000
                                                                                       NFT (309552127557535089/FTX EU -
                                                                                       WE ARE HERE! #177222)                                                                                                                               1.000000000000000
                                                                                       NFT (347573457460825983/FTX EU -
                                                                                       WE ARE HERE! #177023)                                                                                                                               1.000000000000000
                                                                                       NFT (409210904847662794/FTX CRYPTO
                                                                                       CUP 2022 KEY #22813)                                                                                                                                1.000000000000000
                                                                                       NFT (441182963726457109/FTX EU -
                                                                                       WE ARE HERE! #170104)                                                                                                                               1.000000000000000
                                                                                       USD                                                              34.513330350346045                                                                34.513330350346045
                                                                                       USDC                                                             34.513330350346045                                                                 0.000000000000000
                                                                                       USDT                                                              0.000000007359994                                                                 0.000000007359994

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
60443       Name on file                        West Realm Shires Services Inc.        COACHELLA X FTX WEEKEND 2 #18194                                                       West Realm Shires Services Inc.
                                                                                       (524803809986813000)                                              1.000000000000000                                                                 0.000000000000000

                                                                                     NFT (524803809986812998/COACHELLA
                                                                                     X FTX WEEKEND 2 #18194)                                                                                                                             1.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
20333       Name on file                        West Realm Shires Services Inc.        GENE                                                             30.000000000000000 West Realm Shires Services Inc.                                 0.000000000000000
                                                                                       NFT (357457664953204725/MONKEY
                                                                                       LEAGUE CUP)                                                                                                                                         1.000000000000000
                                                                                       NFT (435150006901691435/MONKEY
                                                                                       LEAGUE CUP)                                                                                                                                         1.000000000000000
                                                                                       NFT (499098621684758462/MONKEY
                                                                                       #16087)                                                                                                                                             1.000000000000000
                                                                                       NFT (559403357027002285/MONKEY
                                                                                       #16066)                                                                                                                                             1.000000000000000
                                                                                       SOL                                                              13.828169190000000                                                                13.828169190000000
                                                                                       USD                                                            139.676155287129700                                                                139.676155287129700

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
19487       Name on file                        FTX Trading Ltd.                       BTC                                                                                    West Realm Shires Services Inc.                              0.000000007920000
                                                                                       BULL                                                             10.000000000000000                                                                 0.000000000000000
                                                                                       DOGE                                                                                                                                               77.198809088808450
                                                                                       ETH                                                                                                                                                 0.000000008182620
                                                                                       ETHW                                                                                                                                                0.000000008182620
                                                                                       EUR                                                                                                                                                 0.000000008989065
                                                                                       GOLD                                                             10.000000000000000                                                                 0.000000000000000
                                                                                       MATIC                                                                                                                                               0.000000006455768
                                                                                       PAXG                                                                                                                                                0.000000003517214
                                                                                       SHIB                                                                                                                                                3.000000000000000
                                                                                       SOL                                                                                                                                                 0.000000069663301
                                                                                       USD                                                                                                                                                 0.000000002701911
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                                                                                                     Asserted Claims                                                                                           Modified Claim

  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
37396       Name on file                        FTX Trading Ltd.                        ALICE-PERP                                                          0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                        ATLAS                                                              19.240000000000000                                                                  9.620000000000000
                                                                                        ATLAS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                        BTC                                                                 0.000018463956450                                                                  0.000018463956450
                                                                                        BTC-PERP                                                            0.000000000000000                                                                  0.000000000000000
                                                                                        CHZ-PERP                                                            0.000000000000000                                                                  0.000000000000000
                                                                                        CREAM-PERP                                                         -0.000000000000007                                                                 -0.000000000000007
                                                                                        CVC-PERP                                                            0.000000000000000                                                                  0.000000000000000
                                                                                        DOGE-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        ETH                                                                 0.001000000000000                                                                  0.001000000000000
                                                                                        ETHW                                                                0.001000000000000                                                                  0.001000000000000
                                                                                        FTT                                                                 0.099031000000000                                                                  0.099031000000000
                                                                                        GALA-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        KSHIB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                        LOOKS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                        LUNC-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        NEAR-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        NFT (395529809135561829/FTX AU -
                                                                                        WE ARE HERE! #40981)                                                                                                                                   1.000000000000000
                                                                                        NFT (482878643550189633/FTX AU -
                                                                                        WE ARE HERE! #40902)                                                                                                                                   1.000000000000000
                                                                                        POLIS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                        PROM-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        ROSE-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        SAND                                                                0.994300000000000                                                                  0.994300000000000
                                                                                        SAND-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        SHIB-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        SOL                                                                 0.005672480000000                                                                  0.005672480000000
                                                                                        STORJ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                        TLM-PERP                                                            0.000000000000000                                                                  0.000000000000000
                                                                                        TRU-PERP                                                            0.000000000000000                                                                  0.000000000000000
                                                                                        TRX                                                                 0.725262000000000                                                                  0.725262000000000
                                                                                        USD                                                               292.455295769295050                                                               292.455295769295050
                                                                                        XRP                                                                 0.483919000000000                                                                  0.483919000000000
                                                                                        YFII-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                        YFI-PERP                                                            0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
29199       Name on file                        FTX Trading Ltd.                       DOT                                                              16.727072110000000 FTX Trading Ltd.                                               16.727072112775060
                                                                                       ENS                                                              14.998195000000000                                                                14.998195000000000
                                                                                       ETH                                                               1.751332850000000                                                                 1.751332851358169
                                                                                       ETHW                                                              0.155705180000000                                                                 0.155705181428119
                                                                                       FTT                                                              27.195908540000000                                                                27.195908540000000
                                                                                       SAND                                                             30.994404500000000                                                                30.994404500000000
                                                                                       SOL                                                              27.024486680000000                                                                27.024486684669750
                                                                                       TRX                                                               0.001203200000000                                                                 0.001203203736210
                                                                                       USD                                                          12,405.660000000000000                                                           12,405.658244521992000
                                                                                       USDT                                                         14,983.470000000000000                                                           14,983.471797673294000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
33513       Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                                             FTX Trading Ltd.                                              0.000000000000000
                                                                                       ADA-PERP                                                                                                                                             0.000000000000000
                                                                                       ALTBULL                                                                                                                                              0.954875000000000
                                                                                       APT-PERP                                                                                                                                             0.000000000000000
                                                                                       ATOM-PERP                                                                                                                                            0.000000000000000
                                                                                       AUDIO-PERP                                                                                                                                           0.000000000000000
                                                                                       AVAX-PERP                                                                                                                                           -0.000000000000181
                                                                                       AXS-PERP                                                                                                                                             0.000000000000000
                                                                                       BAND-PERP                                                                                                                                            0.000000000000000
                                                                                       BNB                                                               0.048083040000000                                                                  0.048083044500000
                                                                                       BNBBULL                                                          10.000000000000000                                                                10.000000000000000
                                                                                       BNB-PERP                                                                                                                                             0.000000000000000
                                                                                       BOBA-PERP                                                                                                                                            0.000000000000000
                                                                                       BTC                                                               0.002094410000000                                                                  0.002094418250000
                                                                                       BTC-PERP                                                                                                                                            -0.000000000000003
                                                                                       CHZ-PERP                                                                                                                                             0.000000000000000
                                                                                       DOT-PERP                                                                                                                                             0.000000000000000
                                                                                       EGLD-PERP                                                                                                                                            0.000000000000014
                                                                                       ETH                                                                                                                                                  0.000000000340000
                                                                                       ETHBULL                                                        297.028086900000000                                                                297.028086900000000
                                                                                       ETH-PERP                                                                                                                                            -0.000000000000001
                                                                                       ETHW                                                                                                                                                 0.000000000340000
                                                                                       FLOW-PERP                                                                                                                                            0.000000000000909
                                                                                       FLUX-PERP                                                                                                                                            0.000000000000000
                                                                                       FTM-PERP                                                                                                                                             0.000000000000000
                                                                                       FTT                                                               0.065942900000000                                                                  0.065942900085624
                                                                                       FTT-PERP                                                                                                                                             0.000000000000000
                                                                                       GRT-PERP                                                                                                                                             0.000000000000000
                                                                                       KAVA-PERP                                                                                                                                            0.000000000000000
                                                                                       LINK-PERP                                                                                                                                            0.000000000000000
                                                                                       LUNA2                                                            18.858081680000000                                                                  4.351865007000000
                                                                                       LUNA2_LOCKED                                                                                                                                       10.154351680000000
                                                                                       LUNC-PERP                                                                                                                                           -0.000000000000454
                                                                                       MANA-PERP                                                                                                                                            0.000000000000000
                                                                                       MATICBULL                                                  465,800.000000000000000                                                          465,800.000000000000000
                                                                                       MATIC-PERP                                                                                                                                           0.000000000000000
                                                                                       NEAR-PERP                                                                                                                                            0.000000000002273
                                                                                       NEO-PERP                                                                                                                                             0.000000000000000
                                                                                       OMG                                                              10.719765000000000                                                                10.719765000000000
                                                                                       OMG-PERP                                                                                                                                             0.000000000000000
                                                                                       ONE-PERP                                                                                                                                             0.000000000000000
                                                                                       RAY-PERP                                                                                                                                             0.000000000000000
                                                                                       REN-PERP                                                                                                                                             0.000000000000000
                                                                                       RUNE-PERP                                                                                                                                            0.000000000000000
                                                                                       SOL                                                              27.095190560000000                                                                27.095190563890448
                                                                                       SOL-PERP                                                                                                                                             0.000000000000000
                                                                                       SPELL-PERP                                                                                                                                           0.000000000000000
                                                                                       SRM-PERP                                                                                                                                             0.000000000000000
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     SUSHI-PERP                                                                                                                                          0.000000000000000
                                                                                     THETABULL                                                  268,402.162366920000000                                                            268,402.162366921000000
                                                                                     THETA-PERP                                                                                                                                          0.000000000000000
                                                                                     USD                                                           -472.660000000000000                                                               -472.655231803031100
                                                                                     USDT                                                         2,176.690000000000000                                                              2,176.692295837624400
                                                                                     XTZ-PERP                                                                                                                                            0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
56353       Name on file                        FTX Trading Ltd.                       ALPHA-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       ALT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BNB-20210625                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       BNB-PERP                                                         -0.000000000000659                                                                 -0.000000000000659
                                                                                       BTC                                                               0.000000001379079                                                                  0.000000001379079
                                                                                       BTC-20210625                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-20210924                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-PERP                                                          0.000000000000002                                                                  0.000000000000002
                                                                                       CRO-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       DEFI-20210326                                                     0.000000000000000                                                                  0.000000000000000
                                                                                       DEFI-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ENJ                                                             724.244037090000000                                                               724.244037090000000
                                                                                       ETH                                                               0.000000007500000                                                                  0.000000007500000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       FTT                                                             209.957513022603000                                                               209.957513022603000
                                                                                       FTT-PERP                                                         25.000000000000000                                                                25.000000000000000
                                                                                       GMT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GST-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       HKD                                                           1,999.999999994463500                                                               999.999999994463500
                                                                                       KNC                                                               0.000000002000000                                                                  0.000000002000000
                                                                                       KNC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       LUNA2                                                            10.384358650000000                                                                10.384358650000000
                                                                                       LUNA2_LOCKED                                                     24.211887880000000                                                                24.211887880000000
                                                                                       LUNC                                                       702,701.878749130000000                                                          702,701.878749130000000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       MAPS                                                            704.127656050000000                                                               704.127656050000000
                                                                                       MATIC-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       RUNE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       SOL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       SUSHI-20210625                                                    0.000000000000000                                                                  0.000000000000000
                                                                                       UNI-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       USD                                                              53.609438324894484                                                                53.609438324894484
                                                                                       USDT                                                              0.000000016223266                                                                  0.000000016223266
                                                                                       USDT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       USTC                                                          1,013.789313950000000                                                             1,013.789313950000000
                                                                                       VET-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       XRP-PERP                                                          0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
7300        Name on file                        FTX Trading Ltd.                       1INCH-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                 0.000000000000000
                                                                                       AAVE-20201225                                                     0.000000000000000                                                                  0.000000000000000
                                                                                       AAVE-PERP                                                        -0.000000000000004                                                                 -0.000000000000004
                                                                                       ADA-20210625                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       ADA-20210924                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       ADA-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ALGO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ALICE-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       ALPHA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       ALT-20201225                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       ALT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       APE-PERP                                                         -0.000000000000001                                                                 -0.000000000000001
                                                                                       AR-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                       ASD-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ATLAS-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       ATOM-PERP                                                        -0.000000000000184                                                                 -0.000000000000184
                                                                                       AUDIO-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       AVAX-PERP                                                         0.000000000000113                                                                  0.000000000000113
                                                                                       AXS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BAND-PERP                                                         0.000000000000001                                                                  0.000000000000001
                                                                                       BAT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BIDEN                                                             0.000000000000000                                                                  0.000000000000000
                                                                                       BNB                                                               0.269816244775480                                                                  0.269816244775480
                                                                                       BNB-20210625                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       BNB-20210924                                                      0.000000000000001                                                                  0.000000000000001
                                                                                       BNB-PERP                                                         -0.000000000000014                                                                 -0.000000000000014
                                                                                       BTC-20201225                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-20210924                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-20211231                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-MOVE-20200713                                                 0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-MOVE-WK-20200918                                              0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-MOVE-WK-20201023                                              0.000000000000000                                                                  0.000000000000000
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       C98-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CHR-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CHZ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       COMP-PERP                                                         0.000000000000001                                                                  0.000000000000001
                                                                                       CREAM-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       CRV-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       DEFI-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       DENT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       DMG-PERP                                                          0.000000000000113                                                                  0.000000000000113
                                                                                       DOGE                                                              9.057622659397480                                                                  9.057622659397480
                                                                                       DOGE-20210326                                                     0.000000000000000                                                                  0.000000000000000
                                                                                       DOGE-20210924                                                     0.000000000000000                                                                  0.000000000000000
                                                                                       DOGE-20211231                                                     0.000000000000000                                                                  0.000000000000000
                                                                                       DOGE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       DOT-20201225                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       DOT-PERP                                                          0.000000000000284                                                                  0.000000000000284
                                                                                       DYDX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       EDEN                                                           206.500000000000000                                                                206.500000000000000
                                                                                       ENJ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ENS-PERP                                                          0.000000000000056                                                                  0.000000000000056
                                                                                       EOS-20201225                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       EOS-PERP                                                         -0.000000000000383                                                                 -0.000000000000383
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                                                                                                                     Asserted Claims                                                                         Modified Claim

   Claim
  Number                      Name                                      Debtor                                        Tickers                                      Ticker Quantity                  Debtor                      Ticker Quantity
                                                                                                   ETC-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   ETH-20201225                                                              0.000000000000000                                           0.000000000000000
                                                                                                   ETH-20210326                                                              0.000000000000000                                           0.000000000000000
                                                                                                   ETH-20210625                                                              0.000000000000000                                           0.000000000000000
                                                                                                   ETH-20210924                                                              0.000000000000000                                           0.000000000000000
                                                                                                   ETH-PERP                                                                  0.000000000000003                                           0.000000000000003
                                                                                                   FIL-20201225                                                              0.000000000000000                                           0.000000000000000
                                                                                                   FIL-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   FLM-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   FLOW-PERP                                                                -0.000000000000451                                          -0.000000000000451
                                                                                                   FTM-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   FTT                                                                      82.192234320000000                                          82.192234320000000
                                                                                                   FTT-PERP                                                                 -0.000000000001229                                          -0.000000000001229
                                                                                                   GME-20210326                                                              0.000000000000000                                           0.000000000000000
                                                                                                   GMT-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   GRT-20211231                                                              0.000000000000000                                           0.000000000000000
                                                                                                   GRT-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   HNT-PERP                                                                  0.000000000000284                                           0.000000000000284
                                                                                                   HOT-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   HT-PERP                                                                   0.000000000000000                                           0.000000000000000
                                                                                                   IBVOL                                                                     0.000000007500000                                           0.000000007500000
                                                                                                   ICP-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   IOTA-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   KAVA-PERP                                                                 0.000000000000454                                           0.000000000000454
                                                                                                   KIN-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   KNC-PERP                                                                 -0.000000000000056                                          -0.000000000000056
                                                                                                   KSHIB-PERP                                                                0.000000000000000                                           0.000000000000000
                                                                                                   KSM-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   LINA-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   LINK-20210924                                                            -0.000000000000063                                          -0.000000000000063
                                                                                                   LINK-PERP                                                                 0.000000000000298                                           0.000000000000298
                                                                                                   LOOKS-PERP                                                                0.000000000000000                                           0.000000000000000
                                                                                                   LRC-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   LTC-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   LUNA2                                                                     0.604036685400000                                           0.604036685400000
                                                                                                   LUNA2_LOCKED                                                              1.409418933000000                                           1.409418933000000
                                                                                                   LUNC                                                                131,530.259974174320000                                     131,530.259974174320000
                                                                                                   LUNC-PERP                                                                -0.000000000000170                                          -0.000000000000170
                                                                                                   MANA-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   MATIC-PERP                                                                0.000000000000000                                           0.000000000000000
                                                                                                   MEDIA-PERP                                                                0.000000000000000                                           0.000000000000000
                                                                                                   MID-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   MINA-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   MKR-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   MNGO-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   MTL-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   NEAR-PERP                                                                 0.000000000000227                                           0.000000000000227
                                                                                                   OKB-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   ONT-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   PEOPLE-PERP                                                               0.000000000000000                                           0.000000000000000
                                                                                                   PERP-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   QTUM-PERP                                                                 0.000000000000113                                           0.000000000000113
                                                                                                   RAY-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   REN-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   RSR-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   RUNE-PERP                                                                 0.000000000000454                                           0.000000000000454
                                                                                                   SAND-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   SHIB-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   SHIT-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   SKL-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   SLP-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   SNX-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   SOL-PERP                                                                 -0.000000000000056                                          -0.000000000000056
                                                                                                   SPELL-PERP                                                                0.000000000000000                                           0.000000000000000
                                                                                                   SRM-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   STEP-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   STMX-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   STORJ-PERP                                                               -0.000000000000454                                          -0.000000000000454
                                                                                                   SUSHI-20200925                                                            0.000000000000000                                           0.000000000000000
                                                                                                   SUSHI-20210924                                                            0.000000000000000                                           0.000000000000000
                                                                                                   SUSHI-PERP                                                                0.000000000000000                                           0.000000000000000
                                                                                                   SXP-20210924                                                              0.000000000000000                                           0.000000000000000
                                                                                                   SXP-PERP                                                                 -0.000000000000113                                          -0.000000000000113
                                                                                                   THETA-PERP                                                                0.000000000002216                                           0.000000000002216
                                                                                                   TOMO-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   TONCOIN-PERP                                                              0.000000000000000                                           0.000000000000000
                                                                                                   TRUMP                                                                     0.000000000000014                                           0.000000000000014
                                                                                                   TRU-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   TRX                                                                       0.000024000000000                                           0.000024000000000
                                                                                                   TRX-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   TSLA                                                                      1.710000000000000                                           1.710000000000000
                                                                                                   TSM-20210625                                                              0.000000000000000                                           0.000000000000000
                                                                                                   UNI-20210326                                                              0.000000000000000                                           0.000000000000000
                                                                                                   UNI-20210625                                                              0.000000000000000                                           0.000000000000000
                                                                                                   UNI-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   USD                                                                       2.465110307124858                                           2.465110307124858
                                                                                                   USDT                                                                     30.503944607928103                                          15.253944607928103
                                                                                                   VET-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   WAVES-PERP                                                                0.000000000000000                                           0.000000000000000
                                                                                                   XEM-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   XLM-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   XMR-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   XRP-20201225                                                              0.000000000000000                                           0.000000000000000
                                                                                                   XRP-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   XTZ-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   YFII-PERP                                                                 0.000000000000000                                           0.000000000000000
                                                                                                   YFI-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   ZEC-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   ZIL-PERP                                                                  0.000000000000000                                           0.000000000000000
                                                                                                   ZRX-PERP                                                                  0.000000000000000                                           0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
94986*      Name on file                        FTX Trading Ltd.                       AAVE                                                              0.009743338000000 FTX Trading Ltd.                                                0.009743338000000

94986*: Claim is also included as a Surviving Claim in the Debtors' Ninetieth (Non-Substantive) Omnibus Objection to Certain Superseded Proofs of Claim (Customer Claims)
                                                Case 22-11068-JTD                                                  Doc 25714-2                                  Filed 09/25/24                     Page 36 of 43
                                                                                                                     Asserted Claims                                                                           Modified Claim

   Claim
  Number                      Name                                      Debtor                                        Tickers                                       Ticker Quantity                   Debtor                    Ticker Quantity
                                                                                                    AAVE-PERP                                                                  0.000000000000000                                         0.000000000000000
                                                                                                    ADA-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    ALGO-PERP                                                                  0.000000000000000                                         0.000000000000000
                                                                                                    ATOM-PERP                                                                 -0.000000000000005                                        -0.000000000000005
                                                                                                    AVAX-PERP                                                                  0.000000000000000                                         0.000000000000000
                                                                                                    BTC                                                                        0.000090484840000                                         0.000090484840000
                                                                                                    BTC-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    BUSD                                                                   2,000.000000000000000                                         0.000000000000000
                                                                                                    CHZ-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    DOGE                                                                       0.136853200000000                                         0.136853200000000
                                                                                                    DOGE-PERP                                                                  0.000000000000000                                         0.000000000000000
                                                                                                    ETH-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    FTT                                                                        0.027430820000000                                         0.027430820000000
                                                                                                    FTT-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    HOT-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    LINK                                                                       0.084376000000000                                         0.084376000000000
                                                                                                    LINK-PERP                                                                  0.000000000000000                                         0.000000000000000
                                                                                                    LTC-PERP                                                                  -0.000000000000003                                        -0.000000000000003
                                                                                                    RUNE-PERP                                                                  0.000000000000000                                         0.000000000000000
                                                                                                    SAND-PERP                                                                  0.000000000000000                                         0.000000000000000
                                                                                                    SHIB-PERP                                                                  0.000000000000000                                         0.000000000000000
                                                                                                    SLP-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    SOL                                                                        0.009550000000000                                         0.009550000000000
                                                                                                    SOL-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    SRM-PERP                                                                   0.000000000000000                                         0.000000000000000
                                                                                                    SUSHI-PERP                                                                 0.000000000000000                                         0.000000000000000
                                                                                                    TRX                                                                        0.000007000000000                                         0.000007000000000
                                                                                                    USD                                                                    2,216.570145914177400                                     2,216.570145914177400
                                                                                                    USDT                                                                       0.009038020115770                                         0.009038020115770
                                                                                                    XTZ-PERP                                                                   0.000000000000000                                         0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
39929       Name on file                        FTX Trading Ltd.                       ETH                                                               0.000000001286950 FTX Trading Ltd.                                                0.000000001286950
                                                                                       GALA-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       IP3                                                               9.799275840000000                                                                 9.799275840000000
                                                                                       LTC                                                               0.009607980000000                                                                 0.009607980000000
                                                                                       LUNA2                                                             0.003226424696000                                                                 0.003226424696000
                                                                                       LUNA2_LOCKED                                                      0.007528324291000                                                                 0.007528324291000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       NFT (294857681837741836/FTX EU -
                                                                                       WE ARE HERE! #23063)                                                                                                                                1.000000000000000
                                                                                       NFT (366342257766100916/FTX AU -
                                                                                       WE ARE HERE! #38349)                                                                                                                                1.000000000000000
                                                                                       NFT (434707115852257034/FTX EU -
                                                                                       WE ARE HERE! #23469)                                                                                                                                1.000000000000000
                                                                                       NFT (439595282527225746/THE HILL BY
                                                                                       FTX #7607)                                                                                                                                          1.000000000000000
                                                                                       NFT (460617519816187947/FTX AU -
                                                                                       WE ARE HERE! #38056)                                                                                                                                1.000000000000000
                                                                                       NFT (472113567767916842/FTX CRYPTO
                                                                                       CUP 2022 KEY #2859)                                                                                                                                 1.000000000000000
                                                                                       NFT (566217558335318757/FTX EU -
                                                                                       WE ARE HERE! #20881)                                                                                                                                1.000000000000000
                                                                                       SOL                                                               0.000000004855060                                                                 0.000000004855060
                                                                                       TRX                                                             208.179960000000000                                                               104.089980000000000
                                                                                       USD                                                           1,710.990379081988500                                                             1,710.990379081988500
                                                                                       USDT                                                              0.119382955587226                                                                 0.119382955587226
                                                                                       USTC                                                              0.456716006454910                                                                 0.456716006454910
                                                                                       USTC-PERP                                                         0.000000000000000                                                                 0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
84511       Name on file                        West Realm Shires Services Inc.        FTX CRYPTO CUP 2022 KEY #954                                                           West Realm Shires Services Inc.
                                                                                       (436890201360231550)                                                                                                                                0.000000000000000
                                                                                       NFT (436890201360231560/FTX CRYPTO
                                                                                       CUP 2022 KEY #954)                                                                                                                                  1.000000000000000
                                                                                       USD                                                            180.000000000000000                                                                  2.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
20156       Name on file                        FTX Trading Ltd.                       BTC                                                                                    FTX Trading Ltd.                                             0.088605064456774
                                                                                       BTC-PERP                                                          0.088605060000000                                                                 0.000000000000000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       KIN                                                               1.000000000000000                                                                 1.000000000000000
                                                                                       USD                                                               0.763875150730865                                                                 0.763875150730865
                                                                                       USDT                                                              0.000122501582445                                                                 0.000122501582445

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
78261*      Name on file                        FTX Trading Ltd.                       FTT                                                              25.224924840000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       LUNA2                                                             0.000045915055480                                                                 0.000045915055480
                                                                                       LUNA2_LOCKED                                                      0.000107135129500                                                                 0.000107135129500
                                                                                       LUNC                                                              9.998100000000000                                                                 9.998100000000000
                                                                                       NFT
                                                                                       (296173216780445917/NETHERLANDS
                                                                                       TICKET STUB #518)                                                                                                                                   1.000000000000000
                                                                                       NFT (345762083382372701/FTX AU -
                                                                                       WE ARE HERE! #2341)                                                                                                                                 1.000000000000000
                                                                                       NFT (356844292429382579/BAKU
                                                                                       TICKET STUB #1606)                                                                                                                                  1.000000000000000
                                                                                       NFT (357480304779823715/FTX AU -
                                                                                       WE ARE HERE! #23758)                                                                                                                                1.000000000000000
                                                                                       NFT (397755128348321922/FTX EU -
                                                                                       WE ARE HERE! #91856)                                                                                                                                1.000000000000000
                                                                                       NFT (491888122381105697/FTX EU -
                                                                                       WE ARE HERE! #91141)                                                                                                                                1.000000000000000
                                                                                       NFT (510832949417801186/BELGIUM
                                                                                       TICKET STUB #1727)                                                                                                                                  1.000000000000000
                                                                                       NFT (528558355580476238/FTX AU -
                                                                                       WE ARE HERE! #1649)                                                                                                                                 1.000000000000000
                                                                                       NFT (549979511925578053/THE HILL BY
                                                                                       FTX #3029)                                                                                                                                          1.000000000000000


78261*: Claim is also included as a Surviving Claim in the Debtors' Ninety-First (Non-Substantive) Omnibus Objection to Certain Superseded Proofs of Claim (Customer Claims)
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                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                Tickers                                 Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     NFT (554645369306030412/HUNGARY
                                                                                     TICKET STUB #919)                                                                                                                                   1.000000000000000
                                                                                     NFT (556276342744271690/FTX EU -
                                                                                     WE ARE HERE! #91246)                                                                                                                                1.000000000000000
                                                                                     USD                                                            442.120000000000000                                                                211.492807080000000
                                                                                     USDT                                                           941.390000000000000                                                                  0.000000001020355

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
9407        Name on file                        FTX Trading Ltd.                       1INCH                                                             0.000000004028540 FTX Trading Ltd.                                                 0.000000004028540
                                                                                       1INCH-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       AAVE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ADA-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ALGO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       ALPHA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       ASD                                                               0.049345180450070                                                                  0.049345180450070
                                                                                       ASD-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ATOM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       AVAX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       BCH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BNB                                                               0.000000002815340                                                                  0.000000002815340
                                                                                       BNB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BSV-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BTC                                                               0.158154959061940                                                                  0.008154959061940
                                                                                       BTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       CAKE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       CEL                                                               0.000000004237360                                                                  0.000000004237360
                                                                                       CHZ                                                             609.673455000000000                                                               609.673455000000000
                                                                                       CHZ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       COMP-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       CRV-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       DODO                                                             56.970759000000000                                                                56.970759000000000
                                                                                       DOGE                                                              0.000000004779820                                                                  0.000000004779820
                                                                                       DOGE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       DOT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ENJ-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       EOS-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETH                                                               0.006519447497770                                                                  0.006519447497770
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ETHW                                                              0.006489504515610                                                                  0.006489504515610
                                                                                       FIDA                                                              0.008367420000000                                                                  0.008367420000000
                                                                                       FIDA_LOCKED                                                       3.196358700000000                                                                  3.196358700000000
                                                                                       FIL-PERP                                                         -0.000000000000014                                                                 -0.000000000000014
                                                                                       FLOW-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       FTM-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       FTT                                                             150.037964700000000                                                               150.037964700000000
                                                                                       FTT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GRT                                                               0.000000001292020                                                                  0.000000001292020
                                                                                       GRT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       HT                                                                0.043351313849700                                                                  0.043351313849700
                                                                                       LINA                                                          6,107.371172500000000                                                             6,107.371172500000000
                                                                                       LINA-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       LINK                                                              0.000000000907710                                                                  0.000000000907710
                                                                                       LINK-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       LTC                                                               0.008007217267780                                                                  0.008007217267780
                                                                                       LTC-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       LUNA2                                                             0.027073694800000                                                                  0.027073694800000
                                                                                       LUNA2_LOCKED                                                      0.063171954540000                                                                  0.063171954540000
                                                                                       LUNC                                                              0.000000009837270                                                                  0.000000009837270
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       MATIC                                                             0.000000000409700                                                                  0.000000000409700
                                                                                       MATIC-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       MER-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       NFT (295074124863496190/LION HILL
                                                                                       ART #4)                                                                                                                                              1.000000000000000
                                                                                       NFT (308398119130365319/FTX EU -
                                                                                       WE ARE HERE! #253618)                                                                                                                                1.000000000000000
                                                                                       NFT (314267830309624509/LION HILL
                                                                                       ART #7)                                                                                                                                              1.000000000000000
                                                                                       NFT (331891736400910009/LION HILL
                                                                                       ARTS #1)                                                                                                                                             1.000000000000000
                                                                                       NFT (332771615023084328/LION HILL
                                                                                       ART #6)                                                                                                                                              1.000000000000000
                                                                                       NFT (356438209255077462/LION HILL
                                                                                       COLLECTION #1)                                                                                                                                       1.000000000000000
                                                                                       NFT (396208869219890797/LION HILL
                                                                                       ART #5)                                                                                                                                              1.000000000000000
                                                                                       NFT (397408825243038617/LION HILL
                                                                                       ART #10)                                                                                                                                             1.000000000000000
                                                                                       NFT (409155616378581602/FTX AU -
                                                                                       WE ARE HERE! #28494)                                                                                                                                 1.000000000000000
                                                                                       NFT (432153164262946205/LION HILL
                                                                                       ART #1)                                                                                                                                              1.000000000000000
                                                                                       NFT (444119854711415317/FTX AU -
                                                                                       WE ARE HERE! #28460)                                                                                                                                 1.000000000000000
                                                                                       NFT (484623885639895412/FTX EU -
                                                                                       WE ARE HERE! #253638)                                                                                                                                1.000000000000000
                                                                                       NFT (500918374528760517/LION HILL
                                                                                       ART #8)                                                                                                                                              1.000000000000000
                                                                                       NFT (528827097592646728/FTX EU -
                                                                                       WE ARE HERE! #253629)                                                                                                                                1.000000000000000
                                                                                       NFT (531846653321519276/LION HILL
                                                                                       ART #11)                                                                                                                                             1.000000000000000
                                                                                       NFT (550429457020506920/LION HILL
                                                                                       ART #3)                                                                                                                                              1.000000000000000
                                                                                       NFT (567838332804118628/LION HILL
                                                                                       ART #9)                                                                                                                                              1.000000000000000
                                                                                       OKB-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       OXY-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       RAY-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       RUNE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       SC-PERP                                                           0.000000000000000                                                                  0.000000000000000
                                                                                       SHIB-PERP                                                         0.000000000000000                                                                  0.000000000000000
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                                                                                                     Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      SOL                                                              40.140285160000000                                                                 40.140285165517720
                                                                                      SOL-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      SRM                                                               0.068537780000000                                                                  0.068537780000000
                                                                                      SRM_LOCKED                                                        1.110057870000000                                                                  1.110057870000000
                                                                                      SRM-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      STMX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                      SUSHI-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                      SXP                                                               0.000000004541560                                                                  0.000000004541560
                                                                                      SXP-PERP                                                          0.000000000000568                                                                  0.000000000000568
                                                                                      THETA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                      TRX-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      UBXT                                                        10,975.540209760000000                                                              10,975.540209760000000
                                                                                      UBXT_LOCKED                                                      58.348144090000000                                                                 58.348144090000000
                                                                                      UNI                                                               0.066343283812470                                                                  0.066343283812470
                                                                                      UNI-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      USD                                                           9,999.766813892824000                                                              9,999.766813892824000
                                                                                      USDT                                                              0.000000010539494                                                                  0.000000010539494
                                                                                      VET-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      XRP                                                               0.000000005326680                                                                  0.000000005326680
                                                                                      XRP-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                      YFI-PERP                                                          0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
43368       Name on file                        FTX Trading Ltd.                       AUD                                                           3,500.000000000000000 FTX Trading Ltd.                                                0.000000018088089
                                                                                       ETH                                                               1.428358980000000                                                                 1.428358980000000
                                                                                       FTT                                                              25.060355303321472                                                                25.060355303321472
                                                                                       GMT                                                              40.229245940000000                                                                 0.000000000000000
                                                                                       NFT (399098612590776439/FTX CRYPTO
                                                                                       CUP 2022 KEY #5239)                                                                                                                                 1.000000000000000
                                                                                       USD                                                               0.001159211268675                                                                 0.001159211268675
                                                                                       USDC                                                             44.052878000000000                                                                 0.000000000000000
                                                                                       USDT                                                             82.614976693671120                                                                82.614976693671120

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
32773       Name on file                        FTX Trading Ltd.                       ATLAS                                                        10,187.991200000000000 FTX Trading Ltd.                                          10,187.991200000000000
                                                                                       AXS                                                                                                                                                 0.000000000330780
                                                                                       BNB                                                                                                                                                 0.000000009267961
                                                                                       BTC                                                                                                                                                 0.000000007989163
                                                                                       BULL                                                              0.004201850000000                                                                 0.004201858000000
                                                                                       COMP                                                              0.108500000000000                                                                 0.108500000000000
                                                                                       COMPBULL                                                         22.311954000000000                                                                22.311954000000000
                                                                                       ETH                                                                                                                                                 0.000000006945510
                                                                                       ETHBULL                                                           0.000019680000000                                                                 0.000019680000000
                                                                                       ETHW                                                              0.116045270000000                                                                 0.116045276945510
                                                                                       FTT                                                              25.094980600000000                                                                25.094980600000000
                                                                                       HKD                                                                                                                                                 0.000000004761514
                                                                                       IMX                                                             190.152940000000000                                                               190.152940000000000
                                                                                       MATIC                                                                                                                                               0.000000000243170
                                                                                       RAY                                                              13.682811180000000                                                                13.682811180000000
                                                                                       SOL                                                               8.915558250000000                                                                 8.915558250000000
                                                                                       USD                                                              10.370000000000000                                                                10.369886576942237

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
50934       Name on file                        FTX Trading Ltd.                       BOBA                                                       267,054.700000000000000 FTX Trading Ltd.                                          267,054.700000000000000
                                                                                       BTC                                                             127.314682490000000                                                               127.314286498005870
                                                                                       BTC-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       ETH                                                             148.044352695000000                                                               148.044352695000000
                                                                                       ETHW                                                            148.044352695000000                                                               148.044352695000000
                                                                                       FTM                                                        101,956.715065280000000                                                           101,956.715065286060000
                                                                                       FTT                                                          17,171.686923000000000                                                           17,171.686923000000000
                                                                                       FTT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       SOL                                                          26,023.531548500000000                                                           26,023.531548500000000
                                                                                       SRM                                                             484.165436380000000                                                               484.165436380000000
                                                                                       SRM_LOCKED                                                    4,839.754563620000000                                                             4,839.754563620000000
                                                                                       USD                                                      2,449,502.841896441300000                                                         2,449,502.841896441300000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
27931       Name on file                        FTX Trading Ltd.                       BNB                                                               0.009526010000000 FTX Trading Ltd.                                                0.009526011701917
                                                                                       BTC                                                               0.001800000000000                                                                 0.001800000000000
                                                                                       FTT                                                               0.095250000000000                                                                 0.095250000000000
                                                                                       LUNA2                                                             0.001049400000000                                                                 0.001049404320000
                                                                                       LUNA2_LOCKED                                                                                                                                        0.002448610079000
                                                                                       LUNC                                                            228.510000000000000                                                               228.510000000000000
                                                                                       RNDR                                                             72.000000000000000                                                                72.000000000000000
                                                                                       RUNE                                                             65.240509330000000                                                                65.240509339704500
                                                                                       SPELL                                                        20,096.181000000000000                                                           20,096.181000000000000
                                                                                       USD                                                               7.980000000000000                                                                 7.978152006747370

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
47541       Name on file                        West Realm Shires Services Inc.        ETH                                                               0.000000005840000 West Realm Shires Services Inc.                                 0.000000005840000
                                                                                       ETHW                                                              0.000021158164558                                                                 0.000021158164558

                                                                                      NFT (499443871098188373/AUSTRALIA
                                                                                      TICKET STUB #2108)                                                                                                                                   1.000000000000000
                                                                                      USD                                                          1,731.054982630566999                                                                   0.044982630566999

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
95330       Name on file                        FTX Trading Ltd.                       DOGE                                                          1,829.200626020000000 West Realm Shires Services Inc.                             1,829.200626020000000
                                                                                       USD                                                             151.000000000000000                                                                 0.000000002382749

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
93930       Name on file                        FTX Trading Ltd.                        DOGE                                                              4.000000000000000 West Realm Shires Services Inc.                                   4.000000000000000
                                                                                        ETH                                                               2.852089890000000                                                                   0.000000000000000
                                                                                        SHIB                                                              2.000000000000000                                                                   2.000000000000000
                                                                                        TRX                                                               2.000000000000000                                                                   2.000000000000000
                                                                                        USD                                                               0.983969670641995                                                                   0.983969670641995
                                          Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                             Page 39 of 43
                                                                                                     Asserted Claims                                                                                           Modified Claim

  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      USDT                                                             1.003155670000000                                                                   1.003155670000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
95606       Name on file                        FTX EU Ltd.                             ETH                                                                1.026400000000000 FTX Trading Ltd.                                                  0.000009130000000
                                                                                        XRP                                                            9,301.270300000000000                                                               9,307.654332630000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
31859       Name on file                        FTX Trading Ltd.                        FTM                                                               0.652900000000000 West Realm Shires Services Inc.                                   0.000000000000000
                                                                                        NFT (436156260257692321/SOLANA
                                                                                        GLOW)                                                                                                                                                 1.000000000000000
                                                                                        SLRS                                                              0.394600000000000                                                                   0.000000000000000
                                                                                        USD                                                                                                                                                   0.000000534044574

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity against
which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
54238       Name on file                        FTX Trading Ltd.                        HKD                                                                 1.798911710000000 FTX Trading Ltd.                                                0.898911710000000
                                                                                        USDT                                                              206.900000002055490                                                               103.450000002055490

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
39771       Name on file                        FTX Trading Ltd.                       ATLAS                                                             0.018220250000000 FTX Trading Ltd.                                                0.018220250000000
                                                                                       BAO                                                               4.000000000000000                                                                 4.000000000000000
                                                                                       BUSD                                                          3,002.934000000000000                                                                 0.000000000000000
                                                                                       CRO                                                               0.000008300000000                                                                 0.000008300000000
                                                                                       DENT                                                              1.000000000000000                                                                 1.000000000000000
                                                                                       KIN                                                               2.000000000000000                                                                 2.000000000000000

                                                                                      NFT (293861432750527901/MONTREAL
                                                                                      TICKET STUB #1621)                                                                                                                                    1.000000000000000
                                                                                      NFT (480610683917516940/FRANCE
                                                                                      TICKET STUB #507)                                                                                                                                     1.000000000000000
                                                                                      NFT (482585946567973536/FTX AU -
                                                                                      WE ARE HERE! #63372)                                                                                                                                 1.000000000000000
                                                                                      OKB                                                              0.001023640000000                                                                   0.001023640000000
                                                                                      SOL                                                              0.004149810000000                                                                   0.004149810000000
                                                                                      TRX                                                              1.000000000000000                                                                   1.000000000000000
                                                                                      USD                                                            470.659504707462000                                                                 470.659504707462000
                                                                                      USDT                                                             0.000000002705000                                                                   0.000000002705000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
13016       Name on file                        FTX Trading Ltd.                       ALICE-PERP                                                        0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       ETH                                                               0.290621160000000                                                                 0.145310580000000
                                                                                       ETH-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       NFT (300731108276623222/FTX AU -
                                                                                       WE ARE HERE! #15391)                                                                                                                                1.000000000000000
                                                                                       NFT (302385181260534497/AUSTIN
                                                                                       TICKET STUB #1123)                                                                                                                                  1.000000000000000
                                                                                       NFT (307679817931765352/THE HILL BY
                                                                                       FTX #7643)                                                                                                                                          1.000000000000000
                                                                                       NFT (324352224590893154/FTX AU -
                                                                                       WE ARE HERE! #25567)                                                                                                                                1.000000000000000
                                                                                       NFT
                                                                                       (326148134407798372/NETHERLANDS
                                                                                       TICKET STUB #1242)                                                                                                                                  1.000000000000000
                                                                                       NFT (363434189397888086/HUNGARY
                                                                                       TICKET STUB #639)                                                                                                                                   1.000000000000000
                                                                                       NFT (390767239833322278/FTX EU -
                                                                                       WE ARE HERE! #99945)                                                                                                                                1.000000000000000
                                                                                       NFT (394199886210710883/FTX EU -
                                                                                       WE ARE HERE! #99824)                                                                                                                                1.000000000000000
                                                                                       NFT (396335977927167715/BAKU
                                                                                       TICKET STUB #1324)                                                                                                                                  1.000000000000000
                                                                                       NFT (407431514268532560/FTX EU -
                                                                                       WE ARE HERE! #87528)                                                                                                                                1.000000000000000
                                                                                       NFT (429152765626130021/FRANCE
                                                                                       TICKET STUB #925)                                                                                                                                   1.000000000000000
                                                                                       NFT (440483247433928800/MONACO
                                                                                       TICKET STUB #411)                                                                                                                                   1.000000000000000

                                                                                      NFT (450717260257790712/MONTREAL
                                                                                      TICKET STUB #970)                                                                                                                                     1.000000000000000

                                                                                      NFT (469916210478677311/SINGAPORE
                                                                                      TICKET STUB #900)                                                                                                                                     1.000000000000000
                                                                                      NFT (492932567276292720/JAPAN
                                                                                      TICKET STUB #1426)                                                                                                                                    1.000000000000000
                                                                                      NFT (564560083380725245/FTX CRYPTO
                                                                                      CUP 2022 KEY #1593)                                                                                                                                  1.000000000000000
                                                                                      USD                                                            136.560696921434580                                                                 136.560696921434580
                                                                                      USDT                                                             9.001716517819980                                                                   4.501716517819980

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
42251       Name on file                        Quoine Pte Ltd                         BTC                                                               0.105255360000000 Quoine Pte Ltd                                                  0.105255360000000
                                                                                       ETH                                                               1.539937340000000                                                                 1.539937340000000
                                                                                       ETHW                                                              1.539937340000000                                                                 1.539937340000000
                                                                                       FANZ                                                           160.000000000000000                                                                160.000000000000000
                                                                                       HKD                                                               6.627960000000000                                                                 3.313980000000000
                                                                                       USD                                                              37.200000000000000                                                                37.200000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
56001       Name on file                        FTX Trading Ltd.                       AAVE-PERP                                                         0.000000000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       ADA-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       AGLD-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       ALGO-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       ALICE-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                                                                       ALPHA-PERP                                                        0.000000000000000                                                                 0.000000000000000
                                         Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                            Page 40 of 43
                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                               Tickers                                  Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     APE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     AR-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                     ATOM-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     AUDIO-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     AVAX-20210924                                                    0.000000000000000                                                                  0.000000000000000
                                                                                     AVAX-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     AXS-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     BAND                                                             0.000000005000000                                                                  0.000000005000000
                                                                                     BAND-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     BAO-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     BNB                                                              0.000000004000000                                                                  0.000000004000000
                                                                                     BNB-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     BTC-20210924                                                     0.000000000000000                                                                  0.000000000000000
                                                                                     BTC-MOVE-0416                                                    0.000000000000000                                                                  0.000000000000000
                                                                                     BTC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     C98-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     CHR-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     CVC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     DENT-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     DOGE-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     DYDX-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     EDEN                                                            94.893440250000000                                                                 94.893440250000000
                                                                                     ENJ-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ENS-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     EOS-PERP                                                        -0.000000000000010                                                                 -0.000000000000010
                                                                                     ETC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ETH                                                              0.000000011350000                                                                  0.000000011350000
                                                                                     ETH-PERP                                                        -0.000000000000001                                                                 -0.000000000000001
                                                                                     FIDA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     FIL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     FLOW-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     FTT                                                              0.000000009170702                                                                  0.000000009170702
                                                                                     FTT-PERP                                                        -0.000000000000014                                                                 -0.000000000000014
                                                                                     FXS-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     GAL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     GLMR-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     GMT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     HNT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ICP-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     IOTA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     JASMY-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     KAVA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     KNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     KSM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     LINA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     LOOKS                                                            0.913740000000000                                                                  0.913740000000000
                                                                                     LOOKS-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     LRC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     LTC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     LUNC-PERP                                                        0.000000000000042                                                                  0.000000000000042
                                                                                     MANA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     MATIC-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     MEDIA                                                            0.460096000000000                                                                  0.460096000000000
                                                                                     MINA-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     MKR-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     MTL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     NEAR-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     NFT (344132669617578811/FTX EU -
                                                                                     WE ARE HERE! #141292)                                                                                                                               1.000000000000000
                                                                                     NFT (420740711506063727/FTX EU -
                                                                                     WE ARE HERE! #141161)                                                                                                                               1.000000000000000
                                                                                     NFT (488602376865889363/FTX EU -
                                                                                     WE ARE HERE! #140889)                                                                                                                               1.000000000000000
                                                                                     OMG-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ONE-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     PEOPLE-PERP                                                      0.000000000000000                                                                  0.000000000000000
                                                                                     QTUM-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     RAY-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     REEF-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     REN-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     RUNE-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     SKL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     SLP-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     SOL                                                              0.008756710000000                                                                  0.008756710000000
                                                                                     SOL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     SRM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     STEP-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     STORJ-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     SUSHI-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     THETA-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     TRU-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     TRX-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     USD                                                              0.006530645068904                                                                  0.006530645068904
                                                                                     USDT                                                         5,482.859829017588200                                                              1,827.619829017588200
                                                                                     USTC-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                     VET-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     WAVES-20210924                                                   0.000000000000000                                                                  0.000000000000000
                                                                                     WAVES-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                     XLM-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     XMR-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     XRP-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ZEC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ZIL-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                     ZRX-PERP                                                         0.000000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
34766       Name on file                        FTX Trading Ltd.                       BTC                                                               0.008700000000000 FTX Trading Ltd.                                                0.008700000000000
                                                                                       ETH                                                               0.020125410000000                                                                 0.020125410000000
                                                                                       ETHW                                                              0.020125410000000                                                                 0.020125410000000
                                                                                       FTT                                                              25.000000000000000                                                                25.000000000000000
                                                                                       SAND                                                             18.000000000000000                                                                18.000000000000000
                                                                                       SOL                                                               6.625815440000000                                                                 6.625815440000000
                                                                                       USD                                                               0.600000000000000                                                                 0.597109773000000
                                         Case 22-11068-JTD                                        Doc 25714-2                            Filed 09/25/24                            Page 41 of 43
                                                                                                    Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                 Tickers                                Ticker Quantity                                Debtor                               Ticker Quantity
                                                                                     USDT                                                           883.280000000000000                                                                883.278724826604200

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
80271       Name on file                        FTX Trading Ltd.                       APT                                                               6.000000000000000 FTX Trading Ltd.                                                6.000000000000000
                                                                                       DOGE                                                          7,663.127331200000000                                                             7,663.127331200000000
                                                                                       ETHW                                                              0.000767330000000                                                                 0.000767330000000
                                                                                       FTT                                                              25.994800000000000                                                                25.994800000000000
                                                                                       HKD                                                               1.139763570000000                                                                 0.569763570000000
                                                                                       LOOKS                                                         5,449.954699194000000                                                             5,449.954699194000000
                                                                                       LUNA2                                                             9.796064000000000                                                                 9.796064000000000
                                                                                       SHIB                                                    57,188,903.200000000000000                                                        57,188,903.200000000000000
                                                                                       USD                                                               0.971135413881955                                                                 0.971135413881955
                                                                                       USDT                                                              2.399345621000000                                                                 2.399345621000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
8994        Name on file                        FTX Trading Ltd.                       APT-PERP                                                                               FTX Trading Ltd.                                              0.000000000000000
                                                                                       BNB                                                               0.020000000000000                                                                 -0.020808243455017
                                                                                       BTC-MOVE-0503                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0504                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0505                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0507                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0508                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0509                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0510                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0523                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0524                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0525                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0526                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0527                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0528                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0529                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0530                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0531                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0601                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0602                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0603                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0604                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0605                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0606                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0607                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0608                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0609                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0611                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0613                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0614                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0615                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0616                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0811                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0812                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0813                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0818                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0819                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0820                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0827                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0903                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0905                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0906                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0908                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0909                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0910                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0913                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0914                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0915                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0916                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0917                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0918                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0919                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0920                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0921                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0922                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0923                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0924                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0925                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0926                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0927                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0928                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0929                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-0930                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1001                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1002                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1003                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1005                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1006                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1007                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1010                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1015                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1016                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1017                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1019                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1020                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1021                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1022                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1023                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1024                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1026                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1027                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1029                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1030                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1031                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1101                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1102                                                                                                                                        0.000000000000000
                                                                                       BTC-MOVE-1103                                                                                                                                        0.000000000000000
                                                Case 22-11068-JTD                                                  Doc 25714-2                                  Filed 09/25/24                       Page 42 of 43
                                                                                                                     Asserted Claims                                                                             Modified Claim

   Claim
  Number                      Name                                      Debtor                                    Tickers                                           Ticker Quantity                     Debtor                    Ticker Quantity
                                                                                                    BTC-MOVE-1104                                                                                                                          0.000000000000000
                                                                                                    BTC-MOVE-1105                                                                                                                          0.000000000000000
                                                                                                    BTC-MOVE-1107                                                                                                                          0.000000000000000
                                                                                                    BTC-MOVE-1108                                                                                                                          0.000000000000000
                                                                                                    BTC-MOVE-1109                                                                                                                          0.000000000000000
                                                                                                    BTC-MOVE-1112                                                                                                                          0.027600000000000
                                                                                                    BTC-MOVE-2022Q3                                                                                                                        0.000000000000000
                                                                                                    BTC-MOVE-2022Q4                                                                                                                        0.000000000000000
                                                                                                    BTC-MOVE-WK-0520                                                                                                                       0.000000000000000
                                                                                                    BTC-MOVE-WK-0617                                                                                                                       0.000000000000000
                                                                                                    BTC-MOVE-WK-0624                                                                                                                       0.000000000000000
                                                                                                    BTC-MOVE-WK-1007                                                                                                                       0.000000000000000
                                                                                                    BTC-MOVE-WK-1014                                                                                                                       0.000000000000000
                                                                                                    BTC-MOVE-WK-1021                                                                                                                       0.000000000000000
                                                                                                    BTC-MOVE-WK-1028                                                                                                                       0.000000000000000
                                                                                                    BTC-PERP                                                                                                                               0.000000000000000
                                                                                                    BVOL                                                                                                                                   0.001399734000000
                                                                                                    ETHW-PERP                                                                                                                              0.000000000000000
                                                                                                    EUR                                                                          2.000000000000000                                         2.000000000000000
                                                                                                    GBP                                                                         -1.018234842101343                                        -1.018234842101343
                                                                                                    IBVOL                                                                                                                                  0.001300000000000
                                                                                                    NFT (419404543781338351/FTX EU -
                                                                                                    WE ARE HERE! #256890)                                                                                                                 1.000000000000000
                                                                                                    NFT (454354310227923331/FTX EU -
                                                                                                    WE ARE HERE! #256880)                                                                                                                 1.000000000000000
                                                                                                    NFT (485657696774945367/FTX EU -
                                                                                                    WE ARE HERE! #256872)                                                                                                                 1.000000000000000
                                                                                                    NFT (507704328445313888/THE HILL BY
                                                                                                    FTX #11121)                                                                                                                           1.000000000000000
                                                                                                    TONCOIN-PERP                                                                                                                          0.000000000000000
                                                                                                    USD                                                                        -35.812275186954850                                      -35.812275186954850
                                                                                                    USDT                                                                       300.000000000000000                                      300.000000000000000
                                                                                                    USTC-PERP                                                                                                                             0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
66844       Name on file                        FTX Trading Ltd.                       APT                                                               0.000000007768937 FTX Trading Ltd.                                                 0.000000007768937
                                                                                       APT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       ATOM-PERP                                                        -0.000000000000042                                                                 -0.000000000000042
                                                                                       AUDIO-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       BAO-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       BTC                                                               0.000000009039696                                                                  0.000000009039696
                                                                                       BUSD                                                           500.000000000000000                                                                   0.000000000000000
                                                                                       CRO-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       DENT-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       DOGE                                                           112.000000000000000                                                                112.000000000000000
                                                                                       ETH                                                               0.000000019639937                                                                  0.000000019639937
                                                                                       ETH-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       FTT                                                            150.002739748379040                                                                150.002739748379040
                                                                                       FTT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       GMT-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       HT                                                                0.093115840000000                                                                  0.093115840000000
                                                                                       LOOKS-PERP                                                        0.000000000000000                                                                  0.000000000000000
                                                                                       LUNC-PERP                                                         0.000000000000000                                                                  0.000000000000000
                                                                                       NFT (527543242085127514/THE HILL BY
                                                                                       FTX #1542)                                                                                                                                           1.000000000000000
                                                                                       NFT (544720997391107291/FTX CRYPTO
                                                                                       CUP 2022 KEY #18863)                                                                                                                                 1.000000000000000
                                                                                       ONE-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       PEOPLE-PERP                                                       0.000000000000000                                                                  0.000000000000000
                                                                                       SUN                                                               0.000258890000000                                                                  0.000258890000000
                                                                                       UNI-PERP                                                          0.000000000000000                                                                  0.000000000000000
                                                                                       UNISWAP-PERP                                                      0.000000000000000                                                                  0.000000000000000
                                                                                       USD                                                            927.449611763306700                                                                927.449611763306700
                                                                                       USDC                                                           730.651059340000000                                                                   0.000000000000000
                                                                                       USDT                                                              0.008066030648181                                                                  0.008066030648181

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
59080       Name on file                        FTX Trading Ltd.                       BNB                                                               2.958730120000000 FTX Trading Ltd.                                                1.480779200000000
                                                                                       BTC                                                               0.018982240000000                                                                 0.009491120000000
                                                                                       ETH                                                               2.200687210000000                                                                 2.200687225355739
                                                                                       ETH-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       ETHW                                                              0.000762595353341                                                                 0.000762595353341
                                                                                       FTT                                                              50.100095067066618                                                                25.050047537066618
                                                                                       FTT-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       SOL                                                               0.000726360000000                                                                 0.000726360000000
                                                                                       SOL-PERP                                                          0.000000000000000                                                                 0.000000000000000
                                                                                       SRM                                                              12.711041120000000                                                                12.711041120000000
                                                                                       SRM_LOCKED                                                       88.609923190000000                                                                88.609923190000000
                                                                                       TRX                                                               0.000049000000000                                                                 0.000049000000000
                                                                                       USD                                                           2,077.118896190536400                                                             2,077.118896190536400
                                                                                       USDT                                                              0.009986076010576                                                                 0.009986076010576

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
87149       Name on file                        FTX Trading Ltd.                       APT                                                               0.000000002836643 FTX Trading Ltd.                                                0.000000002836643
                                                                                       AR-PERP                                                           0.000000000000000                                                                 0.000000000000000
                                                                                       DOGE                                                              0.000000004897356                                                                 0.000000004897356
                                                                                       FTT                                                               0.000000006358523                                                                 0.000000006358523
                                                                                       MATIC                                                             0.000000002492063                                                                 0.000000002492063
                                                                                       RUNE-PERP                                                         0.000000000000000                                                                 0.000000000000000
                                                                                       TRY                                                          26,624.267718041000000                                                           13,312.133859020500000
                                                                                       USD                                                               0.000000019234127                                                                 0.000000019234127
                                                                                       USDT                                                              0.000000008549775                                                                 0.000000008549775

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
61150*      Name on file                        FTX Trading Ltd.                       AAVE                                                              0.408500000000000 FTX Trading Ltd.                                                0.000000000000000
                                                                                       LINK                                                              4.000000000000000                                                                 0.000000000000000
                                                                                       NFT (377795822098726618/FTX CRYPTO
                                                                                       CUP 2022 KEY #2593)                                                                                                                                 1.000000000000000
                                                                                       NFT (501898374894007983/THE HILL BY
                                                                                       FTX #3516)                                                                                                                                          1.000000000000000

61150*: Claim is also included as a Surviving Claim in the Debtors' Ninety-First (Non-Substantive) Omnibus Objection to Certain Superseded Proofs of Claim (Customer Claims)
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                                                                                                     Asserted Claims                                                                                          Modified Claim

  Claim
 Number                   Name                                Debtor                                  Tickers                                Ticker Quantity                                 Debtor                               Ticker Quantity
                                                                                      UNI                                                              5.106000000000000                                                                   0.000000000000000
                                                                                      USDC                                                             4.268000000000000                                                                   0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which does
not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
